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         information is false, and apply a warning label that links to the fact-checker’s article, disproving the claim with original
         reporting. We also use AI to scale the work of fact-checkers by applying warning labels to duplicates of false claims, and
         reducing their distribution.

         Pages, groups, accounts, or websites that repeatedly share content rated False or Altered by fact-checkers will have
         some restrictions, including having their distribution reduced. Pages, groups, and websites may also have their ability to
         monetize and advertise removed, and their ability to register as a news Page removed.

         We want to give people more information before they like a Page that has repeatedly shared content that fact-checkers
         have rated, so you’ll see a pop up if you go to like one of these Pages. You can also click to learn more, including that
         fact-checkers said some posts shared by this Page include false information and a link to more information about our
         fact-checking program. This will help people make an informed decision about whether they want to follow the Page.

         Users can easily report misinformation on any piece of content by clicking on the three dots on the top right corner,
         clicking “Find support or report post,” then “False information.”


    2.   Give researchers access to useful data to properly analyze the spread and impact of misinformation. Researchers need
         data on what people see and hear, not just what they engage with, and what content is moderated (e.g., labeled,
         removed, downranked), including data on automated accounts that spread misinformation. To protect user privacy, data
         can be anonymized and provided with user consent.


         CrowdTangle is a tool from Facebook that makes it easy for academics, journalists, and the public to follow, analyze, and
         report on what’s happening with public content on social media content. People can find larger trends to understand
         how public content spreads on social media. We have several COVID-19 Live Displays publicly available to see what
         content is being shared on social media about the virus.

         Since April 2020, we’ve been collaborating with Carnegie Mellon University and University of Maryland on a global
         survey to gather insights about COVID-19 symptoms, testing, vaccination rates and more. This is the largest survey of its
         kind, with over 60 million total responses, and more than 170,000 responses daily across more than 200 countries and
         territories. This effort generates localized insights for researchers, public health officials and policymakers who are
         working to end the pandemic as quickly as possible.


    3.   Strengthen the monitoring of misinformation. Platforms should increase staffing of multilingual content moderation
         teams and improve the effectiveness of machine learning algorithms in languages other than English since
         non-English-language misinformation continues to proliferate. Platforms should also address misinformation in live
         streams, which are more difficult to moderate due to their temporary nature and use of audio and video.


         We use experienced teams and technology to find and remove misinformation that breaks our rules on COVID and
         vaccine misinformation. While we’re constantly working to improve our systems, we believe we have some of the
         strongest systems in place to identify and take action against misinformation that breaks our rules.

         In addition, we work with more than 80 global fact-checking partners to review and debunk misinformation, including
         claims about COVID and vaccines, in more than 60 languages. Since the beginning of the pandemic, we’ve labeled
         hundreds of millions of pieces of COVID-19 content rated false by our network of fact checking partners.

         We’re operating our entire comprehensive strategy to combat COVID-19 misinformation in Spanish. This includes
         running the largest online vaccine information campaign in history and enforcing our policies and removing false claims
         about COVID-19 and vaccines - all in Spanish. We use the same machine learning model approaches in Spanish as we do




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         in English to remove misinformation that violates our Community Standards, and we have four US-based fact-checking
         partners who review and rate content in Spanish.


    4.   Prioritize early detection of misinformation “super-spreaders” and repeat offenders. Impose clear consequences for
         accounts that repeatedly violate platform policies.


         We have strong policies to remove false claims about COVID and vaccines that we enforce - and when a Page, Group, or
         account repeatedly violates these policies we enforce penalties against them, including removing entities that
         repeatedly break our rules from our platforms.

         Pages groups, accounts, or websites that repeatedly share content rated false by fact-checkers will have some
         restrictions, including having their distribution reduced. Pages, groups, and websites may also have their ability to
         monetize and advertise removed, and their ability to register as a news Page removed.


    5.   Evaluate the effectiveness of internal policies and practices in addressing misinformation and be transparent with
         findings. Publish standardized measures of how often users are exposed to misinformation and through what channels,
         what kinds of misinformation are most prevalent, and what share of misinformation is addressed in a timely manner.
         Communicate why certain content is flagged, removed, downranked, or left alone. Work to understand potential
         unintended consequences of content moderation, such as migration of users to less-moderated platforms.


         We have clear policies in place for what violates our rules on COVID and vaccine misinformation that are publicly posted,
         including in our Help Center, and we always aim to remove violating content as quickly as possible. We use a combination
         of people and technology to find and remove this violating content as quickly as possible and we’ve removed millions of
         pieces of content to date. We’ve also continued to adjust the list of claims that violate our policies to account for
         changing aspects of the pandemic. For example, we’ve recently added claims around theories that COVID vaccines make
         you ‘magnetic’ and viral ‘shedding’ that we remove from our apps.

         We take a number of steps to identify, review, and remove potential misinfo before it goes viral, including temporary
         demotions of some content that is awaiting review by our third-party fact-checkers and monitoring the top viral content
         on our platform.

         When COVID-19 misinformation does not present risk of contributing to imminent physical harm but is fact-checked by
         one of our partners, we label and reduce the visibility of that content. We also add informational labels to content about
         COVID-19 vaccines while promoting authoritative information on COVID-19 and vaccines. These measures play a key
         role in promoting understanding about COVID-19 and the COVID vaccine, further reducing the spread of misinformation.


    6.   Proactively address information deficits. An information deficit occurs when there is high public interest in a topic but
         limited quality information available. Provide information from trusted and credible sources to prevent misconceptions
         from taking hold.


         An important component of our strategy to combat COVID-19 misinformation and to inform our community is to
         develop tools that promote vaccines and connect people to authoritative information from trusted sources:

         Making it easier to get vaccinated: We’re providing authoritative information to help people find vaccine appointments in
         their area through News Feed messages. We’ve heard from states that this has had an impact: West Virginia reported
         their vaccine registrations increased significantly after we started promoting eligibility information in News Feed. The
         CDC launched a Spanish-language vaccine finder on WhatsApp, making it easy to find a location to get the shot, order a
         free ride and get information.


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         Helping people get questions answered: We’ve delivered 10B impressions worldwide of ads supporting partner
         campaigns since January. A single “Facts about COVID19” News Feed campaign increased belief in key facts about
         vaccine safety and testing by 3% across 5 countries. We’ve directed 2B+ people to expert health resources through the
         COVID Information Center.

         Social norming through profile frames: We know from public health research that people are more likely to get
         vaccinated if they see others in their community doing so. Working with the HHS and CDC, earlier this year, we launched
         profile frames for people to share they've been or are planning to get vaccinated. In the US, more than 50 percent of
         Facebook users have seen someone they follow use one of these frames in News Feed. Since launch, 5M+ people in the
         US, including 10M+ people globally, have used these frames; vaccine stickers on IG have been used 7M+ times.

         Supporting low vaccination rate communities: We're more frequently reaching people in areas with lower vaccination
         rates using CDC's Social Vulnerability Index. We are partnering on campaigns with KFF (Kaiser Family Foundation),
         featuring black doctors, nurses and researchers, and Spanish-language campaigns from Johns Hopkins University’s
         Bloomberg School of Public Health.

         Informing vaccination efforts through data: In collaboration with CMU and UMD, we’re running the largest global health
         survey ever conducted, with over 60M total responses to date. This survey is used by Institute for Health Metrics and
         Evaluation (IHME) and governments around the world. In the US, broad trends are positive since January: vaccine
         acceptance has trended up overall and racial/ethnic disparities have reduced. We’re also offering our Brand Lift
         measurement platform to help partners replicate and extend approaches that are working.

         Trainings for people to spot misinformation: We’re partnering with PEN America to offer media literacy training sessions
         for underserved communities around the US. Their Knowing the News program equips people with skills to evaluate the
         information they read about COVID-19 and vaccines.


    7.   Amplify communications from trusted messengers and subject matter experts. For example, work with health and
         medical professionals to reach target audiences. Direct users to a broader range of credible sources, including
         community organizations. It can be particularly helpful to connect people to local trusted leaders who provide accurate
         information.


         Since January 2021, we’ve given more than $30 million in ad credits to help governments, NGOs and other organizations
         reach people with COVID-19 vaccine information and other important messages. These information campaigns resulted
         in an estimated 10 billion ad impressions globally. We’re also adding authoritative information to posts about vaccines on
         Facebook and Instagram that link to the COVID-19 Information Center for more resources.

         We’re also providing authoritative information to help people find vaccine appointments in their area through News Feed
         messages. The CDC launched a Spanish-language vaccine finder on WhatsApp, making it easy to find a location to get
         the shot, order a free ride and get information.


    8.   Prioritize protecting health professionals, journalists, and others from online harassment, including harassment
         resulting from people believing in misinformation. communications from trusted messengers and subject matter
         experts.


         Any journalist can register with Facebook to get important safety features that protect against harassment, hacking and
         other unusual account activity, and other issues journalists face online. More details here. In April, we updated our
         policies to remove coordinated attempts to attack people for their choices around COVID vaccines as we believe this
         activity constitutes harassment and should be banned from our platforms.



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Background on the SIO’s Projects on Social Media
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Breadcrumb
   1. All Internet Observatory News
   2. News
   3. March 17, 2023

     Stanford Internet Observatory

Various inaccurate and misleading claims have been made in the media and in
congressional testimony regarding the Stanford Internet Observatory’s projects to analyze
rumors and narratives on social media relating to U.S. elections and the coronavirus. As
explained in the statement issued by our partners at the University of Washington, it is
difficult to rebut all of these inaccurate claims without repeating the falsehoods and
contributing to their further spread Nevertheless, the SIO believes it is important to respond
to inaccurate statements about its work and to correct the public record. This fact sheet
provides background on the SIO’s activities and corrects a number of false allegations

   1. The Stanford Internet Observatory, founded in June 2019, is a non-partisan, cross-
      disciplinary program of research, teaching and policy engagement for the study of
      abuse in current information technologies, focusing on social media The SIO studies
      and publishes about disinformation and state influence operations and conducts and
      publishes research regarding child internet safety, online platforms’ policies and
      practices toward self-harm, and privacy-protecting technologies.

   2. The SIO is one of four organizations that convened the Election Integrity Partnership
      (EIP) and Virality Project (VP) The EIP and VP, both founded in 2020, are non partisan
      research coalitions that operate in an open, transparent, and public manner, publishing
      blog posts, weekly updates, briefing videos, academic papers, and voluminous
      investigative reports relating to election and vaccine misinformation, disinformation,
      and propaganda.

   3 The EIP’s goal was and continues to be to research and analyze attempts to prevent or
     deter people from voting, as well as efforts to delegitimize election results. The EIP did
     not study online discussions of specific candidates, parties, or political topics in the
     2020 or 2022 election cycles. The EIP did not make recommendations to social media
     or take any other actions regarding content about the Hunter Biden laptop story.

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   4. The VP was established to research viral narratives on social media related to COVID
      vaccines in four areas “(1) safety, (2) efficacy and necessity, (3) development and
      distribution, and (4) conspiracy theory[.]” Its primary goal was to facilitate awareness for
      public health offic als and medical professionals seeking to communicate accurate
      information to the public

   5. The EIP and VP provided public factual findings to multiple entities, including
      government agencies and social media platforms, but had no control over content
      moderation, censorship, or labeling posts. Emails released in the Twitter Files
      demonstrate that Twitter’s staff examined any reports sent to them to see if the content
      was violative of their policies and took no action in cases where they felt that Twitter’s
      existing policies were not violated.

Was Stanford Internet Observatory’s Election Integrity Partnership created in
response to public criticism of DHS’s “Disinformation Governance Board” and to
substitute for the work of the government?

No. The EIP was created in the summer of 2020, long before the announcement and media
criticism of the Disinformation Governance Board in April 2022.

Does the SIO or EIP receive funding from the federal government?

As part of Stanford University, the SIO receives gift and grant funding to support its work. In
2021, the SIO received a five-year grant from the National Science Foundation, an
independent government agency, awarding a total of $748,437 over a five-year period to
support research into the spread of misinformation on the internet during real-time events.
SIO applied for and received the grant after the 2020 election None of the NSF funds, or any
other government funding, was used to study the 2020 election or to support the Virality
Project. The NSF is the SIO’s sole source of government funding.

Is it true that the EIP censored 22 million tweets and labeled them as
“misinformation”?

No, the EIP did not censor any tweets or label any tweets as misinformation ” EIP has no
ability to remove or label tweets or other posts, and content moderation decisions are
independently made by social media platforms. As part of its non-partisan research relating
to the 2020 U.S. presidential election, EIP analyzed 22 million tweets that contained
keywords or URLs relevant to EIP’s scope of work. EIP identified 2,890 unique tweet URLs in
potential violation of Twitter's stated policies EIP provided its factual analysis to the relevant
platforms, which were then responsible for each platform’s own content moderation
decisions. The EIP informed Twitter and other social media platforms when certain social
media posts violated each platform’s own policies; EIP did not make recommendations to the
platforms about what actions they should take.


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Did the EIP “target” or discriminate against conservative social media accounts or
content or seek to promote liberal accounts or content?

No. EIP is a non-partisan coalition dedicated to the identification and analysis of online
content that suppresses voting, reduces participation, confuses voters about election
processes, or delegitimizes election results without evidence Based on an analysis of an
expansive dataset and without targeting any specific accounts of politically affiliated content,
EIP’s research determined that accounts that supported President Trump’s inaccurate
assertions around the election included more false statements than other accounts. Through
the same analysis, EIP also found and published or flagged examples of false statements
and rumors made by accounts linked to left leaning groups and foreign actors EIP informed
social media platforms of examples of violative content by progressive groups as well as
conservative groups

Did EIP receive direct requests from the Department of Homeland Security’s
Cybersecurity and Infrastructure Security Agency (CISA) to eliminate or censor
tweets?

No. In its non-partisan research during the 2020 and 2022 elections, EIP analyzed reports of
potentially false information received from a broad array of sources, including state and local
election officials. These reports were channeled through the Election Infrastructure
Information Sharing & Analysis Center (EI-ISAC). The EI-ISAC did not ask the EIP to censor
or eliminate social media posts. EIP’s role was limited to the analysis of potentially inaccurate
information that had been reported to EI-ISAC by state and local election officials. As noted
above, the EIP had no ability to censor or eliminate social media posts; it simply identified
potentially policy-violative posts to social media platforms.

Did the SIO’s Virality Project censor social media content regarding coronavirus
vaccine side-effects?

No. The VP did not censor or ask social media platforms to remove any social media content
regarding coronavirus vaccine side effects Theories stating otherwise are inaccurate and
based on distortions of email exchanges in the Twitter Files. The Project’s engagement with
government agencies at the local, state, or federal level consisted of factual briefings about
commentary about the vaccine circulating on social media.

The VP’s work centered on identification and analysis of social media commentary relating to
the COVID 19 vaccine, including emerging rumors about the vaccine where the truth of the
issue discussed could not yet be determined. The VP provided public information about
observed social media trends that could be used by social media platforms and public health
communicators to inform their responses and further public dialogue. Rather than attempting
to censor speech, the VP’s goal was to share its analysis of social media trends so that
social media platforms and public health officials were prepared to respond to widely shared


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narratives. In its work, the Project identified several categories of allegations on Twitter
relating to coronavirus vaccines, and asked platforms, including Twitter, which categories
were of interest to them. Decisions to remove or flag tweets were made by Twitter.

More information regarding the VP’s research regarding vaccine-related narratives and
engagement with social media platforms and the government is available through the VP
weekly briefings, which were posted publicly throughout the Project, and in the VP’s final
report

                                All Internet Observatory News




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                      Virality Project Weekly Briefing #32
                                         July 27, 2021 - August 3, 2021


  This report was created by analysts from the Virality Project, a coalition of research entities focused on
  real-time detection, analysis, and response to COVID-19 anti-vaccine mis- and disinformation. The
  Virality Project supports information exchange between public health officials, government, and social
  media platforms through weekly briefings and real-time incident response.

  Please note that this is our last official briefing. Our analysts will be continuing internal
  monitoring and sending out newsletters and blog posts with some of our analysis.

  In this briefing:
   Events This Week                  ●   Online discussion of breakthrough cases and vaccine efficacy
                                         confounds and worries the public
                                     ●   Media coverage lacking accompanying health guidance leaves
                                         room for anti-vaccine influencers to use leaked CDC internal
                                         slides to undermine confidence in vaccine efficacy.
                                     ●   Gab CEO Andrew Torba claims military members are being
                                         forced to take the vaccine or court-martial
                                     ●   Leaked Pfizer contract prompts decontextualized claims regarding
                                         Ivermectin and vaccine injury

   Ongoing Themes and                ●   A small number of NFL players opposing vaccines are driving
   Tactics                               online debates about vaccine mandates among sports fans and
                                         right wing accounts
                                     ●   Key Statistics
                                     ●   Appendix


  Key Takeaways
      ●   Online discussion heavily featured confusion around the Delta variant, the efficacy of vaccines
          against it, and popular breakthrough case stories.
      ●   Internal document leaks – from both the Centers for Disease Control and Pfizer – were once again
          manipulated to suggest the government is involved in cover-ups around vaccine development,
          efficacy, and distribution.
      ●   Military officials weighed imposing a COVID-19 vaccine mandate after President Biden ordered
          the forces to begin developing a plan to make the vaccine mandatory. In response, the CEO of the
          alt-social media platform Gab, Andrew Torba, spread misinformation-laden documents for
          vaccine exemption.
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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA


   The State of Missouri and the State of
   Louisiana,

          Plaintiffs,

                    v.
                                                             Civil Action No. 22-cv-1213
   President Joseph R. Biden, Jr., in his
   official capacity as President of the United
   States of America,
                   et. al.,

          Defendants.



                          DECLARATION OF CAROL CRAWFORD

         I, Carol Crawford, declare the following, based on my personal knowledge, information

  acquired by me in the course of performing my official duties, and information contained in the

  records of the Centers for Disease Control and Prevention (“CDC”):

     1. I have worked at CDC in various roles for 34 years. I currently serve as the Director for

  the Division of Digital Media within CDC’s Office of Communications, which until very

  recently was called the Office of the Associate Director for Communication (“OADC”). I have

  held that position since spring 2022. Before that, I was the Branch Chief of the Digital Media

  Branch within OADC (the work of that branch was transferred to the Division of Digital Media

  due to a reorganization of OADC that took place in spring 2022). I held that position from 2010

  to spring 2022.

     2. The CDC’s mission is to protect the health and safety of the American people. A core

  element of that mission is to promote awareness of science-based, data-driven information about


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  matters of public health. That includes addressing inaccurate information and beliefs on topics

  such as disease prevention and treatment. To that end, the CDC website maintains pages

  dedicated to addressing myths and facts about a wide range of topics. The examples are endless:

  the CDC website currently has fact sheets or “myths and facts” pages concerning, among other

  things, COVID-19 Vaccines”;1 STDs and HIV;2 community water fluoridation;3 cholesterol;4

  smoking and tobacco use;5 and Bartonella bacteria.6

         3. The OADC supports the mission of CDC by ensuring the public health information

  provided by the agency is easily accessible and understandable to the public. That involves

  promoting CDC information through various online platforms, including the CDC’s own website

  and CDC social media pages. In my role, I provide leadership for CDC’s website and social

  media accounts, including convening personnel from across the agency to manage governance of

  the CDC website and social media pages, coordinating CDC’s web content management system,

  and drafting policies and guidelines in that space.

         4. Before the onset of the COVID-19 pandemic in early 2020, I had occasional contacts

  with social media platforms as part of my role at OADC. The nature of those contacts was

  primarily to manage CDC’s own social media accounts. Generally speaking, outside the context

  of the COVID-19 pandemic, OADC’s work did not often involve direct interaction with social

  media companies; however, occasionally social media companies would reach out to OADC to

  partner with CDC on special projects (like promoting information about flu vaccines or


  1
      https://www.cdc.gov/coronavirus/2019-ncov/vaccines/facts html
  2
      https://www.cdc.gov/tobacco/data_statistics/fact_sheets/fast_facts/index htm
  3
      https://www.cdc.gov/fluoridation/faqs/community-water-fluoridation html
  4
      https://www.cdc.gov/cholesterol/myths_facts htm
  5
      https://www.cdc.gov/tobacco/data_statistics/fact_sheets/fast_facts/index htm
  6
      https://www.cdc.gov/bartonella/faq.html

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  addressing prescription drug overdoses) or to highlight a new social media platform feature that

  CDC could use for its own social media accounts.

     5. With the onset of the pandemic in early 2020, during the prior administration, I began

  having more frequent contact with social media platforms and technology companies such as

  Meta/Facebook and Google/YouTube. These discussions focused primarily on disseminating

  authoritative information concerning COVID-19 on their platforms. For example, social media

  platforms regularly reached out to CDC to ensure that the information the social media

  companies chose to promote on their platforms remained consistent with the latest CDC

  guidance on issues such as masking protocols or vaccine recommendations as CDC issued

  updates. Google, for instance, would reach out to ensure that its search results contained accurate

  links to the most up-to-date online guidance from CDC. Similarly, in another example, Facebook

  reached out to identify CDC content that could be linked on Facebook “groups” (i.e., a page on

  the platform for a community of users with a common interest, such as traveling or dogs).

     6. During the pandemic, CDC began meeting regularly with certain social media companies

  to better facilitate these conversations in a pandemic environment where knowledge about and

  our understanding of the novel COVID-19 virus were evolving. Most of CDC’s meetings with

  these companies did not touch on misinformation. Any discussions about misinformation were

  focused on misinformation narratives that the companies or CDC observed circulating on

  platforms and the information available from CDC that would respond to those narratives. In

  these meetings, CDC did not ask a social media company to take any particular action with

  respect to any particular post. Currently, CDC does not meet or speak regularly with social

  media or technology companies to discuss misinformation, and has no current plans to do so, as

  discussed further below.



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      7. To be clear, there is still some occasional and indirect contact between CDC personnel

  and personnel from social media or technology companies that may touch on misinformation.

  CDC personnel develop periodic “State of Vaccine Confidence Insight” reports that are publicly

  posted (available at https://www.cdc.gov/vaccines/covid-19/vaccinate-with-confidence.html) and

  emailed to a wide list of recipients that may include personnel from social media companies.

  CDC funds, and CDC personnel attend and speak at, conferences that discuss misinformation

  and infodemic management; personnel from social media companies may also attend and/or

  speak at such conferences.7 I also note that CDC OADC has recently interacted with, and

  continues to interact with, social media companies to address accounts that impersonate CDC

  officials.

      8. To the best of my knowledge, regular meetings between CDC personnel and

  Meta/Facebook personnel ended in the summer of 2021. While CDC communications personnel

  have had occasional and irregular meetings with Meta/Facebook personnel since then—for

  instance, a meeting in October 2022 about a potential in-kind contribution for COVID-19-related

  ads and recent meetings about functionalities for CDC to manage its own social media

  accounts—it has been well over a year since the last time a meeting touched on misinformation.

      9. For a short period of time in 2021, CDC also met regularly with Pinterest to exchange

  information about COVID-19. To my knowledge, it has been well over a year since the last time

  CDC personnel had a meeting or communication with Pinterest personnel that touched on

  misinformation.




  7
   For example, CDC sponsored a workshop conducted by the National Academies of Sciences, Engineering, and
  Medicine entitled “Navigating Infodemics and Building Trust during Public Health Emergencies” (available at
  https://www nationalacademies.org/event/04-10-2023/navigating-infodemics-and-building-trust-during-public-
  health-emergencies-a-workshop#sectionEventMaterials).

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     10. To the best of my knowledge, CDC has never had regular, recurring meetings with

  Twitter, but CDC did meet occasionally with Twitter in 2020 and 2021 to exchange information

  about COVID-19. Similarly, to my knowledge, it has been well over a year since the last time

  CDC personnel had a meeting or communication with Twitter personnel that touched on

  misinformation.

     11. At times in the past and continuing to the present, CDC has also met regularly with

  Google. Generally speaking, the subject of those meetings was/is not misinformation; to the best

  of my knowledge, the last time a meeting with Google touched on misinformation was in March

  2022. (My more recent meetings with Google have touched on topics such as the COVID-19

  knowledge panel feature, and the impact of the redesign of the CDC.gov website on search

  engine results. And, for example, it is possible that other CDC components have met with

  Google sales teams to discuss ad buys.)

     12. To the best of my knowledge, since March 2022, there has not been a meeting between

  CDC personnel and personnel from a social media or technology company where misinformation

  has been discussed at all, and there are no current plans to have such meetings in the future.

     13. In the course of its efforts to address COVID-19 misinformation, CDC briefly engaged

  with the Census Bureau to receive assistance in monitoring the circulation of misinformation

  narratives on social and traditional media, so that CDC could better respond to those narratives

  with authoritative health information. (The Census Bureau developed experience with

  monitoring the circulation of misinformation in connection with the 2020 census.) The relevant

  Interagency Agreement ended over a year ago, and to the best of my knowledge, CDC’s last

  meetings and communications with Census personnel about misinformation took place in

  summer 2021.



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      14. Pursuant to the Interagency Agreement, the Census Bureau assisted CDC with organizing

  and hosting two “Be On the Lookout” (“BOLO”) meetings with personnel from social media and

  technology companies in May 2021. CDC invited personnel from Meta/Facebook,

  Google/YouTube, and Twitter to attend the BOLO meetings. The purpose of the “BOLO”

  meetings was for CDC personnel to highlight prevalent COVID-19 misinformation narratives

  that CDC had identified and provide the companies with authoritative information on those

  topics. We presented PowerPoint slides discussing the narratives and the CDC-responsive

  information. The slides contained example social media posts illustrating the narratives. At these

  meetings, CDC did not ask social media companies to take any particular action with respect to

  specific posts. Rather, we provided information on COVID-19 misinformation narratives that the

  companies could use (or not use) as they saw fit.

      15. In addition to the two May 2021 meetings, two more “BOLO” meetings were scheduled

  for summer of 2021 but never held. One was cancelled due to the Juneteenth holiday, and the

  second was cancelled because CDC had no information to share. No “BOLO” meeting has been

  held since May 28, 2021, and none are anticipated.

      16. I also sent at least a couple of emails, unconnected to the above BOLO meetings, to

  social media companies with “BOLO” in the subject line. Similar to the information shared at the

  two May 2021 meetings, these emails notified platforms about a misinformation narrative about

  COVID-19 that CDC had observed circulating on the platforms. These were sent during mid- to

  late-2021; I have not sent any since 2021.8




  8
    I note that in August and November 2021, I and other CDC personnel met with/emailed individual platforms
  (Facebook and Twitter) to discuss misinformation around the Vaccine Adverse Events Reporting System (VAERS),
  a system that allows individuals to report to the CDC adverse health effects after receipt of a vaccine.

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     17. Throughout 2021, Facebook personnel sent CrowdTangle “content insights” reports to

  CDC. To my knowledge, that practice stopped in December 2021. These reports contained a

  summary of high-volume conversations on social media around COVID-19 topics. These reports

  helped give CDC insight into what information was circulating on social media regarding

  COVID-19; that would allow us to identify gaps in information and confusion about the facts

  concerning COVID-19, which were considerations we could take into account in developing

  CDC communications materials.

     18. In one instance during the summer of 2021, a CDC employee used a Facebook reporting

  portal to identify four Facebook and Instagram posts containing vaccine misinformation. I am

  not aware of CDC personnel using that portal any other time. I am not aware of any efforts by

  CDC to inquire or investigate what happened to those posts, or of Facebook or Instagram

  informing CDC about what happened to those posts. CDC did not use this portal (beyond this

  one instance) because it did not seem like a worthwhile use of CDC time and resources nor were

  we comfortable reporting individual posts.

     19. Personnel from Meta/Facebook and Google/YouTube occasionally sent emails to CDC

  soliciting CDC’s views on whether certain assertions about COVID-19 or other health topics

  were accurate or not. These assertions were not presented as particular posts, but rather as claims

  in the abstract. I (or someone from my team) responded to these emails on behalf of CDC after

  referring to publicly available information on CDC’s website or conferring with CDC subject-

  matter experts as appropriate. To the best of my current knowledge, the last such email CDC

  received from a social media company inquiring about the accuracy of certain assertions about

  health information was in summer 2022.

     20. I am aware that plaintiffs in this action have asked for the following relief:



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         The Court should enter a preliminary injunction preventing Defendants, and their
         agents, officers, employees, contractors and all those acting in concert with them,
         from taking any steps to demand, urge, encourage, pressure, coerce, deceive,
         collude with, or otherwise induce any social-media company or platform for online
         speech, or any employee, officer, or agent of any such company or platform, to
         censor, suppress, remove, de-platform, suspend, shadow-ban, de-boost, deamplify,
         issue strikes against, restrict access to, demonetize, or take any similar adverse
         action against any speaker, content, or viewpoint expressed on social media. The
         Court should also preliminarily enjoin Defendants from acting in concert with any
         others, including but not limited to persons and entities associated with the Center
         for Internet Security, the Election Integrity Partnership, and the Virality Project, to
         engage in the aforementioned conduct, and from acting in concert with any such
         others who are engaged in any of the aforementioned conduct.

     21. As noted above, a core part of CDC’s mission is to promulgate science-based, data-

  driven information about public health matters. The broad injunction proposed by Plaintiffs

  could be construed to prohibit this core function. For instance, I am aware that some social media

  companies may choose to rely on CDC-promulgated information when determining what health-

  related content they will allow to circulate on their platforms, or to what extent they will allow it.

  Yet the proposed injunction is unclear as to whether it would prohibit CDC from publicly issuing

  a statement on a public health issue as a “step” to “encourage” a social media company to

  “suppress” or take “similar adverse action” against information that runs counter to the CDC-

  provided information. Thus, the injunction could inhibit CDC from performing its essential

  educational function, to the detriment of those whose health and well-being (and perhaps their

  lives) depend on the availability of accurate information about disease prevention and treatment.

     22. CDC also funds research and other public health programs through billions of dollars’

  worth of grants and cooperative agreements. That entire enterprise could be thrown into jeopardy

  by an injunction of the type proposed by plaintiffs. For example, if a CDC-funded entity

  publicizes research that runs contrary to a narrative circulating on social media, and a social

  media company then takes steps consistent with its terms of service to limit that narrative, then it



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  is unclear whether CDC would be deemed, in the injunction’s words, to be “acting in concert”

  with “others” “engaged” in the “conduct” of “inducing” a social-media company to “suppress”

  or take “similar adverse action” against certain content, speakers, or viewpoints. In this respect,

  as well, the injunction if issued could inhibit CDC from carrying out core elements of its mission

  that are important to public health.

     23. Put simply, it appears that many public-facing actions by the CDC—that is, actions that

  are not purely internal to the agency—that involve the promotion of science-based, data-driven

  public health information could be construed to violate the injunction proposed by plaintiffs.

  Thus, it will be very difficult for CDC to determine what conduct does or does not fall within the

  scope of such an injunction—particularly where it has no control over actions taken by third

  parties, such as social media companies and others who may rely upon CDC’s publications and

  statements concerning public health matters. Moreover, if CDC is unable to carry out its mission

  of promulgating science-based, data-driven information about public health matters, and making

  that information publicly understandable and accessible, then all of society would suffer, because

  the public would be deprived of critical information needed to protect it from a host of diseases

  and other public health threats.




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         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

  United States of America that the foregoing is true and correct to the best of my knowledge.




         Executed on this _______ day of April, 2023, in Atlanta, Georgia,

                                                                   Digitally signed by Carol
                                              Carol                Crawford -S
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                                               ________________________________
                                               CAROL CRAWFORD
                                               Health Communications Specialist
                                               Director, Division of Digital Media
                                               Office of the Associate Director for Communication
                                               Centers for Disease Control and Prevention




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                                                        April 5, 2018

                                                      Section: MONEY

                             Many YouTube creators frustrated by changes in policies, practices

                                                 Brett Molina, USA TODAY

A shooting at YouTube's headquarters in California has sparked questions about recent changes the video service made to how
its creators get paid.

Authorities have identified the suspect as Nasim Aghdam, 39, accused of shooting three people before apparently taking her
own life.

Police say Aghdam's apparent motive for the shooting was frustration with the policies and practices of YouTube. Social media
posts made by Aghdam, along with comments made by her father, suggest the shooter was "angry" because YouTube had
stopped paying her for videos.

Although YouTube does not directly pay its content creators, users can make money through ads that run on their video or
subscriptions collected by YouTube Red premium service. However, recent policy changes have rankled many creators.

Here's a breakdown of how YouTube creators can make money:

What is monetization? For YouTube, it's a way for creators to make money off their videos. YouTube hosts a Partners Program,
where creators earn money from ads appearing on their videos or Red subscriptions. The ads run through AdSense, Google's
platform for serving ads to websites including YouTube.

For its bigger names, making a living through YouTube can prove lucrative. According to Forbes, the highest-paid YouTube
star, Daniel Middleton, raked in $16.5 million in income last year thanks to his channel DanTDM.

What are the changes users seem upset about? Last April, YouTube updated its Partners Program to no longer serve ads on
videos until a channel reaches 10,000 lifetime views. It also revealed work on a review process for new members of the program.

The change was made in response to tactics such as channels taking original videos and uploading them again to rake in ad
money.




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"We want creators of all sizes to find opportunity on YouTube, and we believe this new application process will help ensure
creator revenue continues to grow and end up in the right hands," Ariel Bardin, YouTube's vice president of product management,
said in a blog post last April.

In January, YouTube boosted those thresholds to 4,000 hours of watch time over the last 12 months and 1,000 subscribers. As
of Feb. 20, any channels below these requirements could no longer make money through ads.

Why did YouTube make these changes? Major advertisers including AT&T and Verizon started pulling their business from
YouTube in March 2017 after discovering their ads were appearing on offensive or extremist videos. YouTube parent company
Google said it would start an "extensive review" of its ad policies. Last August, YouTube said it was working more quickly
to pull terrorist content from its site.

What did this mean for YouTube creators? If you were an established YouTube star with millions of followers, the policy didn't
change things. But smaller channels on the edges of YouTube's thresholds were shut out.

Although YouTube acknowledged in January a significant number of channels would be affected by the change, it said 99% of
affected channels were making less than $100 a year in the last year.

Those changes arrived as it weathered controversy surrounding one of its biggest names, Logan Paul. In February, the vlogger
saw ads on his channel suspended temporarily after uploading a video of him shocking a rat with a taser.


---- Index References ----



Industry: (Digital Broadcasting (1DI81); Entertainment (1EN08); Internet (1IN27); Internet Audio & Video (1IN30); Internet
Media (1IN67); Internet Technology (1IN39); Online Social Media (1ON38); TV (1TV19); TV Programming (1TV26))


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          DEFENDANTS’ EXHIBIT 87:
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          DEFENDANTS’ EXHIBIT 88:
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          DEFENDANTS’ EXHIBIT 89:
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          DEFENDANTS’ EXHIBIT 90:
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8ÿ78062ÿ5117ÿ8ÿ#26 ÿ41ÿ46ÿ41ÿ017ÿ118ÿ#68ÿ86417ÿ68ÿ07ÿ58701ÿ1#4ÿ
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4240ÿ6#ÿ401ÿ94412ÿ7ÿ7017ÿ12ÿ7ÿ01271#ÿ027481ÿ929ÿ7ÿ9ÿ2186581ÿ614074ÿ8
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9592ÿ401ÿ%2171849ÿ(19ÿ6#ÿ,2116 ÿ46ÿ-2ÿ84068ÿÿ,9ÿ971!
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13ÿ22832ÿ12ÿ 3ÿ1ÿ12ÿ! ÿÿ12ÿ3738ÿÿ13ÿ842 38ÿ94224ÿ()124*ÿ'128ÿ12
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  29338ÿÿ42342ÿ4 ÿ12ÿ+ÿ12ÿ2ÿ13ÿ!4 ÿ!242ÿ8ÿÿ2734ÿÿÿ432ÿ4ÿÿ838
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  9928ÿ()124*ÿ'2ÿ3ÿ13ÿ28243ÿÿ7343ÿ8ÿ!2ÿ3ÿ13ÿ34ÿ2282ÿÿ1 8
431ÿ8ÿ13ÿ7!24ÿ!382 ÿ4ÿ12ÿ92ÿÿ1 8ÿ422 ÿ%4ÿÿ3232ÿÿ2 24137ÿ4
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432ÿ4ÿ913428ÿ!1ÿ291ÿ!28ÿ8ÿÿ42ÿ91322 28ÿ38ÿ1234ÿ9128ÿ32 ÿ01ÿ9131
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  32ÿ!31ÿÿ4228ÿ38229ÿÿ147ÿ!3ÿ8ÿÿ7 382ÿ238ÿÿ4ÿ984ÿ2ÿ!8ÿ12
     3438ÿÿÿ!1ÿ482!ÿ13ÿ8ÿ1ÿ3892ÿÿ324ÿ38ÿ1838ÿ!1ÿ9 2ÿ7ÿ
12824ÿ/92ÿ ÿ24ÿ438ÿ13ÿ42!2ÿ33ÿÿ1ÿ984ÿ8ÿ 3ÿ37&ÿ,334ÿ184ÿ4
4ÿ24392ÿ'2$ÿ42ÿ3ÿ4 ÿ1242,
   8ÿ13ÿ38ÿ ÿ38ÿ834 ÿ12824ÿ/92ÿ4ÿÿ.32ÿ+482ÿÿ12ÿ6328 ÿ62248$ÿ02 43
2ÿ24912ÿ12ÿ8 2ÿ2842ÿ38ÿ12ÿ224ÿ4832ÿ8ÿ128ÿ8ÿÿ7ÿ!1242ÿ12ÿ792ÿ13
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012ÿ456ÿ7817ÿ9271ÿ58ÿ8 ÿ60027ÿ601ÿ69ÿ7171ÿ6ÿ51ÿ261ÿ87ÿ511ÿ1ÿ69 ÿ
                                        23303
26ÿ0821ÿ85ÿ61ÿ27ÿ11ÿ69ÿ662ÿ171ÿ11ÿ1ÿ121ÿ1ÿ12717ÿ58ÿ088
11ÿ51ÿ01ÿ4ÿ5ÿ51ÿ12ÿ8ÿÿ485ÿ61ÿ6ÿ58ÿ692 ÿ27ÿ716862ÿ6ÿ58ÿ164
821
  6ÿ58ÿ11 ÿ181ÿ6ÿ58ÿ692 ÿ27ÿ6ÿ4ÿ982ÿ51ÿ8211 ÿ6ÿ69ÿ012ÿ27ÿ46012ÿ82
92860ÿ8 ÿ!ÿ0ÿ697ÿ6ÿ47ÿ51ÿ187128ÿ17ÿ6ÿ 11760ÿ6ÿ121ÿ11ÿ1
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512ÿ%622ÿ&5ÿ4ÿ'(ÿ1 ÿ67ÿÿ6276ÿ 9)ÿ51ÿÿ 9)ÿ51ÿ5691ÿ27ÿ51
218565667ÿ21ÿ*1127ÿ+1ÿ12 ÿ1517ÿ569569ÿ51ÿ5691ÿ6ÿ692ÿ%622ÿ9
6972,ÿ827ÿ51ÿ24511ÿ&51ÿ4ÿ82ÿ617ÿ7642ÿ51ÿ67ÿ2782ÿ82ÿ51ÿ08771ÿ6ÿ51
 67ÿ78182ÿ 8ÿ"-951$ÿ.12ÿÿÿ692ÿ1ÿ51ÿ4ÿ17ÿ6ÿ)1ÿ51ÿ"-951$
%622ÿ4ÿ4ÿ2ÿ12598 8ÿ882ÿ82ÿ81ÿ&51ÿ621ÿ17ÿ62ÿ51ÿ8,ÿ6 ÿ10
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 51ÿ8771ÿ. ÿ!ÿ1ÿ46271ÿ4585ÿ621ÿ6ÿ561ÿ46ÿ1018121ÿ4ÿ061ÿ51282
"-951$
!2ÿ'112ÿ18712ÿ*8262ÿ2608217ÿ%622ÿÿ51ÿ2862,ÿ&11ÿ6ÿ+15ÿ27ÿ+902
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%982ÿ51ÿ1291ÿ51ÿ711617ÿÿ19862ÿ6ÿ821 ÿ27ÿÿ488221 ÿ6ÿ51ÿ65ÿ871ÿ6
2ÿ891ÿ601ÿ31982ÿ6126ÿ456ÿ46)17ÿ61ÿ485ÿ%622ÿ17ÿ51ÿ66181
27ÿ08ÿ51ÿ1ÿ10ÿ69028ÿ6ÿ!82ÿ621ÿ17ÿ51ÿ06 ÿ789 82
511 9ÿ"-951$ÿ!ÿ)214ÿ6ÿÿ5,ÿÿ585ÿ608012ÿ"-951$
# ÿÿ611ÿ18712ÿ%622ÿ5ÿ71062 17ÿ51ÿ6008012ÿ6ÿ179862ÿ#27ÿÿ658ÿ6
 51ÿ%61&5ÿ*6008862ÿ62ÿ*1ÿ6ÿ#018,ÿ319282ÿ692717ÿ 86 ÿ51ÿ5ÿ46)17
 6ÿ1291ÿ5ÿ41ÿ6871ÿ51ÿ1 ÿ6 81ÿ1ÿ6ÿ#018,ÿ112ÿ118ÿ561ÿ456ÿ51
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1811ÿ711ÿ5ÿ69ÿ2862ÿ5ÿ26ÿ061ÿ806 2ÿ162888ÿ52ÿ6ÿ0)1ÿ91ÿ5ÿ41
6871ÿ69ÿ112ÿ485ÿÿ51ÿ61ÿ27ÿ1ÿ27ÿ96 ÿ51ÿ7111ÿ%622ÿ69ÿ5117
#018ÿ061ÿ61ÿ6ÿ18482ÿ5ÿ261ÿ6ÿÿ27ÿ69ÿ692 ÿ8ÿ711ÿ19
  6ÿ51ÿ1 6 ÿ6ÿ51ÿ061ÿ#0182ÿ81ÿ81ÿ6ÿ961ÿ27ÿ7828ÿ!ÿ0ÿ697ÿ6ÿ47ÿ51
187128ÿ17ÿ6ÿ 11760ÿ6ÿ%622ÿ.72ÿ&5ÿ"-951$
  14ÿ012ÿ51ÿ17ÿ61ÿ82ÿÿ02ÿ01061ÿ06012 ÿ82ÿ112ÿ#0182ÿ586ÿ
-9121ÿ&8102ÿ+1ÿ4ÿÿ1286ÿ6 88ÿ82ÿ51ÿ59 81ÿ%1012ÿ82ÿ51ÿ105ÿ6
11ÿ27ÿ5117ÿ6ÿ1 61ÿ#018,ÿ6287121ÿ82ÿ51ÿ%1012ÿ# ÿ#0 76ÿ6
6968ÿ51ÿ4ÿÿ8669ÿ111281ÿ6ÿ#018,ÿ91ÿ15827ÿ51ÿ!62ÿ*9 82ÿ+1ÿ4ÿ
 811ÿ761ÿ6ÿ51ÿ11ÿ5695ÿ 125ÿ6881ÿ5ÿ5117ÿ482ÿ51ÿ*67ÿ
# ÿÿ171ÿ/971ÿ62ÿ51ÿ%*ÿ898ÿÿ6 12ÿ17ÿ51ÿ16275851 ÿ69 ÿ82ÿ51ÿ27ÿÿ5971
&8102ÿ5ÿ112ÿÿ 8621ÿ711271ÿ6ÿ/9788ÿ1 82ÿ+1ÿ481ÿ682862ÿ5ÿ621
6191ÿ5ÿ71817ÿÿ4ÿ982ÿ6ÿ51ÿ51ÿ6ÿ51ÿ01ÿÿ601801ÿ6ÿ51ÿ/99
"-951$ÿ+8ÿ791 86282ÿ8ÿ8ÿ27ÿ82881ÿÿ27ÿÿ1 ÿ621ÿ41ÿ456ÿ4ÿ9/117ÿ6ÿ58
8279881ÿ9ÿ8217ÿ"-951$ÿ5971ÿ&8102ÿ4ÿÿ89ÿ806 2ÿ829121ÿ62
 46ÿ651ÿ0101 ÿ6ÿ5ÿ69 ÿ#26282ÿ&8ÿ27ÿ*121ÿ560ÿ512ÿ15ÿ4ÿ2608217
 6ÿ51ÿ&9101ÿ*69 ÿ5971ÿ&8102ÿ82ÿ8ÿ5862ÿ4ÿ26ÿ7ÿ6ÿ11ÿ510ÿ6ÿ5,
191ÿ4512ÿ&8ÿ1ÿ51ÿ69 ÿ5971ÿ&8102ÿ8217ÿ12868ÿ#27ÿ4512ÿ560ÿ1ÿ51
69 ÿ5971ÿ&8102ÿ8217ÿ58ÿ92891ÿ"-951$
!2ÿÿ214ÿ27ÿ72169ÿ1ÿ6ÿ69ÿ692 ÿ- ÿ&8102ÿ5ÿ6282917ÿ6ÿ241ÿ51ÿÿ6
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Dr. Anthony Fauci's 18-Hour Schedule Is Exhausting to
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 Azmi Haroun




Dr. Anthony Fauci arriving to testify before the House in Washington, DC, on June 23.
Kevin Dietsch/Pool via REUTERS

       In an interview with HuffPost, Dr. Anthony Fauci, the US's leading infectious-disease
       expert, laid out a schedule of one of his workdays during the COVID-19 pandemic.
       Fauci, who still fits patient visits into his day and is escorted by a team of federal
       agents because of threats to his safety, mentioned one scheduled 20-minute break
       within the particular 18-hour workday.
       That day largely revolved around press appearances and emails.
       "I don't socialize," Fauci told HuffPost. "It's my wife and I and the federal agents. We've
       sort of become like a new family unit "
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As the COVID-19 pandemic surges, the US's top infectious-disease expert is seemingly
everywhere at once.

Dr Anthony Fauci, the director of the National Institute of Allergy and Infectious Diseases,
who turns 80 next week, gave an interview with HuffPost last week in which he broke down
his 18 hour schedule for the day before Thanksgiving He told HuffPost's Jeffrey Young, who
tweeted out a transcript of Fauci's full answer to his question, that every day was different,
and, "It's just, you know, drinking out of a firehose trying to keep ahead of everything that's
going on "

     5:10 a.m. to 6 a.m.: A shower and a shave.
     6 a.m. to 6:30 a.m.: Checking emails Fauci described receiving more than 1,000
     emails, which are whittled down to hundreds of critical ones he must address
     throughout the day.
     6:30 a.m. to 7 a.m.: Taping a segment for ABC News' "Good Morning America."
     7 a.m. to 7:30 a.m.: Leaving home, with a crew of federal agents for protection, to
     head to the National Institutes of Health
     7:30 a.m. to 8 a.m.: Appearing on C-SPAN's "Washington Journal."
     8 a.m. to 8:30 a.m.: Calling in to WNYC-FM's "The Takeaway."
     8:30 a.m. to 9 a.m.: Taping an interview with a local Chicago TV station.
     9 a.m. to 10 a.m.: Checking up on two severe COVID-19 patients at the NIH Clinical
     Center alongside their primary physicians
     10 a.m. to 10:30 a.m.: Taking part in a videoconference with the National Institute of
     Allergy and Infectious Diseases staff.
     10:30 a.m. to 11 a.m.: Interview with a newspaper reporter.
     11 a.m. to 11:50 a.m.: Video meeting with HHS Secretary Alex Azar, NIH Director
     Francis Collins, CDC Director Robert Redfield, FDA Administrator Stephen Hahn, and
     others.
     11:50 a.m. to noon: A "10-12 min" bathroom break and emails.
     Noon to 12:30 p.m.: Interview with theGrio about vaccine skepticism in the Black
     community.
     12:30 p.m. to 1 p.m.: HuffPost's interview
     1 p.m. to 1:30 p.m.: More TV appearances.
     1:30 p.m. to 1:50 p.m.: The first true break scheduled that day.
     1:50 p.m. to 2:30 p.m.: A newspaper interview.
     2:30 p.m. to 3 p.m.: An interview with a scientific journal.
     3 p.m. to 3:30 p.m.: Preparing "for an upcoming speech to the Centers for Science
     and International something-or-other, one of those think tanks in Washington."
     3:30 p.m. to 4:30 p.m.: Videoconference with doctors from the White House
     coronavirus task force.

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     4:30 p.m. to 5:30 p.m.: Videoconference with NIH vaccine scientists, including
     Moderna and other producers
     5:30 p.m. to 7 p.m.: Phone calls, emails, and more press.

After his arduous schedule, Fauci said he hoped to be home after 7 p.m., where he would
finish off the day doing his 45 minute power walk with his wife, Christine Grady, the chief of
the Department of Bioethics at the NIH's Clinical Center.

After dinner, he would do more press and check more emails until he said he's "so tired I
can't do anymore."

In his interview with HuffPost, Fauci also mentioned that because of COVID-19 and threats
made against his life (including a comment by the former Trump White House chief strategist
Steve Bannon calling for Fauci's head on a pike), he does not socialize and did not hold any
Thanksgiving gatherings with his children

"I have federal agents that protect me. So they drive me to work, they stay here, they make
sure that nobody tries to break in [to my home] and, as Steve Bannon would like, have
somebody behead me," Fauci told HuffPost. "I don't socialize. It's my wife and I and the
federal agents. We've sort of become like a new family unit."

As vaccines become accessible to the mass public and until the pandemic seriously
subsides in the US, Fauci is expecting to be busy, especially as President-elect Vice Biden
said Thursday that he planned to keep Fauci in his current position, as well as a chief
medical advisor, after taking office.




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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA


    The State of Missouri, et al.,

            Plaintiffs,

                    v.
                                                              Civil Action No. 22-cv-1213
    President Joseph R. Biden, Jr., in his official
    capacity as President of the United States of
    America, et al.,

            Defendants.


                                 DECLARATION OF GEOFF HALE

           I, Geoff Hale, declare the following, based upon my personal knowledge, information

   acquired by me in the course of performing my official duties, and information contained in the

   records of the Cybersecurity and Infrastructure Security Agency (CISA):

           1.      I am the Lead for Election Security and Resilience within the National Risk

   Management Center at CISA, U.S. Department of Homeland Security (DHS). I joined the

   Department in 2015, and I have supported the Department’s and Agency’s election security

   mission since 2016. I am responsible for leading CISA’s Election Security and Resilience team,

   which includes the Mis-, Dis-, and Malinformation (MDM) team.

      I.        CISA’s Mission

           2.      As the nation’s cyber defense agency, CISA is charged with leading the national

   effort to understand, manage, and reduce risk to the nation’s cyber and physical infrastructure. 6

   U.S.C. § 652. Securing the nation’s critical infrastructure is a shared responsibility requiring not

   just a whole-of-government, but a whole-of-nation approach. CISA is only able to accomplish its




                                                                                                     1
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   mission by building collaborative, trusted partnerships across all levels and branches of

   government, and with the private sector, academia, and international community.

            3.         As part of this mission, CISA plays two key operational roles. First, CISA is the

   operational lead for federal cybersecurity, in close partnership with federal partners. Second,

   CISA serves as the National Coordinator for critical infrastructure security and resilience,

   including cybersecurity, working with partners across government and industry to protect and

   defend the nation’s critical infrastructure. 1

            4.         In January 2017, the U.S. Department of Homeland Security officially designated

   election infrastructure as a subsector of the Government Facilities Sector, described below, making

   clear that election infrastructure qualifies as critical infrastructure. This designation recognizes

   that U.S. election infrastructure is of such vital importance that its disruption would have a

   devastating effect on the country.

            5.       Election infrastructure refers to an assembly of systems and networks, including,

   among other things, voter registration databases and associated IT systems, IT infrastructure and

   systems used to manage elections, voting systems and associated infrastructure, storage facilities

   for      election        and       voting        system        infrastructure,         and       polling        places.

   https://www.cisa.gov/topics/election-security (last visited April 24, 2023).

            6.       To manage risks to the nation’s election infrastructure, CISA works collaboratively

   with state and local governments, election officials, federal partners, and private sector partners.

   The collaboration includes working in a nonpartisan manner with state and local election officials

   across the political spectrum—including, as discussed below, officials from Louisiana and



   1
    42 U.S.C. § 5195c defines critical infrastructure as “systems and assets, whether physical or virtual, so vital to the
   United States that the incapacity or destruction of such systems and assets would have a debilitating impact on security,
   national economic security, national public health or safety, or any combination of those matters.”


                                                                                                                          2
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   Missouri—as the trusted and expert voices within their communities, to hold secure elections in

   their jurisdictions and to equip the American public with accurate information about the conduct

   and security of elections.

             7.   CISA provides publicly available resources on election security for both the general

   public and election officials in its efforts to protect America’s election infrastructure against new

   and evolving threats. For example, CISA has publicly released an Election Infrastructure Insider

   Threat          Mitigation           Guide            (https://www.cisa.gov/sites/default/files/2022-

   11/election insider threat mitigation guide 508 0.pdf (last visited April 24, 2023)); CISA

   partnered with the Federal Bureau of Investigation (FBI) to publish election-security related public

   service announcements or PSAs for the general public (see, e.g., FBI & CISA Public Service

   Announcement, Malicious Cyber Activity Against Election Infrastructure Unlikely to Disrupt or

   Prevent Voting (Oct. 4, 2022), available at https://www.cisa.gov/resources-tools/resources/psa-

   malicious-cyber-activity-against-election-infrastructure-unlikely (last visited April 24, 2023)),

   and through its Joint Cyber Defense Collaborative, CISA compiled a toolkit of free services and

   tools intended to help state and local government officials, election officials, and vendors enhance

   the   cybersecurity     and    cyber     resilience    of   U.S.     election    infrastructure   (see

   https://www.cisa.gov/cybersecurity-toolkit-and-resources-protect-elections (last visited April 24,

   2023)).

             8.   CISA also provides numerous voluntary and no-cost election security services,

   such as cybersecurity assessments, cyber threat hunting, cyber incident response, training and

   exercises, to state and local government officials and private sector election infrastructure partners.

   https://www.cisa.gov/election-security-services (last visited April 24, 2023).




                                                                                                        3
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             9.      In addition, CISA reduces risk to U.S. critical infrastructure by building resilience

   to disinformation 2 related to critical infrastructure.         Through these efforts, CISA helps the

   American people understand the scope and scale of activities targeting election infrastructure and

   enables them to take action to mitigate associated risks.               Sharing accurate and transparent

   information about election infrastructure, as well as increasing awareness about disinformation,

   better equips the American people to understand elections and to discern rumors from reality.

             10.     CISA’s disinformation-related work, which is focused on resilience, is actor

   agnostic, and, thus, CISA does not assess the source of disinformation (i.e., whether it is foreign

   or domestic).

       II.         CISA’s MDM Team
             11.     CISA’s MDM team works to build national resilience to disinformation and foreign

   influence operations. Through these efforts, CISA helps the American people understand the

   scope and scale of disinformation activities targeting election and other critical infrastructure, and

   enables them to take action to mitigate associated risks. The MDM team was formerly known as

   the Countering Foreign Influence Task Force (CFITF) and was founded in May of 2018.

             12.     While CISA anticipated and publicly stated that the MDM Team would grow, the

   size of the team supporting this mission generally has remained constant.

             13.     The primary focus and mission of CISA’s disinformation-related work has been

   and continues to be building resilience to disinformation generally and specifically to that affecting

   election infrastructure. Despite statements to the contrary, the scope of the mission has not

   expanded, nor have CISA’s efforts to build resilience to disinformation. CISA’s current efforts to

   build resilience to disinformation are discussed below.


   2
     In this declaration, I refer to disinformation generally, and I am not differentiating between misinformation,
   disinformation or malinformation.


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          14.     First, CISA has developed innovative methods to help individuals recognize and

   avoid disinformation operations.     This includes the creation of graphic novels illustrating

   disinformation tactics through fictional stories and the War on Pineapple infographic designed to

   explain foreign influence campaigns. See https://www.cisa.gov/topics/election-security/foreign-

   influence-operations-and-disinformation/resilience-series-graphic-novels (last visited April 24,

   2023); https://www.cisa.gov/resources-tools/resources/war-pineapple (last visited April 24, 2023).

   CISA has released guides that highlight tactics used by disinformation campaigns, such as

   manipulating content service providers or defacing public websites, that seek to negatively impact

   U.S. critical infrastructure and disrupt American life. See, e.g., https://www.cisa.gov/resources-

   tools/resources/tactics-disinformation (last visited April 24, 2023). Such public products help

   Americans understand how automated programs like social media bots simulate human behavior

   on social media platforms and how foreign malign actors use them to spread false or misleading

   information, shut down opposition, and elevate their own platforms for further manipulation.

          15.     Second, CISA seeks to build resilience to disinformation by providing accurate

   information in response to inaccurate election security-related information and amplifying

   accurate information shared by state and local officials with the public. For example, CISA’s

   Election Security Rumor vs. Reality website provides context to common disinformation

   narratives   and   themes     that   relate   to   the   security   of   election   infrastructure

   (https://www.cisa.gov/rumor-vs-reality (last visited April 24, 2023), and CISA amplifies

   messaging from state and local election officials through CISA’s social media platforms.

          16.     Third, over the past few years, CISA has also done a limited amount of

   disinformation-related work concerning other critical infrastructure sectors. None of that work




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   has involved CISA communicating with social media companies concerning content on their

   platforms.

          17.     For example, during the COVID-19 pandemic and in relation to the Healthcare and

   Public Health Sector, CISA provided support to the sector and produced two public guidance

   documents:        (1)      CISA        Insights:      COVID          Disinformation       Activity,

   https://www.cisa.gov/sites/default/files/publications/CISAInsights-COVID-

   19_Disinformation_Activity_508.pdf (last visited April 24, 2023); and (2) a COVID-19 Toolkit,

   https://www.cisa.gov/sites/default/files/publications/SLTTCOVIDToolkit FINAL 508.pdf (last

   visited April 24, 2023).

          18.     In support of the President’s Unified Coordination Group (UCG) for domestic

   preparedness and response regarding any potential impacts of Russia’s invasion of Ukraine on the

   United States, which was led by DHS, CISA personnel provided the UCG with situational

   awareness reports based on publicly available third-party reporting and support to build resilience

   to disinformation related to the crisis for the purpose of being prepared should foreign influence

   operations increase its targeting of U.S. critical infrastructure. The UCG was in operation from

   January 2022 to April 2022.

          19.     In relation to the Financial Services Sector, CISA has been working with the U.S.

   Department of Treasury on a guide that would be publicly available to help the Financial Services

   Sector understand what disinformation is, how disinformation could impact the sector, and how to

   mitigate the risks to the sector. The guide is still in development, but work is not currently being

   done to complete it because other tasks have taken priority.




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       III.         Critical Infrastructure Sectors and Related Councils
              20.      As established by Presidential Policy Directive (PPD) 21, 3 there are currently 16

   critical infrastructure sectors into which the “systems and assets, whether physical or virtual, so

   vital to the United States that the incapacity or destruction of such systems and assets would have

   a debilitating impact on security, national economic security, national public health or safety, or

   any combination of those matters” are organized. https://obamawhitehouse.archives.gov/the-

   press-office/2013/02/12/presidential-policy-directive-critical-infrastructure-security-and-resil/

   (last visited April 24, 2023).

              21.      PPD 21 designates a Sector Risk Management Agency (SRMA) for each sector

   given that agency’s specialized knowledge and expertise with respect to the sector. See 6 U.S.C.

   § 652a(c)(3) (stating that any reference to a “Sector-Specific Agency” in any document of the

   United States shall be deemed to be a reference to an SRMA).4

              22.      The Government Facilities Sector helps organize the owners and operators of

   federal and state, local, tribal and territorial (SLTT) facilities to identify their unique critical

   infrastructure security and resilience risk factors, share information, and develop best practices to

   protect against potential attacks on or issues with critical infrastructure. CISA and the General

   Services Administration serve as co-SRMAs for the Government Facilities Sector.




   3
     Presidential directives, such as proclamations and executive orders, are used to announce official policy and make
   declarations by the President. National security directives are a topical subset of presidential directives, and recent
   presidents have used different names for such directives. The Obama Administration identified national security
   directives as PPDs, while the George W. Bush Administration called them National Security Presidential Directives
   and the Trump Administration called them National Security Presidential Memoranda. See Presidential Directives:
   An       Introduction,     Congressional      Research     Service       (Nov.      13,      2019),      available      at
   https://crsreports.congress.gov/product/pdf/IF/IF11358 (last visited April 24, 2023).
   4
     SRMA means the federal department or agency designated by law or presidential directive, here PPD 21, “with
   responsibility for providing institutional knowledge and specialized expertise of a sector, as well as leading,
   facilitating, or supporting programs and associated activities of its designated critical infrastructure sector in the all
   hazards environment in coordination with the [DHS].” 6 U.S.C. § 651(5).


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            23.   The Election Infrastructure Subsector, a subsector of the Government Facilities

   Sector, covers a wide range of systems and assets used to support the election process; such as

   storage facilities, polling places, centralized vote tabulation locations, and information and

   communications technologies to include voter registration databases, voting machines, and other

   systems to manage the election process, and report and display election results on behalf of state

   and local governments.        https://www.dhs.gov/news/2017/01/06/statement-secretary-johnson-

   designation-election-infrastructure-critical (last visited April 24, 2023).

            24.   Under the National Infrastructure Protection Plan Framework, critical

   infrastructure sectors and some subsectors are represented by government coordinating councils

   (GCC) and sector coordinating councils (SCC), along with other information sharing structures.

   https://www.cisa.gov/resources-tools/groups/critical-infrastructure-partnership-advisory-council-

   cipac (last visited April 24, 2023).

            25.   GCCs enable members to interact on a wide range of sector-specific strategies,

   policies, and activities.       GCCs are comprised of federal and SLTT governments.

   https://www.cisa.gov/resources-tools/groups/government-coordinating-councils (last visited April

   24, 2023).

            26.   SCCs are self-organized and self-governed councils comprised of critical

   infrastructure owners and operators, their trade associations, and other industry representatives.

   https://www.cisa.gov/resources-tools/groups/sector-coordinating-councils (last visited April 24,

   2023).

            27.   The Election Infrastructure Subsector is supported by the Election Infrastructure

   Subsector GCC (EIS-GCC) and the Election Infrastructure SCC (EI-SCC).




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           28.     The EIS-GCC enables state, local, and federal government departments and

   agencies to share information and collaborate on best practices to mitigate and counter threats to

   election infrastructure. In particular, the EIS-GCC provides for interagency, intergovernmental,

   and cross-jurisdictional coordination within the Election Infrastructure Subsector and between this

   subsector and other sectors.

           29.     The EIS-GCC is comprised of members from across various levels of government

   to represent the operating landscape of the Election Infrastructure Subsector, including voting

   members, non-voting members, alternate representatives, and an executive committee.

           30.     The EIS-GCC Executive Committee is chaired by CISA, as the Sector Risk

   Management Agency, and members include the U.S. Election Assistance Commission

   Chairperson, the National Association of Secretaries of State (NASS) President, the National

   Association of State Election Directors (NASED) President, and a local government election

   official.

           31.     The Louisiana Secretary of State has been a member of the EIS-GCC since May

   2018, and while serving as the NASS President from the summer of 2021 to 2022, the Louisiana

   Secretary of State served as an EIS-GCC Executive Committee member. In this capacity,

   Louisiana received regular briefings (usually every two weeks) on CISA’s election security efforts,

   including briefings on CISA’s disinformation resilience work, engaged in security planning

   activities for the Election Infrastructure Subsector, and oversaw the management and activity of

   EIS-GCC       working   groups—including     the   EI-SCC     and   EIS-GCC      Joint   Managing

   Mis/Disinformation Working Group.

           32.     The Missouri Secretary of State served as an alternate member of the EIS-GCC

   from 2018 to 2019. In this capacity, Missouri attended the EIS-GCC biannual meetings and




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   actively participated in briefings on the Election Infrastructure Subsector’s security and resilience

   efforts.

              33.   In addition, I understand Louisiana is a member of NASS, and Louisiana and

   Missouri are both members of NASED. See https://www.nass.org/membership (last visited April

   24, 2023); https://www.nased.org/members (last visited April 24, 2023).

              34.   The EI-SCC’s mission is “to advance the physical security, cyber security, and

   emergency preparedness of the nation’s election infrastructure,” and it is accomplished through

   voluntary actions of the infrastructure owners and operators represented in the EI-SCC.

   Membership is available to any owner or operator with significant business or operating interests

   in U.S. election infrastructure systems or services, including, for example, the technology company

   Microsoft Corp., because, among other reasons, many voting systems are built on Microsoft

   operating systems and it provides cybersecurity services used by the election community.

              35.   The EI-SCC is governed by a five-member Executive Committee.

              36.   While CISA is not a member of the EI-SCC, it serves as the secretariat and provides

   various administrative functions.

              37.   Both the EI-SCC and EIS-GCC have the authority to establish working groups as

   necessary.

              38.   After the 2020 election, the EI-SCC and EIS-GCC launched a Joint Managing

   Mis/Disinformation Working Group to leverage opportunities to coordinate efforts across the

   subsector.            See      https://www.cisa.gov/sites/default/files/2023-01/ei-ssp-2022-status-

   update 508.pdf (last visited April 24, 2023).




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          39.       It provides a forum through which the Election Infrastructure Subsector can identify

   challenges in mitigating the risks posed by disinformation impacting election infrastructure and to

   produce resources for addressing these risks. Id.

          40.       To date, the EI-SCC and EIS-GCC Joint Managing Mis/Disinformation Working

   Group has published two guides to help state and local election officials and industry providers

   prepare for and respond to risks of disinformation: (1) the Rumor Control Page Start-Up Guide,

   which is designed for use by SLTT government officials and private sector partners seeking to

   dispel inaccurate election security-related information by sharing accurate information, see

   https://www.cisa.gov/resources-tools/resources/rumor-control-webpage-start-guide (last visited

   April 24, 2023); and (2) the MDM Planning and Incident Response Guide for Election Officials,

   which is designed for SLTT election officials to help them understand, prepare for, and respond to

   disinformation      that   may     impact    the    ability   to   securely    conduct     elections,

   https://www.cisa.gov/resources-tools/resources/mis-dis-malinformation-planning-and-incident-

   response-guide-election (last visited April 24, 2023).

          41.       Through CISA’s roles with the EI-SCC and EIS-GCC, CISA supports the EI-SCC

   and EIS-GCC Joint Managing Mis/Disinformation Working Group by providing administrative

   and substantive support, such as facilitating working group meetings and helping to draft working

   group products.

          42.       Microsoft, as a member of the EI-SCC, has participated in the Working Group.

          43.       The Joint Managing Mis/Disinformation Working Group does not engage with

   social media companies, and it does not flag or report potential disinformation to social media or

   technology companies.




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      IV.         Center for Internet Security
            44.       The Center for Internet Security (CIS), a nonprofit, is home to the Multi-State

   Information Sharing and Analysis Center (MS-ISAC) and the Elections Infrastructure Information

   Sharing and Analysis Center (EI-ISAC). https://www.cisecurity.org/about-us (last visited April

   24, 2023). CIS, the MS-ISAC, and the EI-ISAC are not government organizations.

            45.      The MS-ISAC serves as a central cybersecurity resource for U.S. SLTT

   government entities. It is a membership-based collaborative that is open to SLTT entities of all

   types, including, but not limited to, SLTT government agencies, law enforcement, educational

   institutions, public utilities and transportation authorities.      https://www.cisa.gov/resources-

   tools/services/multi-state-information-sharing-and-analysis-center (last visited April 24, 2023).

            46.      MS-ISAC membership includes more than 14,000 organizations and all 50 states

   are represented, including Missouri and Louisiana. https://www.cisecurity.org/insights/blog/the-

   ms-isac-is-now-more-than-14k-members-strong (last visited April 24, 2023).

            47.      MS-ISAC provides to its members direct access to a suite of cybersecurity services

   and cybersecurity informational products including, but not limited to, cybersecurity advisories

   and alerts, vulnerability assessments, incident response support, secure information sharing,

   tabletop         exercises,    and       malicious      domains/internet      protocol       reports.

   https://www.cisa.gov/resources-tools/services/multi-state-information-sharing-and-analysis-

   center (last visited April 24, 2023).

            48.      Founded in 2018, the EI-ISAC is a voluntary organization managed by CIS with

   membership open to SLTT organizations and private sector entities that support election officials.

   The EI-ISAC supports the rapidly changing cyber and critical infrastructure security needs of U.S.

   elections offices and offers a suite of elections-focused cyber defense tools, including cyber threat

   intelligence products, incident response and forensics, threat and vulnerability monitoring, and


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   cybersecurity awareness and training products. https://www.cisa.gov/resources-tools/groups/join-

   ei-isac (last visited April 24, 2023).

            49.      Membership in the EI-ISAC is voluntary and free for participants. Id.

            50.      DHS has provided financial assistance to CIS through a series of cooperative

   agreement awards, managed by CISA, to provide certain, specified cybersecurity services to SLTT

   government organizations through the MS- and EI-ISACs. In the approved scope of work for the

   cooperative agreements, DHS has limited the use of federal funds and any required non-federal

   cost-share to cybersecurity services intended to detect, prevent, respond to, mitigate, and recover

   from cyber threats, vulnerabilities, and risks. DHS has provided financial assistance to CIS

   through cooperative agreement awards since 2010 to provide such cybersecurity services to SLTT

   government organizations.

            51.      The DHS approved scope of work for the cooperative agreements has never funded

   CIS to perform disinformation-related work, including the reporting of potential election security-

   related disinformation to social media platforms.

       V.         Election Integrity Partnership
            52.      I understand that the Election Integrity Partnership (EIP) is a private partnership

   formed in 2020 that included the Stanford Internet Observatory (SIO), the University of

   Washington, Graphika, and the Atlantic Council’s Digital Forensic Research Lab to better

   understand the information environment around elections. See Scully Dep. Ex. 1 (The Long Fuse:

   Misinformation and the 2020 Election at vi). As discussed below, CISA’s involvement in the

   creation and operation of the EIP has been very limited, and CISA did not found, fund, or have

   any role in the management or operations of the EIP.

            53.      During 2020, several Stanford University students interned at CISA and worked on

   election security matters. During their internship, CISA personnel and the interns discussed the


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   challenges facing and the needs of election officials. Recognizing that state and local election

   officials often have very limited resources, CISA personnel and the interns discussed that many

   election officials did not have the resources or capability to identify and respond to potential

   election security-related disinformation impacting their jurisdictions.

          54.     I understand that some of the Stanford students who interned at CISA

   independently made a presentation about this lack of resources and resulting challenge facing

   election officials to the SIO. Subsequently, CISA personnel had a conversation with SIO

   personnel during which CISA confirmed that it perceived that state and local election officials

   lacked the resources and capability to identify and respond to potential election security-related

   disinformation impacting their jurisdictions.

          55.     I understand the SIO thereafter launched the EIP.

          56.     CISA did not launch the EIP, and the EIP is not a government organization.

          57.     CISA does not and has never funded the EIP.

          58.     Given its relationships with the election community, CISA connected the EIP with

   election stakeholders, such as NASS, NASED and CIS.

          59.     While I understand that the EIP engaged with entities such as CIS in relation to the

   2020 election cycle, I do not know the nature of their relationship or the extent to which they

   worked together because that information was not shared with CISA. Further, I understand that

   the EIP flagged incidents for social media companies when content or behavior appeared to violate

   the company’s terms of service, but CISA was not involved in the EIP’s process. As discussed

   below, however, both CISA and the EIP received reports of potential election security-related

   disinformation from state and local election officials through CIS.




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               60.      While the EIP briefed CISA regarding EIP’s plans for the 2022 election cycle, the

   briefing was at a high-level and did not address if or how EIP may interact with CIS. I do not

   know how the EIP and CIS may have worked together in relation to the 2022 election cycle

   because CISA was not involved in or informed of any such work.

               61.      Certain Stanford University students have interned for CISA and also the SIO.

   Through their SIO work, I understand they may have supported the EIP. Any students who

   interned at CISA, however, should have performed only CISA work during their internship with

   the Agency. Similarly, they should not have performed any CISA work outside of their CISA

   internship, including while interning at SIO or supporting the EIP.

               62.      CISA has engaged with the EIP as it does with other nongovernmental

   organizations in the election community. For example, CISA, along with many others, has

   attended public briefings the EIP has provided.

               63.      Presently, CISA is not doing any work with the EIP.

         VI.         CISA’s Disinformation-Related Work for the 2022 Election Cycle
               64.      In relation to the 2022 election cycle, CISA endeavored to mitigate the risks posed

   by disinformation targeting election infrastructure by sharing accurate information through CISA’s

   Election Security Rumor vs. Reality webpage and amplifying the voices of state and local election

   officials through CISA’s social media platforms and other public forums.

               65.      CISA supported the development of two EI-SCC and EIS-GCC Joint Managing

   Mis/Disinformation Working Group guides mentioned above: the Rumor Control Page Start-Up

   Guide and the MDM Planning and Incident Response Guide for Election Officials. See supra ¶

   40.

               66.      CISA released Tactics of Disinformation, a general disinformation resilience guide

   highlighting examples of the tactics use by foreign disinformation actors and outlining proactive


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   measures to mitigate the effectiveness of such tactics, see supra ¶ 14, and Halloween-themed

   messages on social media to build awareness to the risks posed by disinformation generally.

           67.      CISA partnered with the FBI to publish a PSA on information manipulation tactics

   related to the 2022 midterm elections. https://www.cisa.gov/news-events/alerts/2022/10/07/fbi-

   and-cisa-publish-psa-information-manipulation-tactics-2022 (last visited April 24, 2023).

           68.      CISA participated in regular meetings often referred to as USG – Industry meetings.

   Participants typically included CISA, DHS, FBI, U.S. Department of Justice, the Office of the

   Director of National Intelligence, Google, Facebook, Twitter, Reddit, Microsoft, and Verizon

   Media. During such meetings, participants discussed general election security information such

   as election dates and high-level threat reporting. CISA often reported on election infrastructure

   security, key election timelines, and publications designed to promote resilience to disinformation,

   such as the Tactics of Disinformation. See supra ¶ 14, 66. CISA never flagged or reported

   potential disinformation for social media or technology companies during or in connection with

   the USG – Industry meetings.

           69.      CISA has not participated in the USG – Industry meetings since the 2022 general

   election.

      VII.       Historical Switchboarding Activity
           70.      One of the ways CISA supported the election community during the 2018 and 2020

   election cycles was by transmitting potential election security-related disinformation identified by

   state and local election officials and other election stakeholders to social media platforms (referred

   to as “switchboarding”). Officials in Plaintiff States Missouri and Louisiana were among those

   whose transmitted election security-related disinformation to CISA or CIS for the purpose of it

   being       shared   with    the   social    media     companies.         See    Defs.    Ex.     101

   (MOLA_DEFSPROD_00007488; Defs. Ex. 102 (MOLA_DEFSPROD_00007647); Defs. Ex. 103


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   (MOLA_DEFSPROD_00010719); Defs. Ex. 104 (MOLA_DEFSPROD_00008681); Defs. Ex.

   105 (MOLA_DEFSPROD_00010774 (NASS)); Defs. Ex. 106 (MOLA_DEFSPROD_00008610

   (NASED)).

          71.     For the 2020 election cycle, much of the potential election security-related

   disinformation CISA received from state and local election officials was shared by election

   officials through CIS. In such instances, the election official would email the potential election

   security-related disinformation to CIS, who would forward the information to CISA and others,

   including the EIP.

          72.     CISA’s protocol was to forward the potential election security-related

   disinformation to relevant social media or technology companies with the following notice stating

   that it was not requesting that the company take any particular action:

          The Cybersecurity and Infrastructure Security Agency (CISA) of the U.S.
          Department of Homeland Security (DHS) is not the originator of this information.
          CISA is forwarding this information, unedited, from its originating source – this
          information has not been originated or generated by CISA. This information may
          also be shared with law enforcement or intelligence agencies.

          CISA affirms that it neither has nor seeks the ability to remove or edit what
          information is made available on social media platforms. CISA makes no
          recommendations about how the information it is sharing should be handled or used
          by social media companies. Additionally, CISA will not take any action, favorable
          or unfavorable, toward social media companies based on decisions about how or
          whether to use this information.

          In the event that CISA follows up to request further information, such a request is
          not a requirement or demand. Responding to this request is voluntary and CISA
          will not take any action, favorable or unfavorable, based on decisions about whether
          or not to respond to this follow-up request for information.

   See, e.g., Defs. Ex. 107 (MOLA_DEFSPROD_00008499).




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          73.     When CIS provided CISA with potential election security-related disinformation,

   CISA would copy CIS on the email to the social media or technology company for CIS’s

   situational awareness.

          74.     I understand that during the 2020 election cycle CIS would share reports of

   potential election security-related disinformation with other organizations with which it had its

   own independent relationship. For example, I understand that CIS shared such information with

   the EIP for further analysis and with NASS and NASED for situational awareness. See, e.g.,

   MOLA_DEFSPROD_00008696 (attached hereto as Exhibit A).

          75.     At a certain point in the 2020 election cycle, CIS began forwarding the potential

   election security-related disinformation received from state and local election officials directly to

   the relevant social media or technology company and would include CISA on the email for

   situational awareness, as well as others, including the EIP. CISA took no action on these emails

   sent by CIS, other than frequently recording them in an internal CISA spreadsheet.

          76.     At some point in the 2020 election cycle, Twitter informed CISA that it was

   receiving the same potential election security-related disinformation from CISA, on behalf of

   SLTT election officials, as well as from CIS and the EIP. Twitter asked whether, to avoid

   duplication, only CISA could forward such information. In response to this, CISA discussed the

   duplicative reporting with CIS and the EIP in an attempt to minimize the duplication.

          77.     CISA did not fund CIS, the MS-ISAC or EI-ISAC for any of the work they provided

   in relation to the reporting of potential election security-related disinformation to social media or

   technology companies during the 2020 election cycle.

          78.     CISA did not engage in switchboarding for the 2022 election cycle and has no

   intention to engage in switchboarding for the next election.




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          79.     While the CIS proposed that DHS fund CIS’s work to identify and report inaccurate

   election information for the 2022 election cycle, DHS did not fund CIS, the MS-ISAC, or EI-ISAC

   for any reporting of potential election security-related disinformation to social media or technology

   companies they may have done during the 2022 election cycle.

          80.     As stated above, CISA has never provided funding to the EIP for any purpose,

   including the EIP’s reporting of information for social media companies.

          81.     In addition, to the extent CIS, the MS-ISAC, or EI-ISAC, or the EIP reported

   potential election security-related disinformation to social media or technology companies in

   relation to the 2022 election cycle, CISA was not involved.



   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United States

   of America that the foregoing is true and correct to the best of my knowledge and belief.

   Executed on this 28 day of April, 2023.


                                  GEOFFREY L         Digitally signed by GEOFFREY L
                                                     HALE
                                  HALE
                                  _____________________________________
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                                  Geoffrey Hale
                                  Lead, Election Security and Resilience
                                  Cybersecurity and Infrastructure Security Agency




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                    Exhibit A
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                                                         March 1, 2023

                                                         Issue DAILY
                                                   Section: Main (A Section)

                              What we know about covid-19 s origins, and what is still a mystery

                                                        Joel Achenbach

The precise origin of SARS-CoV-2, the coronavirus that causes covid-19, remains unknown and continues to be a source
of contentious debate. Two theories dominate the conversation: a natural spillover from infected animals, and a "lab leak"
associated with coronavirus research in Wuhan, China, the city where the first cases of an unusual pneumonia-like illness were
reported.

President Biden in May 2021 asked intelligence agencies to probe the origins of the virus, but they were unable to reach a
consensus. Most favored, with "low confidence," the natural spillover theory. Peer-reviewed scientific papers published last
year bolstered the case that the virus came from animals sold at the Huanan Seafood Wholesale Market in Wuhan.

But critics of the natural spillover theory point out that investigators did not find any virus-infected animals that could have
been the source of the outbreak. That fact was highlighted in a report issued last year by Republican staff on a Senate committee
looking into the origin of the virus. The report also raised questions about safety protocols at a Wuhan laboratory. While not
ruling out a natural spillover, the Republican staffers concluded that a "research-related incident" was the "most likely" origin.

Now House Republicans, newly in charge of their chamber, have opened a fresh probe of covid's origin.

What new evidence has emerged about the origin of covid-19?

There's not much that is new and compelling on the scientific front. But this is such an explosive issue that incremental
developments can generate big headlines.

The newest political development is that the intelligence community produced an updated version of its 2021 report to Biden. By
and large that assessment has not changed. But The Wall Street Journal reported on Feb. 26 that the updated assessment reveals
the Energy Department has shifted from a neutral stance on the virus' origin to one favoring, with "low confidence," a lab leak.

The updated intelligence report remains classified, so it is unclear why the Energy Department changed its view.

Four other agencies and the National Intelligence Council continue to favor the natural origin with "low confidence." The FBI,
however, continues to state with "moderate confidence" that it favors a laboratory origin.



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Why is the Energy Department involved in covid investigations?

The Energy Department runs major national laboratories and spends billions every year on scientific research, including work on
quantum physics and fusion energy. The covid origins analysis was performed by a little-known scientific team that specializes
in emerging security threats, The Washington Post has reported.

National security adviser Jake Sullivan told CNN on Sunday that Biden asked for the national labs to be involved in the covid
origin investigation "because he wants to put every tool at use to be able to figure out what happened here."

When asked about its new stance on a lab leak, a department spokesperson referred questions to the intelligence agencies, saying,
"the Department of Energy continues to support the thorough, careful, and objective work of our intelligence professionals in
investigating the origins of covid-19, as the President directed."

What evidence exists for a lab leak?

The Wuhan Institute of Virology is the primary focus of the lab leak conjectures, because it is a major research center that did
extensive work on coronaviruses.

Many versions of the lab leak theory require some level of secrecy by researchers in China. But there are also scenarios that
involve an accidental release of the virus without anyone realizing it. For example, researchers at the institute collect wild bats,
which are ancestral sources of coronaviruses. Someone involved in this process could have inadvertently introduced the virus
into the Wuhan population.

Proponents of a lab leak also point to experiments at the lab that manipulate viruses in ways that could make them more
transmissible - "gain of function" experimentation. The goal of such research is to understand how a pathogen might evolve to
become more of a threat, but critics have decried this as inviting disaster.

Supporters of the lab leak theory have pointed to an unfunded proposal for an experiment that, they argue, could be a recipe
for making a virus like SARS-CoV-2. And one recent experiment at the Wuhan Institute of Virology, funded in part by the
National Institutes of Health through a grant to the organization EcoHealth Alliance, has come under special scrutiny, creating
a political headache for NIH officials.

That experiment could not have produced SARS-CoV-2, according to scientists who analyzed it. But critics believe this kind of
viral manipulation - or some other type of experimentation that creates novel viruses or enhances their transmissibility - could
have led to the creation of SARS-CoV-2.

That idea remains speculative. There is no evidence that the virus or its progenitor was in any laboratory before the outbreak
in late 2019.

Chinese scientists have said they were not working with the virus. Chinese officials, however, have not been cooperative with
international investigators, and have instead floated improbable theories, such as that the virus entered China in a shipment of
frozen fish, or as the result of American biological research efforts.

The World Health Organization recently abandoned an effort to probe the origin of the virus, citing the political obstacles to
the inquiry.

What is the evidence for a natural origin?




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Many experts note that a natural origin would line up with the history of pandemics, which typically start with spillovers from
animals - no laboratory help required. SARS, the previous coronavirus outbreak in China that began in 2002, emerged in a
market spillover. It has been genetically traced back to horseshoe bats, and it infected humans via an intermediate species: civet
cats sold in markets.

A large percentage of early SARS-CoV-2 infections documented in Wuhan were clustered around the Huanan Seafood Market,
where animals were sold and butchered in conditions that scientists say were ripe for a spillover. Many species of animals sold
there are now known to be capable of infection with SARS-CoV-2.

Two papers published last summer in the journal Science argued in favor of the market as the epicenter of the outbreak.

Based on genomic analysis of early infections, one paper argues there were at least two separate spillover events in the market,
producing two distinct lineages of the virus. The other paper says the geographical clustering of early infections, combined
with environmental samples showing traces of the virus in areas where animals were sold, point clearly to the market as the
epicenter of the outbreak.

But the scientists favoring the market origin acknowledge that there are missing pieces in the narrative. They have not identified
which animals were infected or where they came from. The market was closed and cleaned and the animals culled within a
few days of the outbreak.

"Everything upstream of this - which animals, where did they come from, how it's all connected - is completely unknown at this
stage," Kristian Andersen, an infectious-disease researcher at Scripps Research and co-author of both papers, said in a media
briefing at the time.

Will we ever know the origin of covid?

The origin of covid has become so polarizing that it may never be resolved to widespread satisfaction. Because the issue is
politicized, it is vulnerable to motivated reasoning - interpreting facts to fit a preferred narrative.

The narrative could change dramatically with a new scientific or investigatory revelation that produces unassailable and
unambiguous evidence. For example, a whistleblower in a laboratory could reveal credible evidence of the presence of SARS-
CoV-2 in a research facility before the outbreak. Or, researchers could find the progenitor of SARS-CoV-2 in archived tissue
samples taken from commercially trafficked animals.

In the meantime, the contentious situation has put increased attention on whether laboratory research on viruses is worth the
risk of an accident.

There is a significant, ongoing divide among scientists about the safety of laboratory research that involves the manipulation
of pathogens. Lab leaks can happen. Research on viruses may involve manipulating them in ways that could, in theory, lead
to an accident - and a pandemic.

Due to ongoing concerns about research safety, the National Science Advisory Board for Biosecurity has issued a preliminary
report calling for tightening of oversight of research on potential pathogens. Those changes have been in process for many years
and are not a response to the lab leak theory. But questions about covid's origin inevitably shadow any discussion about how
to balance the risks and benefits of pathogen research.

On Feb. 26, Gerald Parker, a Texas A&M University professor and chair of the biosafety board, wrote on Twitter, "We have a
moral obligation to determine to the best of our ability how SARS2 emerged to cause the worst pandemic in over 100 years."




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Company: TEXAS A&M UNIVERSITY; Federal Bureau of Investigation; National Institutes of Health; ECOHEALTH
ALLIANCE INC.; Scripps Research Digital Trials Center; Wuhan Institute of Virology, CAS; World Health Organization
Medical Research Council

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          //Jÿ<K&1(D992G<=''4->??=(&)'=@.9@A9B?)0B05A?=(&)'=19560-(&-(-?19..C501&D)(?59B()E
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          W:[\7ÿ_`aÿX&-2ÿI0'=
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          )4=&?-910&)E.(60&E8(-9C81(-?A(5(801EA8&4=01-?W:[\7E/)&-.&E795&'095@F4AG
          W:[\7ÿb()0&D)(ÿ\5;98.&'095
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          W:[\7ÿbC.98ÿW95'89)<=''4->??=(&)'=@.9@A9B?)0B05A?=(&)'=19560-(&-(-?19..C501&D)(?59B()E
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          -,B,3/=.B?1A076/91,-./0A<:>./AB:1,?B-:194:3:B.-A4B/76.-19+N<72,<1A%,<7/B.1,3;C74D
   QRSTUÿWTXYUTZÿ[\U]\^
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          `aÿE:-63,0,4N5622718996:/026;<,;4,=90.=.3496:/026-,3>.1:/1:19-,<<?3.-/@0:93,=:0A
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          b>>.2.,3/0ÿ+N<72,<15622718996:/026;<,;4,=90.=.3496:/026-,3>.1:/1:19-,<<?3.-/@0:93,=:0A
          -,B,3/=.B?1A076/91,-./0A<:>./AB:1,?B-:19B?<,BA-,32B,0A1:B.:19b>>.2.,3/0A+N<72,<1;C74D
          b32.@.,2.-15622718996:/026;<,;4,=90.=.3496:/026-,3>.1:/1:19-,<<?3.-/@0:93,=:0A
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                       related to COVID-19.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Cloth Face          A CLOSER LOOK AT COVID: Did you know cloth face coverings are not
   Coverings           meant to protect the wearer, but rather entire communities? It's true. Cloth
                       mask is a way to contain respiratory secretions right at the source. They are
                       meant to serve as a complimentary measure as we continue social
                       distancing, good hygiene and enhanced cleaning efforts.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Contact Lenses      A CLOSER LOOK AT COVID: Is it true that I shouldn't wear glasses instead
                       of contacts to protect my eyes from COVID-19? Short answer: contacts are
                       still safe to wear, but it may very slightly reduce your chances of being
                       infected. The American Academy of Ophthalmology pointed out last week that
                       wearing glasses may act as a literal shield between your eyes and respiratory
                       droplets from a contagious individual. It may also discourage you from
                       naturally touching your eyes, which has been a primary hygiene
                       recommendation from experts for months. However, Missourians should not
                       be afraid to wear contacts as prescribed by their optometrist.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Emergency Rooms     A CLOSER LOOK AT COVID: Are emergency rooms still safe? Short answer:
                       yes, if you are experiencing a health emergency, we urge you to head to the
                       emergency room. Your experience may look a little different as hospitals and
                       emergency rooms implement social distancing measures, but you should not
                       be afraid to seek emergency medical care.

                       To view the Show Me Strong website, visit ShowMeStrong.Mo.Gov. To see
                       what you can continue to do to protect you and your family from COVID-19,
                       visit Health.Mo.Gov/coronavirus.
   Flu Shot            A CLOSER LOOK AT COVID: Is it true that patients who had a flu shot have
                       been receiving false positive test results. Short answer: absolutely not. A
                       history of receiving the influenza immunization does not make patients more
                       likely to test positive for COVID-19. The flu vaccine doesn't include any of the
                       coronaviruses and doesn't create any "viral interferences" for COVID-19
                       patients.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Hand Dryers         A CLOSER LOOK AT COVID: Are hand dryers effective in killing COVID-19?
                       Short answer: no. Hand dryers, like those found in public restrooms, are not
                       effective in killing the coronavirus. To protect yourself and others, you should
                       frequently wash your hands with soap and water for at least 20 seconds. If
                       soap and water are not available, use hand sanitizer that contains at least
                       60% alcohol. To learn more about what you can do to protect you and your
                       family from COVID-19, visit Health.Mo.Gov/coronavirus.
   Incubation Period   A CLOSER LOOK AT COVID: Is it true that it may take days for COVID-19
                       patients to develop symptoms? Short answer: yes, it is true. The incubation
                       period of COVID-19 is believed to be between 1-14 days, with the median
                       number of days being 5. This doesn't necessarily mean that patients are
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                       always contagious prior to showing symptoms, but pre-symptomatic
                       contagious patients are being observed in some communities. This is why it's
                       so important for us all to stay home when possible.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Mail and Packages   A CLOSER LOOK AT COVID: Is it true that I can get COVID-19 from mail and
                       shipped packages? Short answer: it's unlikely. Although the virus can survive
                       for a short period on some surfaces, it is unlikely to be spread from products
                       or packaging that are shipped over a period of days or weeks at ambient
                       temperatures.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Pain Relievers      A CLOSER LOOK AT COVID: Is it true that ibuprofen makes COVID-19
                       symptoms worse? Short answer: no. Physicians around the world have
                       questioned the claim that ibuprofen is dangerous for coronavirus patients.
                       Ibuprofen is an effective pain reliever, fever reducer and anti-inflammatory
                       that has been available for decades and is still supported by the World Health
                       Organization (WHO). As always, if you have questions or concerns, we
                       encourage you to reach out to your healthcare provider for advice.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Pets                A CLOSER LOOK AT COVID: Can my pets get infected with the COVID-19
                       virus? We are still learning about this virus, and it appears that in some rare
                       situations, people can spread the virus to animals. Some infected animals
                       may become sick while others do not. CDC is not aware of any animal deaths
                       in the United States due to infection with this virus. At this time, the risk of
                       animals spreading COVID-19 to people is considered to be low. Currently, the
                       CDC, U.S. Department of Agriculture and American Veterinary Medical
                       Association (AVMA) agree there is no need to routinely test companion
                       animals for COVID-19.

                       If you are sick with COVID-19, it's important to practice good hygiene, like
                       handwashing, when interacting closely with your pets or other animals, just as
                       you would when interacting with people.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Pneumonia           A CLOSER LOOK AT COVID: Do pneumonia vaccines protect against
   Vaccine             COVID-19? Short answer: no. It is possible that COVID-19 patients will have
                       secondary complications like pneumonia; however, the vaccines for those
                       infections are not effective in preventing the novel coronavirus from infecting
                       patients. COVID-19 is new and different from other viruses, so it will need its
                       own vaccine.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Salt Water          A CLOSER LOOK AT COVID: Is it true that gargling salt water, vinegar or
                       mouth wash will protect me from COVID-19 infection? Short answer: no. Out
                       of all the rumors we've seen online related to COVID-19, this one is the
                       furthest from reality and is not supported by any medical evidence. Save
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                       yourself some time and focus on other hygiene efforts like washing your
                       hands frequently, avoiding touching your face, eyes and mouth, and
                       practicing social distancing.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
   Silver Products     A CLOSER LOOK AT COVID: Does silver help develop immunity from or
                       treat COVID-19? Short answer: absolutely not. This may seem like old news,
                       but it is worth repeating. Don't let fraudulent marketers convince you that
                       silver products can treat or otherwise prevent coronavirus from infecting you.

                       To view the Show Me Strong website, visit ShowMeStrong.Mo.Gov. To see
                       what you can continue to do to protect you and your family from COVID-19,
                       visit Health.Mo.Gov/coronavirus.
   Surface Viability   A CLOSER LOOK AT COVID: How long does coronavirus live on surfaces?
                       Short answer: research on the virus' surface viability is brand new. Survival of
                       COVID-19 on surfaces appears to behave like other coronaviruses. Initial
                       studies suggest it can survive on surfaces for at least a few hours, and may
                       survive on plastic, glass and metal for several days. Although the survival
                       length varies under different conditions (temperature, humidity and surface
                       type), it is a good reminder to all Missourians to regularly clean and disinfect
                       high-touch areas like doorknobs, handles and countertops.

                       To learn more about Missouri’s COVID-19 response efforts,
                       visit Health.Mo.Gov/coronavirus.
   Zinc Supplements    A CLOSER LOOK AT COVID: Can taking zinc supplements lower your risk of
                       contracting COVID-19? Short answer: there is no research on its
                       effectiveness. Random trials have shown that zinc supplements can reduce
                       the risk of certain acute respiratory infections and shorten flu-like symptoms.
                       However, there is no data on the effectiveness of zinc supplements reducing
                       the risk or severity of COVID-19.

                       To learn more about what you can do to protect you and your family from
                       COVID-19, visit Health.Mo.Gov/coronavirus.
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        DEFENDANTS’ EXHIBIT 116:
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        DEFENDANTS’ EXHIBIT 117:
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                                    23432
Case 3:22-cv-01213-TAD-KDM Document 266-5 Filed 05/03/23 Page 262 of 380 PageID #:
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        DEFENDANTS’ EXHIBIT 118:
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             UNITED STATES DEPARTMENT OF HOMELAND SECURITY

           CYBERSECURITY AND INFRASTRUCTURE SECURITY AGENCY
                  CYBERSECURITY ADVISORY COMMITTEE
                                CHARTER

      1.   Committee’s Official Designation:
           Cybersecurity and Infrastructure Security Agency (CISA) Cybersecurity Advisory
           Committee

     2.    Authority:
           CISA [hereinafter referred to as the “Agency”] Cybersecurity Advisory Committee is
           established under the National Defense Authorization Act for Fiscal Year 2021, P.L.
           116-283 (NDAA). Pursuant to section 871(a) of the Homeland Security Act of 2002, 6
           U.S.C. § 451(a), the Secretary of Homeland Security hereby establishes the CISA
           Cybersecurity Advisory Committee for the purposes set forth herein. This Committee
           is established in accordance with and operates under the provisions of the Federal
           Advisory Committee Act (FACA) (Title 5, United States Code, Appendix).

      3.   Objectives and Scope of Activities
           The CISA Cybersecurity Advisory Committee shall develop, at the request of the
           CISA Director [hereinafter referred to as the “Director”] and incorporating guidance
           where applicable from the Secretary of Homeland Security [hereinafter referred to as
           the “Secretary”], recommendations on matters related to the development, refinement,
           and implementation of policies, programs, planning, and training pertaining to the
           cybersecurity mission of the Agency.

      4.   Description of Duties
           The duties of the CISA Cybersecurity Advisory Committee are solely advisory in
           nature, as established under the National Defense Authorization Act for Fiscal Year
           2021, P.L. 116-283 (NDAA). Pursuant to section 871(a) of the Homeland Security
           Act of 2002, 6 U.S.C. § 451(a). The CISA Cybersecurity Advisory Committee shall
           also submit to the Director, with a copy to the Secretary, an annual report providing
           information on the activities, findings, and recommendations of the Committee,
           including its subcommittees, for the preceding year.

      5.   Officials to Whom the Committee Reports
           The CISA Cybersecurity Advisory Committee will advise, consult with, report to, and
           make independent, strategic, and actionable recommendations to the CISA Director.




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      6.    Agency Responsible for Providing Necessary Support:
            CISA shall be responsible for providing financial and administrative support to the
            CISA Cybersecurity Advisory Committee.

      7.    Estimated Cost, Compensation, and Staff Support:
            The estimated annual cost of operating the CISA Cybersecurity Advisory Committee
            is approximately $1,450,000, which includes travel and per diem, and other
            administrative expenses, and five Full-Time Equivalent employees to support the
            Committee.

      8.    Designated Federal Officer:
            The Director shall appoint full-time employees of the Agency as the Designated
            Federal Officer (DFO) and Alternate DFOs (ADFO). The DFO or the ADFO will be
            responsible for setting agendas and the Committee’s work activities. The DFO or the
            ADFO will coordinate with the Homeland Security Advisory Council’s DFO
            [hereinafter referred to as the “HSAC”] to minimize duplication and ensure
            complementary work activities between both groups. The DFO or ADFO approves or
            calls the CISA Cybersecurity Advisory Committee and subcommittee meetings,
            attends all committee and subcommittee meetings, adjourns any meetings when it is
            determined adjournment to be in the public interest, and chairs the meeting in the
            absence of the designated CISA Cybersecurity Advisory Committee Chair.

      9.    Estimated Number and Frequency of Meetings:
            CISA Cybersecurity Advisory Committee meetings will be held semiannually, at a
            minimum, to address matters within the scope of this Charter. Meetings may be held
            more frequently, or as necessary and appropriate, to address mission requirements.
            Meetings shall be open to the public according to the FACA unless a determination is
            made by the appropriate DHS official in accordance with DHS policy and directives
            that the meeting should be closed in accordance with Title 5, United States Code,
            subsection (c) of 552b. At least one meeting per year will be open to the public.

      10.   Duration
            Continuing.

      11.   Termination
            This charter shall be in effect for two years from the date it is filed with Congress
            unless sooner terminated. The charter may be renewed at the end of this two year
            period in accordance with section 14 of FACA (5 U.S.C. App.).

      12.   Membership and Designation
            The Committee shall be composed of up to 35 individuals. Members are appointed by
            the Director. The DFO will coordinate with the DFO for the HSAC to ensure that


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           individuals selected for appointment to the Committee are not presently or under
           consideration to be members of the HSAC.
           In order for the Director to fully leverage broad-ranging experience and education,
           the CISA Cybersecurity Advisory Committee must be diverse, with regard to
           professional and technical expertise, and in reflecting the diversity of the nation’s
           people. These members shall consist of subject matter experts from diverse and
           appropriate professions and communities nationwide, be geographically balanced,
           and shall include representatives of State, local, tribal, and territorial governments and
           of a broad and inclusive range of industries. The CISA Director may, at their
           discretion, select members with a background in cybersecurity issues relevant to
           CISA policies, plans, and programs. Specifically, membership may, at the CISA
           Director’s discretion, include at least one, and no more than three, representatives
           from the following industries recommended in the authorizing statute:
                   i. Defense;
                  ii. Education;
                 iii. Financial services and insurance;
                  iv. Healthcare;
                  v. Manufacturing;
                  vi. Media and entertainment;
                 vii. Chemical;
                viii. Retail;
                  ix. Transportation;
                  x. Energy;
                  xi. Information Technology;
                 xii. Communications; and
                xiii. Other relevant fields identified by the Director.
           The term of each member shall be two years, except that a member may continue to
           serve until a successor is appointed. Appointments are personal to the member and
           cannot be transferred to another individual or other employees of the member’s
           organization of employment. A member may be reappointed for an unlimited number
           of terms. The Director may review the participation of a member of the CISA
           Cybersecurity Advisory Committee and remove such member any time at his/her
           discretion to include for violation of established responsibilities as outlined in
           sections III.6 and III.7 of the committee’s bylaws.


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            Members shall serve as representatives to speak on behalf of their respective
            organizations
            Members of the CISA Cybersecurity Advisory Committee may not receive pay or
            benefits from the United States Government by reason of their service on the CISA
            Cybersecurity Advisory Committee.

     13.    Officers
            The CISA Cybersecurity Advisory Committee shall select a Chair and Vice Chair
            from among its members through a nomination and formal vote. The Chair and Vice
            Chair will serve for a two-year term. The CISA Cybersecurity Advisory Committee
            Chair shall preside at all CISA Cybersecurity Advisory Committee meetings, unless
            chaired by the Vice Chair, DFO, or ADFO. In the Chair’s absence, the Vice Chair
            will act as the Chair. Additionally, the CISA Cybersecurity Advisory Committee shall
            select a member to serve as chairperson of each subcommittee.
     14.    Subcommittees
            The Director, through the DFO, establishes subcommittees for any purpose consistent
            with this charter. The DFO will coordinate with the HSAC DFO to ensure that
            subcomittees are established in such a manner as to minimize duplication and ensure
            complementary work activities between both groups.

            The CISA Cybersecurity Advisory Committee Chair shall appoint members to
            subcommittees and shall ensure that each member appointed to a subcommittee has
            subject matter expertise relevant to the subject matter of the subcommittee. Such
            subcommittees may not work independently of the chartered committee and must
            present their advice or work products to the CISA Cybersecurity Advisory Committee
            for full deliberation and discussion.

            Each subcommittee shall meet semiannually, at a minimum, and submit to the CISA
            Cybersecurity Advisory Committee for inclusion in the annual report, activities,
            findings, and recommendations, regarding subject matter considered by the
            subcommittee.

            Subcommittees have no authority to make decisions on behalf of the CISA
            Cybersecurity Advisory Committee and may not report directly to the Federal
            Government or any other entity.

      15.   Recordkeeping:
            The records of the CISA Cybersecurity Advisory Committee, formally and informally
            established subcommittees, or other subgroups of the Committee shall be handled in
            accordance with General Records Schedule 6.2, or other applicable and approved
            agency records disposition schedule. These records shall be available for public
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             inspection and copying in accordance with the Freedom of Information Act (Title 5,
             United States Code, section 552).


       16.   Filing Date:


   May 21, 2021

   Department Approval Date


   May 24, 2021

   GSA Consultation Date


   June 25, 2021

   Date Filed with Congress


   September 3, 2021

   Date Amendment Filed with Congress




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                                    MEETING AGENDA
                                   Tuesday, March 21, 2023

                                              OPEN SESSION
                                           3:15 p.m. – 4:00 p.m. EDT

   3:15 p.m.   Call to Order and Opening Remarks
               •    Ms. Megan Tsuyi, Cybersecurity and Infrastructure Security Agency (CISA) Cybersecurity
                    Advisory Committee (CSAC) Designated Federal Officer
               •    Mr. Tom Fanning, CSAC Chair
               •    Mr. Ron Green, CSAC Vice Chair
               •    The Honorable Jen Easterly, Director, CISA

   3:25 p.m.   CSAC Recommendations Discussion
               •  Jen Easterly, Director
               •  Committee Members

   3:35 p.m.   Subcommittee Updates
               •  Jen Easterly, Director
               •  Committee Members

   3:50 p.m.   Public Comment Period

   4:00 p.m.   Closing Remarks
               •   Jen Easterly, Director
               •   Tom Fanning, Chair
               •   Ron Green, Vice Chair
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CSAC Subcommittee Updates
Director Easterly led subcommittee chairs in a discussion on top priorities for 2023.

The Building Resilience & Reducing Systemic Risk to Critical Infrastructure Subcommittee is focusing on collaboration to
understand interdependencies within the private sector and government. The subcommittee aims to bolster the nation’s
defense system by guiding CISA’s work on SIEs, CISA’s development of a national cyber risk register, and how CISA can
work with SRMAs. CISA leadership stressed the importance of persistent collaboration and reviewed CISA’s actions to
create a Joint Collaborative Environment (JCE). The JCE would serve as a unique information-sharing platform for
partners across the federal government and industry leaders to conduct analysis to build national security resilience.

The National Cybersecurity Alert System Subcommittee highlighted the success of CISA’s Shields Up campaign, with the
accepted reality of the nation’s inability to put shields down. The subcommittee is leveraging the successes of CISA’s
Shields Up campaign and the success of other models in the US to create an actionable alert system.

The Transforming the Cyber Workforce Subcommittee is focusing on recommendations to enhance the full spectrum of
CISA’s talent management ecosystem to build upon and sustain a people-first culture. The subcommittee will provide
recommendations on how to effectively utilize CISA’s Chief People Officer and (Acting) Chief Human Capital Officer,
assess the effectiveness of CISA’s hybrid work environment, and address burnout and workload concerns.

The Turning the Corner on Cyber Hygiene Subcommittee will focus heavily on product safety to ensure technology
products are both secure-by-design and secure-by-default. The subcommittee will also provide support to target-rich,
cyber-poor entities such as K-12 schools, hospitals, and the water and wastewater sector. CSAC members discussed
ways CISA could best promote product safety and support target-rich, cyber-poor entities.

The Technical Advisory Council Subcommittee is focusing on memory safety and high-risk community protection. CISA
leadership reflected on the need to mature technology products and shift toward a holistic response to advanced
persistent threats. CISA leadership referenced the Foreign Affairs article authored by Director Easterly and the CISA
Executive Assistant Director for Cybersecurity, Mr. Eric Goldstein. 1

The Corporate Cyber Responsibility Subcommittee stressed the need for CISA to better engage with corporate boards to
improve national cyber resiliency. CSAC members identified an overlap between the need to better engage both private
and public sectors, such as K-12 school districts, to strengthen the nation’s cyber defense.

Closing Remarks
Director Easterly offered her gratitude to CSAC for the incorporated, implemented, and impactful work accomplished in
the past fiscal year, and the meaningful work and solutions to come.

Mr. Fanning thanked the members of the public and the media in attendance, the support staff, and the CSAC for a
successful meeting. He noted that the official CSAC meeting summaries can be found on the CISA website. The CSAC
will convene in-person for the next quarterly meeting in June in the Washington D.C. area. Mr. Fanning adjourned the
CSAC March 2023 Quarterly Meeting.




1   https://www.foreignaffairs.com/authors/jen-easterly
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CSAC March 2023 Quarterly Meeting                         March 21, 2023
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APPENDIX: OPEN SESSION PARTICIPANT LIST
CSAC Members
Name                                 Organization
Steve Adler                          Former Mayor of Austin, TX
Marene Allison                       Former Johnson & Johnson
Lori Beer                            JPMorgan Chase
Dave DeWalt                          NightDragon
Tom Fanning                          Southern Company
Brian Gragnolati                     Atlantic Health Systems
Ron Green                            Mastercard
Royal Hansen                         Google
Niloofar Razi Howe                   Tenable
Rahul Jalali                         Union Pacific
John Katko                           Former U.S. House of Representatives
Jim Langevin                         Former U.S. House of Representatives
Doug Levin                           K12 Security Information eXchange (K12 SIX)
Kevin Mandia                         Mandiant
Ciaran Martin                        National Cyber Security Centre
Jeff Moss                            DEF CON Communications
Nicole Perlroth                      Cybersecurity Journalist
Matthew Prince                       Cloudflare
Ted Schlein                          Kleiner Perkins
Robert Scott                         New Hampshire Department of Environment Services
Suzanne Spaulding                    Center for Strategic and International Studies
Kevin Tierney                        General Motors
Alex Tosheff                         VMware
Nicole Wong                          NWong Strategies

Government Participants
Name                                 Organization
The Hon. Jen Easterly                CISA
Alaina Clark                         CISA
Victoria Dillon                      CISA
Jonathan Dunn                        CISA
Lisa Einstein                        CISA
Jamie Fleece                         CISA
Eric Goldstein                       CISA
Kirsten Heidelberg                   CISA
Helen Jackson                        CISA
Elizabeth Kolmstetter                CISA
Kiersten Todt                        CISA
Megan Tsuyi                          CISA
Kim Wyman                            CISA


Contractor Support
Name                                 Organization
James Eustice                        Edgesource
Mariefred Evans                      TekSynap
Lauren Rousseau                      Edgesource
Xavier Stewart                       Edgesource




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Public Participants
 Name                                 Organization
 Natalie Alms                         FCW
 Karin Athanas                        TIC Council Americas
 Mariah Bailey                        TekSynap
 Riley Beggin                         Detroit News
 Gary Berman                          Cyber Heroes Comics
 Calvin Biesecker                     Defense Daily
 Ashley Billings                      CNN
 Paul Brandau                         CISA
 Lyn Brown                            Wiley Rein LLP
 Aaron Burrows                        Aleta Technologies
 Sarahjane Call                       DHS/CMO
 Carolyn Prill                        American Gas Association
 Thomas Cross                         Channel Partner.TV
 Sunil Dadlani                        Atlantic Health Systems
 Brett DeWitt                         Mastercard
 Anne Disse                           Apple
 Grace Dille                          MeriTalk
 Justin Doubleday                     Federal News Network
 Dennis Dunckel                       American Fair Credit Council
 Ben Flatgard                         JPMorgan Chase
 Matthew Fisch                        Eclypses
 Sara Friedman                        Inside Cybersecurity
 Eric Geller                          Freelance Journalist
 Jonathan Greg                        The Record
 Michele Guido                        Southern Company
 Rola Hariri                          Department of Defense
 Simha Himakuntala                    Oakridge National Laboratory
 Zach Howell                          Hill East Group
 Madeline Hughes                      LexisNexis Publication
 Sara Jacob                           CISA
 Albert Kammler                       Van Scoyoc Associates
 Matt Kehoe                           Apple
 Norma Krayem                         Van Scoyoc Associates
 Audrey LaForest                      Automotive News
 Thomas Leithauser                    Cybersecurity Policy Report
 David Macklin                        Homeland Security & Defense Forum
 Megan Mance                          Homeland Security Dialogue Forum
 Katrina Manson                       Bloomberg News
 Hector Guillermo Martinez            GM Sectec
 Tomas Maldonado                      National Football League
 George McElwee                       Commonwealth Strategic Partners
 Georgia McLean                       Wilkinson Barker Knauer, LLP
 Maggie Miller                        POLITICO
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 Avery Mulligan                       CISA
 Devi Nair                            Center for Strategic and International Studies
 Brendan Peter                        SecurityScorecard
 Kevin Piekarski                      CISA
 Joshua Quaye                         Murphy, Pearson, Bradley, & Feeney PC
 Shannon Riley                        CISA
 Mike Rosen                           NightDragon
 Alec Rosin                           CISA
 Edison Shen                          Security Industry Association
 Cedric Sharps                        TekSynap
 Edison Shen                          Security Industry Association (SIA)
 Travis Stoller                       Wiley Rein LLP
 Claire Teitelman                     JPMorgan Chase
 Timothy Thatcher                     USAA
 Charles Tupitza                      National Cyber Security Center
 Christian Vasquez                    CyberScoop
 Jackie Valley                        The Christian Science Monitor
 Michael Wayland                      CNBC
 Angela Weinman                       VMware




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CSAC March 2023 Quarterly Meeting    March 21, 2023
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CERTIFICATION
 I hereby certify that, to the best of my knowledge, the foregoing minutes are accurate and complete.




 Mr. Tom Fanning (approved on 03 April 2023)
 CISA Cybersecurity Advisory Committee Chair




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CSAC March 2023 Quarterly Meeting                      March 21, 2023
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    Responsibility (CCR) which will work to establish and amplify best practices for technology ecosystems that are
    secure by design and promote persistent collaboration with partners, focusing on target-rich, cyber-poor entities.

    Member Roundtable
    Director Easterly confirmed that CSAC Chair, Mr. Fanning, would contact CSAC members to determine
    subcommittee assignments for the 2023 calendar year.
    Committee members discussed the CSAC’s newest study addressing the topic of corporate cyber responsibility, and
    how it can encourage corporate boards to promote strong cyber hygiene. Members agreed that CCR initiatives
    would better integrate cybersecurity best practices into the fabric of society. Ms. Nicole Wong, NWong Strategies,
    encouraged CISA to use this as an opportunity to build relationships at the state government level to strengthen the
    communication channels and relationships between sectors.
    Mr. Ted Schlein, Kleiner Perkins, explained the need to define what successful cybersecurity practices look like and
    encouraged CISA to incentivize companies to achieve that success. Mr. Alex Stamos, Krebs Stamos Group, noted
    that the traditional role of a board in cybersecurity may be outdated. He suggested that providing guidance on how
    to proactively address cyber threat to corporate boards and C-suite executives might help them to stay engaged
    with the mission.
    CSAC members discussed the root problems of the current technology ecosystem, such as the fact that two-thirds
    of vulnerabilities are due to memory unsafety, which is directly tied to programming languages. Members stressed
    that now is the time for CISA to raise awareness and organizations to raise to act.

    Annual Report Overview
    Mr. Fanning highlighted the annual report requirement mandated in section 2216 of the National Defense
    Authorization Act of 2021 2. He presented key points from the CSAC 2022 Annual Report to CISA Director Easterly.
    CSAC convened during 4 quarterly meetings; CSAC and its subcommittees met 94 times; and CSAC presented 48
    recommendations to CISA.

    Closing Remarks
    Director Easterly reviewed CISA’s progress in reviewing and addressing CSAC recommendations. She thanked the
    Committee for the valuable work done in 2022 and conveyed her excitement for the work that will be completed in
    2023.
    Mr. Fanning emphasized the ongoing lethal threat to the United States’ critical infrastructure and the importance of
    the CSAC’s work. Mr. Fanning and Mr. Green thanked Director Easterly for her leadership and Mr. George
    Stathakopoulos, Apple, for hosting the meeting. Mr. Fanning adjourned the December CSAC Quarterly Meeting.




2   https://www.congress.gov/bill/116th-congress/house-bill/6395/text

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 APPENDIX: OPEN SESSION PARTICIPANT LIST

CSAC Members
Name                                  Organization
Lori Beer                             JPMorgan Chase
Bobby Chesney                         University of Texas School of Law, Austin
Tom Fanning                           Southern Company
Vijaya Gadde                          Former Twitter Chief Legal Officer
Ron Green                             Mastercard
Kevin Mandia*                         Mandiant
Jeff Moss*                            DEF CON Communications
Nuala O’Connor*                       Walmart
Nicole Perlroth                       Cybersecurity Journalist
Mathew Prince                         Cloudflare
Ted Schlein                           Kleiner Perkins
Suzanne Spaulding*                    Center for Strategic and International Studies
Alex Stamos                           Krebs Stamos Group
Kate Starbird                         University of Washington
George Stathakopoulos                 Apple
Alicia Tate-Nadeau*                   Illinois Emergency Management Agency
Nicole Wong                           NWong Strategies

Government Participants
Name                                  Organization
The Hon. Jen Easterly                 CISA
The Hon. Chris Inglis                 Office of the National Cyber Director
Alaina Clark                          CISA
Jonathan Dunn                         CISA
Lisa Einstein                         CISA
Maria Gilbert                         CISA
Eric Goldstein                        CISA
Mona Harrington                       CISA
Helen Jackson                         CISA
Elizabeth Kolmstetter                 CISA
Bob Lord                              CISA
Nitin Natarajan                       CISA
David Rosado                          CISA
Taylor Smith                          CISA
Kiersten Todt                         CISA
Megan Tsuyi                           CISA

Contractor Support
Name                                  Organization
James Eustice*                        Edgesource
Mariefred Evans                       TekSynap
Lauren Rousseau                       Edgesource
Xavier Stewart                        Edgesource


In-Person Participants
Name                                  Organization
Anne Disse                            Apple
William Garrity                       Mastercard
Katey Harrison                        Apple
Matt Kehoe                            Apple
Dan Koslofsky                         Apple
Jeff Ratner                           Apple

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Name                                                      Organization
Jason Sanford                                             Illinois Emergency Management Agency
Candace Laurett Sikora                                    Apple

Dialed In Participants*
Name                                                      Organization
Mariam Baksh                                              NextGov
Jeff Brancato                                             Northeast Ohio CyberConsortium
Brett DeWitt                                              Mastercard
Sara Friedman                                             Inside Cybersecurity
Eric Geller                                               Politico
Michele Guido                                             Southern Company
Kirsten Heidelberg                                        CISA
Gwainevere Hess                                           CISA
Joey Hewitt                                               Plains All American Pipeline
Tom Leithauser                                            Telecommunications Reports
Sean Lyngaas                                              CNN
Celinda Moening                                           CISA
Stacy O'Mara                                              Mandiant
Devi Nair                                                 Center for Strategic and International Studies
Jennifer Pedersen                                         CISA
Lisabeth Perez                                            MeriTalk
John Sakellariadis                                        Politico
Nicole Sganga                                             CBS News
Cedric Sharps                                             CISA
John Shumate                                              Apple
Travis Stoller                                            Wiley Rein LLP
Christian Vasquez                                         Cyberscoop
Andrea Vittorio                                           Bloomberg Industry Group
Erin Wieczorek                                            CISA
Leah Young                                                CISA


*Denotes an individual who participated virtually. Note: all dialed in participants attended virtually.




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 CERTIFICATION
 I hereby certify that, to the best of my knowledge, the foregoing minutes are accurate and complete.




 Mr. Tom Fanning (approved on 05 January 2023)
 CISA Cybersecurity Advisory Committee Chair




 CSAC December Quarterly Meeting                     December 6. 2022                                   5
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                                         MEMBER MEETING
                                            AGENDA

                                  Tuesday, September 13, 2022


                                              OPEN SESSION
2:00 p.m.   Call to Order and Opening Remarks
             • Megan Tsuyi, Cybersecurity and Infrastructure Security Agency (CISA) Cybersecurity Advisory
                 Committee (CSAC) Designated Federal Officer
             • Jen Easterly, Director, CISA
             • Tom Fanning, CSAC Chair
             • Ron Green, CSAC Vice Chair

2:10 p.m.   Public Comment Period


2:25 p.m.   Subcommittee Updates/Deliberation and Vote
             • Tom Fanning, Building Resilience and Reducing Systemic Risk to Critical Infrastructure, and
               Establishment of a National Cybersecurity Alert System
             • Kate Starbird, Protecting Critical Infrastructure from Misinformation and Disinformation
             • George Stathakopoulos, Turning the Corner on Cyber Hygiene
             • Ron Green, Transforming the Cyber Workforce
             • Jeff Moss, Technical Advisory Council
             • Niloo Howe, Strategic Communications


3:55 p.m.   Closing Remarks and Adjournment
             • Jen Easterly, Director
             • Tom Fanning, Chair
             • Ron Green, Vice Chair
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                                                                                                       Austin Central Library
                                                                                                        Special Event Center
                                                                                                     710 W. Cesar Chavez St.
                                                                                                            Austin, TX 78701



                                            MEMBER MEETING
                                               AGENDA

                                             Wednesday, June 22, 2022
                                             12:00 p.m. – 2:30 p.m. CT

12:00 p.m.   Call to Order and Opening Remarks
              • Ms. Megan Tsuyi, Cybersecurity and Infrastructure Security Agency (CISA) Cybersecurity Advisory
                  Committee (CSAC) Designated Federal Officer
              • The Honorable Jen Easterly, Director, CISA
              • Mr. Tom Fanning, CSAC Chair
              • Mr. Ron Green, CSAC Vice Chair

12:15 p.m.   Public Comment Period


12:30 p.m.   Subcommittee Updates/Deliberation and Vote
              • Ron Green, Transforming the Cyber Workforce
              • George Stathakopoulos, Turning the Corner on Cyber Hygiene
              • Jeff Moss, Technical Advisory Council
              • Kate Starbird, Protecting Critical Infrastructure from Misinformation and Disinformation
              • Tom Fanning, Building Resilience and Reducing Systemic Risk to Critical Infrastructure
              • Niloo Howe, Strategic Communications


2:30 p.m.    Closing Remarks and Adjournment
              • Jen Easterly, Director
              • Tom Fanning, Chair
              • Ron Green, Vice Chair
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  In addressing CISA’s workforce challenges the CSAC recommends that CISA prioritize strategic workforce
  development, dramatically improve its talent acquisition process to be competitive with the private sector,
  radically expand recruitment efforts to identify candidates across their professional lifecycle, and leverage talent
  identification and hiring success through interagency collaboration. He commended CISA for taking the initial
  steps to hire a Chief People Officer.
  He noted that CISA must dramatically improve hiring goals and processes and recommended that CISA lower the
  hiring timeframe to 90 days to delivery of a Temporary Job Offer (TJO). He reviewed the suggestion for CISA to
  develop a systemic approach to collecting and analyzing data on candidate pools and hiring processes, review
  hiring goals with senior leadership, and move to more flexible and manageable results.
  Mr. Green stressed that closing the agency’s talent gap will require rapidly expanding recruitment efforts. Current
  recruiting pools do not encompass the entire spectrum of talent. To improve hiring practices, CISA should
  establish a standard working group to advise on best practices, utilize guidance from public and private sector
  advisors, and expand internship opportunities to recruit emerging talent. He encouraged CISA to conduct these
  actions through a thorough review of the interagency security clearance process and develop a senior leader
  specific hiring strategy. Director Easterly asked Mr. Green to have the subcommittee review the Agency’s security
  clearance process to determine ways to better streamline it.
  Mr. Green emphasized the need for creative, new programs which would lower the barrier of access into cyber
  security positions. He noted the recent establishment of CISA’s Cyber Innovation Fellows as one great example.
  The committee suggests that CISA open a cyber academy which will partner with the private sector and
  community colleges and universities along with other industry supported cyber education providers, develop a
  cyber security training curriculum which will be taught at academic institutions, and unify the cyber oriented
  programs under one junior cyber corps umbrella.
  The committee recommended CISA establish a cyber force program and a peace corps like cyber program. This
  program would provide education and service to provide domestic security development assistance.
  Director Easterly thanked the subcommittee for their ambitious and actionable recommendations. She
  commended the subcommittee for providing actionable recommendations.
  CSAC Members unanimously approved the recommendations.
  Turning the Corner on Cyber Hygiene
  Mr. George Stathakopoulos, Apple, identified the Turning the Corner on Cyber Hygiene Subcommittee’s focus and
  security requirements. He shared the recommendation that CISA build out its current multi-factor authentication
  (MFA) campaign by identifying additional vehicles for publicizing “More Than a Password”, take all available steps
  to ensure that companies working with the federal government fully adopt MFA by 2025, and that CISA launch a
  “311 National” campaign that provides an emergency call line and clinics for assistance with cyber incidents for
  small and medium businesses. He encouraged CISA to make the recommendations clear and attractive and
  make it easier for companies to receive the help they need.
  Mr. Chesney recommended that CISA partner with cities and universities to complete the “311 National” line.
  Mr. Stathakopoulos noted that the recommendations are the initial steps in a long journey towards securing the
  American public and businesses. He stressed the need for over-saturation in that CISA should amplify cyber
  hygiene messaging across all audiences and communications forums.
  Mr. Eric Goldstein, CISA, added that accessing talent pools within cities and universities might allow CISA to
  deploy talent, such as computer science and engineering students or law and business students, to work for
  credits or pro bono in clinics.
  CSAC Members provided feedback on the recommendations. Mr. Green commended the subcommittee on the
  simplicity of their approach to the MFA campaign by helping the average person. Mr. Fanning stated that he is




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  encouraged by the subcommittee’s systemic thinking.
  Director Easterly expressed her excitement for “More Than a Password” and noted that they launched the
  campaign at the RSA Conference in the beginning of June. She also thanked the subcommittee for their idea of a
  local partnership and Mayor Adler for volunteering to use Austin as a pilot.
  CSAC Members unanimously approved the recommendations.
  Technical Advisory Council
  Mr. Jeff Moss, DEF CON Communications, reviewed the composition of the Technical Advisory Council (TAC)
  Subcommittee and detailed the two recommendations on coordinated vulnerability discovery and disclosure
  (CVD) and cyber threat intelligence (CTI).
  Mr. Moss explained the CVD recommendations are externally focused and detailed the difficulties in reporting
  vulnerabilities. He stressed that CISA, as the nation’s cyber defense agency, can make the reporting process
  more attractive. He noted that the researcher community has limited time and energy to report vulnerabilities and
  the more complicated the process, the less likely they will report a detected vulnerability. He encouraged CISA to
  develop incentives and access to information to aid security researchers who will submit vulnerabilities affecting
  critical systems. CISA should work to enable a frustration-free CVD process by working with Congress and sector-
  specific regulatory agencies to require that manufacturers supply firmware images of every released version for
  the industry, which should ultimately be archived for future automated analysis. He urged CISA to invest in a
  central platform to facilitate the intake of suspected vulnerabilities and communication between security
  researchers, agencies, and vendors. While the Vulnerability Information and Coordination Environment (VINCE) is
  not the prescribed solution, Mr. Moss recommended that CISA adapt a system similar to VINCE. Mr. Moss
  recommended that CISA simplify the reporting process and provide feedback to those reporting.
  Mr. Moss reviewed the second, internally facing recommendation on CTI and shared the impression that CISA is
  doing well in this area, but the recommendations feature overall observations on areas of improvement. He
  recommended that CISA automate this process to start with the users most in need. He recommended that CISA
  invest in a program to make CTI available to all qualified users and eliminate barriers to access such as high
  costs. This would significantly benefit smaller organizations in need of additional CTI assistance. CISA should also
  invest in enriching CTI reports to increase durability across all layers of defense. He also encouraged CISA to
  explore techniques to enable scalable and effective development of expertise in CTI.
  Mr. Goldstein noted the recommendations would be extraordinarily impactful in enhancing CISA’s ability to act as
  a trusted broker of the CVD process to work collaboratively with vendors to reduce the risk of exposure.
  Mr. Fanning asked Mr. Moss to clarify how he envisioned a frustration-free reporting process. Mr. Moss reflected
  on a briefing from the Food and Drug Administration to note the wide range in complexities throughout each
  sector’s reporting process. He stressed that CISA can provide value by vetting information to determine who the
  vulnerability affects so it is clearly communicated and alleviates the work of the researcher.
  Ms. Nicole Wong, NWong Strategies, suggested that CISA consider posing these recommendations to the Cyber
  Innovation Fellows program Director Easterly is establishing. Mr. Chris Young, Microsoft, underscored the
  importance of CISA’s role in the CVD process to bridge the wide gap in complexities between sectors and
  organizations.
  CSAC Members unanimously approved the recommendations.
  Protecting Critical Infrastructure from Misinformation and Disinformation
  Dr. Kate Starbird, University of Washington, highlighted the difficulty of the Protecting Critical Infrastructure from
  Misinformation and Disinformation Subcommittee’s tasking in today’s complex environment. She recommended
  that CISA take the same action in response to countering mis-, dis-, and mal-information (MDM) as the Agency
  does to counter cyber threats. She defined the scope of the recommendations in the elections context and



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  emphasized the expressed need from elections officials from all political parties to do this work, given the acute
  struggle of elections officials—especially those in small jurisdictions—to address and understand MDM threats.
  She noted that MDM threats undermining trust in the elections process has led to physical threats against
  elections officials, reaching the highest level of death threats and attempts to enact harm. Dr. Starbird
  recommended that CISA focus on informing the public on MDM threats and partner with frontline elections
  officials to inform the public and point to first-hand elections resources from Secretaries of State. She
  emphasized that CISA should not prescribe any messaging, but rather point to resources from the state-level.
  Dr. Starbird reviewed the four MDM recommendations to CISA. She encouraged CISA to follow a resilience-based
  approach to launch a broad public awareness campaign on MDM to enhance individual and collective resilience.
  The campaign should include civics education to understand how to identify MDM and build an understanding of
  why citizens should not want to spread MDM. She noted that this aligns with CISA’s cyber hygiene mission. Dr.
  Starbird encouraged CISA to proactively address anticipated MDM threats through education. This response
  should be in the form of pointing to trusted and authoritative sources of information at the local level—in
  particular, local election officials. She encouraged CISA to rapidly respond to emerging threats in a transparent
  manner. Dr. Starbird suggested that CISA identify, communicate, and respond to actor-based threats.
  She encouraged CISA to support local elections officials by convening a “What to expect on election day”
  workshop to provide a platform for elections officials themselves to share best practices. She noted the
  subcommittee’s path forward to continue to work through the more challenging questions.
  Ms. Alicia Tate-Nadeau, Illinois Emergency Management Agency, emphasized the expressed need from elections
  officials for guidance on how to counter MDM threats. She stressed that the recommendations are focused on
  providing tools to elections officials so that they themselves can develop their own best practices.
  Ms. Suzanne Spaulding, Center for Strategic and International Studies, reinforced Dr. Starbird’s points and
  thanked her for her leadership. She recognized that public trust is essential in this work and stressed the urgent
  need to support state and local elections officials.
  Director Easterly noted that CISA is beholden to supporting and defending the Constitution and helping to
  safeguard free and fair elections as the Sector Risk Management Agency for election infrastructure security is
  part of that mission. She underscored that the federal government’s role is not to run elections, but to provide
  support and resources to every state and locality to help them ensure the security and resilience of elections. Dr.
  Starbird highlighted Ms. Kim Wyman’s, CISA, participation in the subcommittee as a former Republican Secretary
  of State. Dr. Starbird shared a quote from Mr. Steven Richer, Maricopa County Recorder, Georgia, that
  “responding to misinformation is my day job. My night job is running elections.”. She stressed that the
  subcommittee’s work is focused on supporting elections officials from all parties across the country. Director
  Easterly again stressed the criticality of transparency and maintaining trust with the American people.
  Mr. Fanning commended Dr. Starbird on her work.
  CSAC Members unanimously approved the recommendations.
  Building Resilience & Reducing Systemic Risk to Critical Infrastructure
  Mr. Fanning reviewed the Building Resilience & Reducing Systemic Risk to Critical Infrastructure Subcommittee’s
  actions to examine CISA’s work on the concept of Systemically Important Entities (SIE) and the Agency’s efforts to
  enhance resilience across the nation’s 55 National Critical Functions (NCFs). He explained that the subcommittee
  developed two tabletop exercises (TTXs) simulating cyberattacks on the generate electricity NCF to inform their
  recommendations that will be made to CISA during the CSAC September Quarterly Meeting. He detailed the goal
  of the TTXs is to break down risk to identify interdependencies and gaps to target systemic risk.
  Mr. Fanning stated that the subcommittee will now focus on collaboration responses and how to integrate with
  the JCDC, the Federal Emergency Management Agency, and State, and Local governments.




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  Mr. Kevin Mandia, Mandiant, added that the TTXs will help CISA iron out communication issues before a threat
  arrives.
  Director Easterly noted the evaluation of risk on critical infrastructure is a core mission of CISA. She thanked the
  subcommittee and expressed her excitement to receive their recommendations in September.
  Strategic Communications
  Ms. Niloofar Razi Howe, Tenable, reviewed the goal of the Strategic Communications Subcommittee to enhance
  CISA’s strategic communications efforts, outreach, and partnerships. She reflected on the subcommittee’s
  success partnering with other CSAC Subcommittees to improve their effectiveness and help drive outcomes.
  Two of the recommendations were in support of the Turning the Corner on Cyber Hygiene Subcommittee to
  include the More Than A Password campaign and the Austin 311 Pilot. Regarding the “More Than A Password”
  campaign, Ms. Howe encouraged CISA to designate a program manager to work with Fortune 500 companies to
  define their commitment to providing resources, establishing metrics to drive success, and develop a full
  campaign around cyber hygiene. Regarding the Austin 311 Pilot, Ms. Howe encouraged CISA to create a playbook
  to identify the process to enable a nationwide program rollout with as little friction as possible.
  Ms. Howe recommended that CISA build a broader base of support. She applauded CISA for building trust and
  support with partners and stakeholders and encouraged CISA to build upon this strength by bringing in cyber
  reporters for regular briefings. She highlighted the importance of expanding CISA’s list of Agency validators to
  secure allies and amplifiers before CISA news is released. This is an opportunity to build trust and confidence in
  the U.S. Government’s work more broadly.
  Director Easterly affirmed the importance of the subcommittee’s work, as many members of the public are
  unaware of CISA’s core mission. She thanked the subcommittee for partnering with other efforts and for recruiting
  cybersecurity journalists. She flagged that the CISA Cybersecurity Awareness Month is approaching in October
  and this will present additional opportunities for the subcommittee.
  CSAC Members unanimously approved the recommendations.

  Closing Remarks and Adjournment
  Mr. Fanning thanked CSAC Members for their diligence and thoughtfulness in crafting the recommendations.
  Director Easterly restated her gratitude to the members for developing specific, actionable recommendations.
  Mr. Fanning reminded public participants that a meeting summary will be available on the CSAC website and
  reminded members that the next CSAC Quarterly Meeting is scheduled for September 13, 2022. Mr. Fanning
  adjourned the meeting.




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  APPENDIX: OPEN SESSION PARTICIPANT LIST
  CSAC Members                   Organization
  Mr. Steve Adler                City of Austin, Texas
  Ms. Marene Allison             Johnson & Johnson
  Mr. Robert Chesney             University of Texas
  Mr. Thomas Fanning             Southern Company
  Ms. Vijaya Gadde               Twitter
  Mr. Ron Green                  Mastercard
  Ms. Niloofar Razi Howe         Tenable
  Mr. Kevin Mandia               Mandiant
  Mr. Jeff Moss                  DEF CON Communications
  Ms. Nicole Perlroth            Cybersecurity Journalist
  Mr. Matthew Prince             Cloudflare
  Ms. Suzanne Spaulding          Center for Strategic and International Studies
  Dr. Kate Starbird              University of Washington
  Mr. George Stathakopoulos      Apple
  Ms. Alicia Tate-Nadeau         Illinois Emergency Management Agency
  Ms. Nicole Wong                NWong Strategies
  Mr. Chris Young                Microsoft

  Government Participants        Organization
  The Hon. Jen Easterly          CISA
  Ms. Alaina Clark               CISA
  Ms. Victoria Dillon            CISA
  Ms. Stephanie Doherty          CISA
  Mr. Jonathan Dunn              CISA
  Mr. Eric Goldstein             CISA
  Ms. Mona Harrington            CISA
  Mr. Bob Lord                   CISA
  Ms. Celinda Moening            CISA
  Mr. Johnathan Moor             CISA
  Ms. Jennifer Pederson          CISA
  Mr. Harvey “PT” Perriott       CISA
  Mr. Kris Rose                  CISA
  Mr. Rob Russell                CISA
  Mr. Taylor Smith               CISA
  Ms. Kiersten Todt              CISA
  Ms. Megan Tsuyi                CISA
  Ms. Kim Wyman                  CISA




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  Contractor Support              Organization
  Ms. Mariefred Evans            TekSynap
  Ms. Marissa Pope                EdgeSource
  Ms. Thais Price                 TekSynap
  Mr. Xavier Stewart              EdgeSource


  In-Person Participants          Organization
  Mr. Brett DeWitt                Mastercard
  Ms. Anne Disse                  Apple
  Mr. Benjamin Flatgard           JPMorgan Chase
  Ms. Michele Guido               Southern Company
  Mr. Gary Luedecke               City of Austin, Texas
  Ms. Devi Nair                   Center for Strategic and International Studies
  Ms. Stacy O’Mara                Mandiant
  Ms. Jordana Siegel              Amazon Web Services


  Dial-In Participants            Organization
  Ms. Mariah Bailey               TekSynap
  Ms. Mariam Baksh                Nextgov
  Mr. Calvin Biesecker            Defense Daily
  Mr. Scott Bouboulis             Wiley Rein LLP
  Ms. Dana Bostian                Bostian Captioning
  Mr. Evan Burke                  U.S. House of Representatives
  Ms. Emily Burns                 U.S. House of Representatives
  Ms. Cynthia Brumfield           Metacurity
  Mr. Jack Cable                  HSGAC
  Ms. Sarahjane Call              DHS
  Mr. Chris Cook                  Appropriations - U.S. Senate
  Mr. Joseph Chilbert             Office of Partnership Engagement
  Mr. Cameron Dixon               CISA
  Mr. Justin Doubleday            Federal News Network
  Mr. Luiz Eduardo                Aruba Threat Labs
  Mr. Matt Eggers                 U.S. Chamber of Commerce
  Ms. Lisa Einstein               Federation of American Scientists
  Mr. Michael Feldman             CISA
  Mr. Matthew Fleisher-Black      The Cybersecurity Law Report
  Ms. Amy Flowers                 Microsoft
  Mr. David Forscey               CISA
  Ms. Sara Friedman               Inside Cybersecurity
  Mr. Matthew Gasser              TSA



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  Dial-In Participants (Cont.)     Organization
  Ms. Elizabeth Gauthier           CISA
  Mr. Eric Geller                  Politico
  Ms. Aileen Graef                 CNN
  Ms. Sonja Grant                  CBP
  Ms. Carmen Hadgraft              Southern Company
  Ms. Gwen Hess                    CISA
  Mr. Edward Humphrey              CISA
  Mr. Zachary Isakowitz            U.S. House of Representatives
  Mr. Adam Israelevitz             U.S. House of Representatives
  Mr. Alexander Jacobs             DHS
  Mr. David Jones                  Cybersecurity Dive
  Mr. Albert Kammler               Van Scoyoc Associates
  Mr. Matt Kehoe                   Apple
  Ms. Norma Krayem                 Van Scoyoc Associates
  Ms. Christina Lee                Beacon Global Strategies
  Mr. Tom Leithauser               Telecommunications Reports and Cybersecurity Policy Report
  Ms. Oumou Ly                     CISA
  Mr. Joseph Marks                 Washington Post
  Mr. Martin Matishak              The Record
  Ms. Neysa Matthews               Walmart
  Mr. Glenn Merell                 Freelance Consulting
  Mr. Mike Miron                   DHS
  Mr. Phu Nguyen                   Integrated Cybersecurity Engine
  Mr. Andrew Nicholson             Imperium Global Advisors
  Mr. Jeff Rothblum                U.S. Senate
  Ms. Sophia Salome                CISA
  Mr. Jason Sanford                Illinois Emergency Management Agency
  Mr. Aaron Schaffer               Washington Post
  Mr. Robert Sheldon               CrowdStrike
  Ms. Jenny Shore                  CISA
  Mr. Tim Starks                   CyberScoop
  Mr. Travis Stoller               Wiley Rein LLP
  Ms. Claire Teitelman             JPMorgan Chase
  Mr. Christian Vasquez            E&E News
  Mr. Shaun Waterman               Waterman Reports
  Ms. Leah Young                   CISA




  CSAC Meeting                   June 22, 2022                                                  8
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  CERTIFICATION

  I hereby certify that, to the best of my knowledge, the foregoing minutes are accurate and complete.

  Tom Fanning (approved on 21 July 2022)

  Mr. Tom Fanning
  CISA Cybersecurity Advisory Committee Chair




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                                           Member Meeting

                                          Thursday, March 31, 2022
                                           2:00 p.m. – 4:00 p.m. ET

2:00 p.m.   Welcoming Remarks
             • The Honorable Jen Easterly, Director, Cybersecurity and Infrastructure Security Agency (CISA)
             • Mr. Tom Fanning, CISA Cybersecurity Advisory Committee (CSAC) Chair
             • Mr. Ron Green, CISA CSAC Vice Chair


2:10 p.m.   Subcommittee Updates
             • Mr. Ron Green, Transforming the Cyber Workforce
             • Mr. George Stathakopoulos, Turning the Corner on Cyber Hygiene
             • Mr. Jeff Moss, Technical Advisory Council
             • Dr. Kate Starbird, Protecting Critical Infrastructure from Misinformation and Disinformation
             • Mr. Tom Fanning, Building Resilience and Reducing Systemic Risk to Critical Infrastructure
             • Ms. Niloo Howe, Strategic Communications


3:40 p.m.   Public Comment Period


3:50 p.m.   Closing Remarks and Adjournment
             • Director Easterly
             • Mr. Fanning
             • Mr. Green
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 CSAC members discussed the importance of collaboration between public and private sectors to strengthen CISA’s
 hiring efforts. Mr. Fanning noted the difference between attracting employees versus retaining them. In terms of
 industry and government collaboration, Mr. Green shared the idea of Intergovernmental Personnel Appointments (IPA)
 to allow the agency to bring individuals from the private sector to serve in a governmental capacity. Mr. Fanning noted
 that at least 85 percent of the critical infrastructure industry is privately owned, making collaboration necessary to
 CISA’s success. Mr. Ted Schlein, Kleiner Perkins Caufield & Byers, recommended introducing a rapid response team
 for cyber where CISA can pull together a group of experts quickly to solve a particular problem, then send
 recommendations back to industry quickly, in comparison to what was described as the IPA program. Mr. Green noted
 that this idea is not something the subcommittee has explored yet, but it is something they will discuss.
 Director Easterly noted the recent deployment of the Cyber Talent Management System (CTMS) which has allowed for
 more flexibility in reducing the steps to onboarding. Director Easterly recommended that the subcommittee receive a
 full update on CTMS and provide their feedback to determine if this resolves onerous onboarding issues.
 Turning the Corner on Cyber Hygiene
 Mr. George Stathakopoulos, Apple, identified the subcommittee’s focus as finding a way to simplify security
 recommendations to small and medium businesses. This aligns with the subcommittee’s path forward to execute a
 holistic, scaled approach to ensure that all organizations have the information and resources needed to implement
 essential security practices. Due to the limited security resources of small businesses, Mr. Stathakopoulos specified
 small businesses as the most vulnerable to a potential attack, which could have larger implications across an entire
 sector. Mr. Stathakopoulos detailed six basic steps for businesses to implement to include: (1) hold trainings; (2)
 implement multi-factor authentication (MFA); (3) patch known vulnerabilities; (4) enable logging on current system; (5)
 build an incident response plan; and (6) strengthen cyber resilience. He identified a goal for the subcommittee to
 impart an amplified message of “More Than A Password” to promote MFA implementation. Mr. Stathakopoulos
 described the path forward to build coalitions and present these recommendations to Fortune 500 companies, non-
 profits, and universities. Mr. Stathakopoulos added the subcommittee’s second goal is to examine the possibility of an
 emergency call line for ransomware attacks.
 CSAC members discussed ways to strengthen the effectiveness of the outlined recommendations. Members proposed
 potential incentives for businesses that implement these security strategies ranging from the tax incentives
 recommended by Mr. Schlein to eliminating the existing “MFA tax,” as suggested by Mr. Alex Stamos, Krebs Stamos
 Group. Mayor Steve Adler, City of Austin, identified areas of collaboration with the Strategic Communications
 Subcommittee to strengthen the broad messaging efforts. Ms. Nuala O’Connor, Walmart, concurred that this is a joint
 communications and education effort for small and medium businesses and agreed with the focus on simplifying the
 security message. Mr. Chris Young, Microsoft, asked the subcommittee to consider small businesses operating on a
 non-cloud infrastructure and the security issues associated with non-cloud operating platforms.
 Technical Advisory Council
 Previously known as the Igniting the Hacker Community, Mr. Moss, DEF CON Communications, stated the Technical
 Advisory Council subcommittee is focused on a broader community than just hackers to further catalyze CISA’s
 relationship with the technical community to shift the balance in favor of network defenders. He identified CISA’s
 difficulty interacting at the individual level and called out the community’s lack of trust in organizations and true trust
 in people. Mr. Moss encouraged CISA to build and maintain trust with the researcher community at a person-to-person
 level. He stated the subcommittee’s efforts to determine the best ways for CISA to ignite the power of the technical
 community from all backgrounds and experiences to create a trusted partnership with the government and CISA. Mr.
 Moss detailed the subcommittee’s path forward to incentivize and reduce barriers to vulnerability reporting and
 outlined a range of initiatives on expanding collaboration with the technical community, including hackers, academics,
 and researchers. Such ideas included easing the reporting process and building web portals for individuals to report
 incidents online. Finally, he identified the subcommittee’s immediate interest in determining what specific problems
 CISA is aiming to solve.




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 Committee members offered examples of best practices within their fields and posed questions to Mr. Moss on
 potential areas for the Technical Advisory Council to consider. Ms. Suzanne Spaulding, Center for Strategic &
 International Studies, inquired if the subcommittee had discussed the role of transparency in terms of building trust
 with the government to openly communicate how the government is using the insights shared by this community. Ms.
 Spaulding expressed a concern of over-classification by the government as a barrier to reporting. Mr. Moss said the
 subcommittee is also considering the role of the Civil Liberties and Privacy Community in such an effort and agreed
 with Mr. Fanning and Mr. Schlein on the importance of transparency in building trust. Ms. Marene Allison, Johnson &
 Johnson, provided an example of incident reporting best practices in the healthcare sector.
 Mr. Eric Goldstein, Head of CISA Cyber, outlined another goal of the subcommittee as to understand this community’s
 perceptions about working with government to understand and remove any deterring factors. He added that CISA’s
 goal is also to unpack incentive models around reporting vulnerabilities to CISA in order to drive more effective and
 regular disclosure. In thinking about incident reporting accountability among CEOs as part of the business control
 environment, Director Easterly and Mr. Fanning asked the subcommittee to consider developing a guide for board
 directors on questions they should be asking about cyber security reporting.
 Protecting Critical Infrastructure from Misinformation and Disinformation
 Dr. Kate Starbird, University of Washington, discussed the subcommittee’s actions to date and path forward to
 confront mis-, dis-, and malinformation (MDM) harmful to critical infrastructure. Dr. Starbird noted the subcommittee
 is focused on using strategies to prevent MDM during elections to provide a blueprint on targeting MDM in other
 contexts, and continues to question how CISA can best support the MDM mission. By focusing on elections, Dr.
 Starbird stated that the subcommittee can examine CISA’s mission across four main areas to include: (1) civics and
 media literacy— enhancing societal resilience to MDM; (2) proactive work of narrative-specific staging of resources
 and pre-bunking; (3) response through monitoring, identifying, and addressing specific MDM threats; and (4) detect
 and respond to foreign influence operations. Dr. Starbird outlined the subcommittee’s path forward of determining
 how CISA can participate effectively in election truth narratives and how CISA can build trust within this adversarial
 space.
 Committee members highlighted the focus of MDM as undermining the overall trust in government. Mr. Green offered
 the recommendation that CISA target already trusted communities within the adversarial space to increase CISA’s
 credibility. Ms. Niloo Razi Howe, Energy Impact Partners, concurred that pre-bunking MDM before it spreads is
 imperative in this context. She added that increasing transparency and rapidly declassifying information are ways CISA
 can build alliances to deter bad actors. Committee members noted that operational collaboration is a significant way
 to combat MDM. Ms. Howe offered to connect the subcommittee to resources outside the academic community
 working on pre-bunking resources.
 Building Resilience & Reducing Systemic Risk to Critical Infrastructure
 Mr. Fanning shared that the subcommittee is determining how to best drive national risk management and identify
 the criteria for scalable, analytic models to prioritize risk. He addressed one of the group’s challenges as
 understanding the bridge between the National Risk Management Center (NRMC) and how to incorporate this work
 into the JCDC. He noted that the subcommittee is reimagining the notion of national security, focusing on
 collaborations between the private sector and government to ensure they are not thinking of critical risk sectors in a
 silo. Mr. Fanning applauded the NRMC for their work examining the national critical functions (NCFs) and the
 interdependencies among sectors to ensure a sound response to a major incident. He stated that the subcommittee
 is focused on determining the highest priority NCFs and evaluating realistic scenarios at the asset level. Mr. Fanning
 shared that the subcommittee is determining recommendations that could be potentially operationalized into policy
 and law, and how to best define CISA’s charge for protecting our critical infrastructure. Mr. Fanning mapped out the
 subcommittee’s path forward to examine specific NCFs including (1) generate electricity, particularly examining risks
 to pipelines; (2) water; (3) financial services; and (4) telecommunications to then develop scenarios which will explore
 the impacts at the asset and supply chain levels to determine the corresponding effects of an attack and how
 collaboration between industry and government can best secure America. Following the scenarios, the subcommittee



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 will develop a playbook on how to communicate this collaboration.
 CSAC members discussed CISA’s role in sector risk management without recreating cybersecurity capabilities
 extensively within other governing departments and agencies. Director Easterly commented that CISA is not looking to
 replace Information Sharing Analysis Centers (ISACs), but is rethinking ways to share relevant data. Mr. Goldstein
 commented that sector risk management agencies (SRMAs) provide expertise in sector-specific risks and an
 understanding of how to expand function resilience within sectors under all conditions. In cyber intrusions, CISA is
 able to provide generalized cyber expertise which can be applied, combined with the sector-specific knowledge of the
 SRMAs to drive down risk across sectors at scale. Mr. Goldstein shared that the JCDC is focused on how to generalize
 and scale the current risk models to increase operational collaboration across sectors as novel risks are identified.
 This will lead to a force multiplier effect to drive down risk far more quickly than companies can accomplish
 individually.
 Chris Inglis, National Cyber Director, provided an overview of the Office of the National Cyber Director’s (NCD) mission
 to assess the performance of cyber investments including the roles and responsibilities, not just financial
 investments. He shared that the NCD is currently performing a study in partnership with CISA on the SRMAs to
 determine recommendations for further action to get each of them up to the level of performing tabletop exercises.
 Ms. Allison concluded the subcommittee’s updates by highlighting that interconnectivity breeds actionable intelligence
 and stressed the need to strengthen the partnership between government and industry.
 Strategic Communications
 Ms. Howe reviewed the subcommittee’s task of addressing how CISA can communicate their mission in a way that
 engages stakeholders around risk management issues. She stated the subcommittee’s second focus of exploring how
 CISA can improve communications to ensure all audiences are informed of CISA’s mission and value add to the
 nation’s cyber defenses. She outlined the path forward and current challenges of the subcommittee to include how to
 be most effective in communicating CISA’s mission.
 Ms. Howe suggested the subcommittee reconvene to build partnerships between each subcommittee. Ms. Howe
 identified two action items for the subcommittee, to include (1) identifying the next step as receiving a brief on CISA’s
 longer term strategic communications strategy and (2) receive a brief from each subcommittee chair to determine
 how the subcommittee can support, develop, and boost communication needs of the Committee as a whole.
 Committee members discussed ways to more clearly identify the subcommittee’s messaging efforts regarding CISA’s
 mission and value add. Ms. Nicole Perlroth, Cybersecurity Journalist, suggested to conceptualize CISA’s messaging in
 two ways, (1) thinking of the CISA brand itself and (2) how to educate others regarding cyber hygiene. Director Easterly
 emphasized the importance of CISA being responsive to all feedback and how that directly correlates with the public
 trusting the Federal Government.
 Mr. Fanning thanked the participants for their comments and turned the meeting over to Ms. Tsuyi for the Public
 Comment Period.

                                            Public Comment Period
 Mr. Joe Weiss, Applied Control Solutions, LLC, provided the following comment for the record:
        Thank you for this opportunity to provide comment. My comments I think will cover a number of the working
        groups and it’s dealing with engineering considerations. Process sensors and operational technology (OT)
        networks are used in every physical infrastructure, everything you’ve been talking about. Securing OT networks
        is necessary but not sufficient. Compromising the process sensors can damage any process, yet neither the
        sensor comprised nor the system damaged may be identifiable by the OT networks.
        March 10, I gave a university seminar on the lack of cyber security in process sensors titled: “Shields Up and
        Good Cyber Hygiene Do Not Apply to Insecure Process Sensors”. Process sensors have no inherent




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        cybersecurity but yet have direct connections to the Internet and 100 percent trusted input to OT networks.
        The cybersecurity gap includes no capability for passwords, single-factor (much less multi-factor)
        authentication, encryption, keys, signed certificates, etc. Moreover, process sensors have no cyber forensics.
        Shields Up recommends conducting a test of manual controls to ensure that critical functions remain operable
        if the organization’s network is unavailable or untrusted. Good cyber hygiene requires strong passwords.
        However, insecure process sensors have no passwords and are untrusted during all conditions. There have
        been more than 11 million control systems cyber incidents, many of them process sensor related, directly
        resulting in more than 1,500 deaths. The vast majority were not identified as being cyber-related, as there are
        no control systems cyber forensics at the process sensor layer. There’s effectively no cybersecurity training for
        the control and safety systems engineers and technicians—even though cybersecurity training is available for
        the OT network personnel. Adversaries such as Russia, China, and Iran are aware of these deficiencies. It is not
        possible to be cyber secure, resilient, or safe if you cannot trust your process measurements.
        There are a number of paths for moving forward. In the short term, get the engineers involved. I’ve heard
        nothing about that. Use sensor monitoring and analytics at the physics, not end word packet layer, to improve
        cybersecurity process safety product quality, resilience, and regulatory compliance. That cannot be done by
        monitoring the OT networks alone. Develop process sensor cyber forensics. Develop training recommendations
        and standards for process sensors. And in the long term, develop new cyber secure process sensors.
        And with that, I really want to appreciate the ability to be able to provide these comments. Thank you.
Mr. Fanning thanked Mr. Weiss. Director Easterly asked Mr. Goldstein to weigh in on Mr. Weiss’ remarks. Mr. Goldstein
affirmed that industrial control systems (ICS) and OT security are foundational to CISA’s mission and remains one of the
Agency’s top priorities. He stated that CISA needs to benefit from the extraordinary expertise in the research
community, vendors, and asset operators to provide the best possible guidance and insights. He shared the example
that the vulnerability and disclosure team released over 500 advisories last year on vulnerabilities in ICS and OT
devices, each of which were the product of coordination between researchers, vendors, and owner-operators who
deploy mitigations. Mr. Goldstein confirmed that CISA does work in collaboration with the engineers who develop the
technologies deployed by CISA across ICS systems across the country. He also stressed CISA’s goal to build and
strengthen partnerships to address today’s risks and threats and drive towards a future that is more secure and
resilient by design, and process sensors are part of that equation. Mr. Goldstein closed by stating that ICS and OT
security is one of CISA’s top focus, CISA is working towards strengthening partners with experts across sectors to build
a more secure technology ecosystem where control systems are more secure by design.

                                   Closing Remarks and Adjournment
Director Easterly thanked the Committee members and other meeting participants for their subcommittee work and
their input during the meeting. She identified trust and collaboration as key themes of the meeting and encouraged the
subcommittees to work together to craft recommendations for CISA to share during the June CSAC Quarterly Meeting.
Mr. Fanning and Mr. Green both provided brief closing remarks noting that the Committee’s work matters and thanked
members for their participation. Director Easterly adjourned the meeting.




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  APPENDIX: OPEN SESSION PARTICIPANT LIST
  CSAC Members                    Organization
  Mr. Steve Adler                 City of Austin, Texas
  Ms. Marene Allison              Johnson & Johnson
  Ms. Lori Beer                   JPMorgan Chase
  Mr. Robert Chesney              University of Texas
  Mr. Thomas Fanning              Southern Company
  Ms. Vijaya Gadde                Twitter
  Dr. Patrick Gallagher           University of Pittsburgh
  Mr. Ron Green                   Mastercard
  Ms. Niloofar Razi Howe          Tenable
  Mr. Kevin Mandia                Mandiant
  Mr. Jeff Moss                   DEF CON Communications
  Ms. Nuala O'Connor              Walmart
  Ms. Nicole Perlroth             Cybersecurity Journalist
  Mr. Ted Schlein                 Kleiner Perkins Caufield & Byers
  Mr. Stephen Schmidt             Amazon Web Services
  Ms. Suzanne Spaulding           Center for Strategic and International Studies
  Mr. Alex Stamos                 Krebs Stamos Group
  Dr. Kate Starbird               University of Washington
  Mr. George Stathakopoulos       Apple
  Ms. Alicia Tate-Nadeau          Illinois Emergency Management Agency
  Ms. Nicole Wong                 NWong Strategies
  Mr. Chris Young                 Microsoft

  Government Participants        Organization
  The Hon. Jen Easterly          CISA
  The Hon. Chris Inglis          NCD
  Mr. Robert Costello            CISA
  Ms. Alaina Clark               CISA
  Mr. Chris DeRusha              Office of Management and Budget
  Mr. Jonathan Dunn              CISA
  Mr. Trent Frazier              CISA
  Mr. Eric Goldstein             CISA
  Ms. Mona Harrington            CISA
  Ms. Rachel Liang               CISA
  Mr. John (Jack) MacNeil        CISA
  Ms. Celinda Moening            CISA
  Mr. Nitin Natarajan            CISA
  Mr. Barry Skidmore             CISA
  Ms. Kiersten Todt              CISA
  Ms. Megan Tsuyi                CISA


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  Ms. Kim Wyman                  CISA


  Contractor Support              Organization
  Mr. Joseph Butler               TekSynap
  Ms. Mariefred Evans             TekSynap
  Ms. Marissa Pope                EdgeSource


  Dial-In Participants            Organization
  Ms. Mariam Baksh                NextGov
  Mr. Mitchell Berger             Department of Health and Human Services
  Mr. Christopher Bidwell         Airports Council International
  Mr. Calvin Bieserker            Defense Daily
  Ms. AmyClaire Brusch            Airports Council International
  Mr. Jack Cable                  Senate HSGAC
  Ms. Sarahjane Call              Department of Homeland Security
  Mr. Dan Callahan                Fortinet Federal
  Ms. Anne Cutler                 CISA
  Ms. Jen DeBerge                 Mastercard
  Mr. Brett DeWitt                Mastercard
  Ms. Victoria Dillon             CISA
  Ms. Osasu Dorsey                Office of the National Cyber Director
  Ms. Lisa Einstein               Stanford
  Mr. Benjamin Flatgard           JPMorgan Chase
  Ms. Amy Flowers                 Microsoft
  Mr. Christopher Frascella       Electronic Privacy Information Center
  Ms. Sarah Friedman              Inside Cybersecurity
  Mr. Will Garrity                Mastercard
  Ms. Elizabeth Gauthier          CISA
  Mr. Eric Geller                 POLITICO
  Ms. Michele Guido               Southern Company
  Mr. Geoffrey Hale               CISA
  Ms. Gwainevere Hess             CISA
  Mr. Edward Humphrey             CISA
  Ms. Helen Jackson               CISA
  Mr. Matt Kehoe                  Apple
  Ms. Christina Lee               Beacon Global Strategies
  Mr. Tom Leithauser              Telecommunications Reports and Cybersecurity Policy Report
  Ms. Oumou Ly                    CISA
  Ms. Neysa Matthews              Walmart
  Mr. Glenn Merell                Freelance Consulting
  Mr. Mike Miron                  Department of Homeland Security
  Ms. Devi Nair                   International Security Program
  Mr. Phu Nguyen                  Integrated Cybersecurity Engine

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  Mr. Andrew Nicholson                           Imperium Global Advisors


  Dial-In Participants                           Organization
  Ms. Maggie O’Connell                           Interstate Natural Gas Association for America
  Ms. Stacy O’Mara                               Mandiant
  Mr. Nick Ornstein                              TwinLogic Strategies
  Mr. Marty Reynolds                             Airlines for America
  Mr. Alexander Rodriguez                        DP DHL Americas
  Ms. Katheryn Rosen                             JPMorgan Chase
  Mr. Jason Sanford                              Illinois Emergency Management Agency
  Ms. Jordana Siegel                             Amazon
  Mr. Jordan Sims                                Imperium Global Advisors
  Mr. Tim Starks                                 CyberScoop
  Mr. Travis Stoller                             Wiley Law
  Ms. Claire Teitelman                           JPMorgan Chase
  Mr. Wesley Trimble                             Commonwealth Strategic Partners
  Ms. Liz Turrell                                CNN
  Mr. Christian Vasquez                          E&E News
  Ms. Nicky Vogt                                 CISA
  Mr. Joe Weiss                                  Applied Control Solutions, LLC
  Ms. Erin Wieczorek                             CISA
  Mr. Ford Winslow                               Integrated Cybersecurity Engine




  CERTIFICATION
  I hereby certify that, to the best of my knowledge, the foregoing minutes are accurate and complete.

  Tom Fanning (approved on 13 April 2022)

  Mr. Tom Fanning
  CISA Cybersecurity Advisory Committee Chair




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                           CISA CYBERSECURITY ADVISORY COMMITTEE
                            DECEMBER 10, 2021, MEETING SUMMARY


  OPEN SESSION
  Call to Order and Opening Remarks
  Ms. Megan Tsuyi, Cybersecurity and Infrastructure Security Agency (CISA) Cybersecurity Advisory Committee
  Designated Federal Officer, called the meeting to order. She provided a short summary of the Federal Advisory
  Committee Act rules governing the meeting and then turned the meeting over to the Honorable Jen Easterly,
  Director, CISA.

  Director Easterly welcomed the attendees and introduced the Committee’s new Chair, Mr. Tom Fanning,
  Southern Company, and Vice Chair, Mr. Ron Green, Mastercard. Mr. Fanning and Mr. Green then gave brief
  opening remarks. Mr. Fanning noted that it is both a moment of strategic risk and a moment of strategic
  opportunity for the United States and emphasized the need for the private sector and the government to work
  together to protect the Nation’s interests. Mr. Ron Green added that the Committee creates an opportunity for a
  closer partnership between the private sector, industry, and academia.

  Director Easterly then welcomed the Honorable John K. Tien, Deputy Secretary, Department of Homeland
  Security (DHS), to provide a keynote address.

  Keynote Address
  Deputy Secretary Tien applauded the diversity of viewpoints on the Committee and noted the importance of
  sharing wisdom, expertise, and insight from each area represented. He expressed his hope that the Committee
  will be able to help identify the gaps and vulnerabilities the United States currently faces and also provide
  solutions. He said that DHS is eager to hear the Committee’s recommendations and that the members should
  challenge Director Easterly and all of DHS to take action on addressing the Nation’s cybersecurity issues.

  Director Easterly thanked Deputy Secretary Tien and introduced the Honorable Chris Inglis, National Cyber
  Director, to provide remarks.

  Fortifying the Nation’s Cybersecurity Posture
  Director Inglis opened by stating that the United States needs to take the offensive in cyberspace and reframe
  what is believed to be possible and appropriate in terms of improving the resilience of the Nation’s digital
  infrastructure. He added that, to address the current cyber threats, Government and industry need to do more
  than share information. He said that the Nation has an opportunity to develop a collective defense across
  Government, industry, and academia so that any attacker has to defeat the combined capabilities of all three
  adding that he is pleased with the work that CISA is doing in this regard. He charged the group to be proactive in
  showing that each member has something to add to the collaboration.

  CISA’s Big Challenges and Issues Tasking
  Director Easterly stated that CISA has two important roles: 1) be the operational lead for federal cybersecurity;
  and 2) be the National Coordinator for Critical Infrastructure, Resilience and Security. She said that, of the two,
  she wants to focus on the critical infrastructure piece because the vast majority of critical infrastructure is



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  owned and operated by the private sector. To do this, she wants the Committee to provide input on how to move
  CISA from a focus on public-private partnerships to true operational collaboration.

  Director Easterly noted that there are three efforts at CISA that she is particularly excited about. The first is the
  Joint Cyber Defense Collaborative (JCDC), which brings together the private sector along with the full power of
  Federal law enforcement, the Defense Department, and the Intelligence Community to address the cybersecurity
  threat in a proactive manner. The second effort is the CISA Cybersecurity Advisory Committee, which brings
  together strategic thinkers with a huge amount of expertise and experience and has the potential to magnify
  CISA’s work collaboration and innovation and service to the nation. The third effort is the ongoing process of
  reshaping CISA’s workforce through the Cyber Talent Management System.

  Mr. Eric Goldstein, Assistant Director for Cybersecurity, CISA, discussed the need for greater visibility into the
  nation’s critical infrastructure, noting that access to that information would allow CISA and other agencies to
  quickly develop actionable measures and actionable guidance that network defenders across the country can
  use to protect themselves before more intrusions occur. He emphasized that CISA cannot do this alone, and so
  the JCDC is building platforms where analysts from CISA as well as partners from Government and the private
  sector, potentially including cybersecurity companies, can work together to identify and collectively address
  threats across all of the networks they have visibility into.

  Mr. Goldstein said that CISA plays a critical role in finding and fixing vulnerabilities, but that the only long-term
  solution is for the technology industry to adopt a more security-focused culture. He concluded by posing several
  questions to the Committee on how to address these issues: How can CISA shift the culture of technology more
  toward a security-focused model? How can CISA ensure that security features are easier to use and on by
  default? How can CISA and industry minimize the consequences of the use of technology in national critical
  functions?

  Ms. Kiersten Todt, Chief of Staff, CISA, discussed CISA’s efforts to build a strong cyber workforce, and how CISA
  can facilitate and drive that process. She noted that the agency is working to build relationships with non-
  traditional and underserved communities through partnerships with NPower, Girls Who Code, and the Cyber
  Warrior Foundation. Ms. Todt added that cyber is an interdisciplinary issue and the cyber workforce needs the
  skills of not just mathematicians, engineers and scientists, but also sociologists, psychologists, historians,
  politicians, and economists.

  Director Easterly then turned to the first planned focus areas for the CISA Cybersecurity Advisory Committee:
  Transforming the Cyber Workforce. She asked the members to provide their input. Ms. Lori Beer, JPMorgan
  Chase, said that employee retention is just as critical as creating a pipeline for entry level talent. She suggested
  that the Agency find a way to work with industry to provide corridors for employees to move back and forth
  between Government and industry. Ms. Nicole Wong, NWong Strategies, said two issues that stop candidates
  from working for the Government is its hierarchical nature and slow delivery process. She said this can frustrate
  cybersecurity specialists who are used to working with their company’s leadership and moving fast to implement
  new ideas and solutions. Mr. Green said that MasterCard has a Cyber Talent Initiative that has MasterCard
  employees take positions in Government agencies for two-year terms to develop skills and knowledge that
  MasterCard cannot provide. He said this might be a model CISA could leverage. Mr. Ted Schlein, Kleiner Perkins
  Caufield & Byers, added that student loan relief would also be a big incentive to get candidates to join CISA and
  stay with the agency.

  Director Easterly then moved to the topic Turning the Corner on Cyber Hygiene and asked Mr. George
  Stathakopoulos to give his thoughts. Mr. Stathakopoulos stated that it’s almost impossible to ensure security
  across an entire supply chain as many small suppliers simply don’t have the resources to address the issue. He
  said that, especially for small businesses, CISA needs to create a step-by-step guide to ensure these companies
  can provide at least the minimum level of security. Mr. Bobby Chesney, University of Texas, added that providing
  tax breaks to companies that work to improve cyber best-practices would also help. Ms. Suzanne Spaulding,
  Center for Strategic and International Studies, said that a long-term strategy would need to be education.
  Specifically, teaching civics so that children learn at a young age how their actions will impact others. Ms. Nicole
  Perlroth, Cybersecurity Journalist, added that using storytelling to explain how using multi-factor authentication


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  could have prevented major cyber-attacks could prove useful in this regard. Mr. Alex Stamos, Krebs Stamos
  Group, said that cloud providers should be required to include security features in their most basic sales
  packages. He noted that charging an additional fee to enable security creates a disincentive for customers to
  adopt these features. Mr. Green noted that mandates alone will not work, and that people need to be able to
  see the value of improving security. He suggested creating a cyber scorecard to grade companies on the cyber
  hygiene.

  Director Easterly then asked Mr. Jeff Moss, DEF CON Communications, to discuss the topic of Igniting the
  Hacker Community. Mr. Moss said that internet problems are global problems and addressing them will require
  global participation and a community response. He added that CISA should work to redefine the language
  around cybersecurity to make it clear how mutually beneficial it is. Mr. Moss noted health language works really
  well: If you’re fighting against cancer, you’re not fighting only for America. You're fighting against a global
  problem. He said that kind of inclusive language would get a lot more traction from the academic community.
  He added that hackers and academics need to provide an easy means for Government and policymakers to talk
  to them and receive feedback. Ms. Perlroth added that action is also important. She said it’s important for CISA
  to think about its initial partnerships and ask: “Can CISA partner with the civil society community? Can CISA’s
  efforts primarily support human rights defenders?” Ms. Marene Allison, Johnson & Johnson, noted that the Food
  and Drug Administration’s process for working with the research community by creating a means for an open
  dialogue might provide CISA a model. Mr. Chris DeRusha, U.S. Chief Information Security Officer, Office of
  Management and Budget, added that CISA should consider reaching out to small groups like the Cyber Civilian
  Corps. Ms. Easterly said she would create a Technical Advisory Council as a subcommittee to address these
  issues.

  On the topic of Protecting Critical Infrastructure from Misinformation & Disinformation, Dr. Kate Starbird,
  University of Washington, noted that the level of disinformation being spread across information systems has
  been increasing dramatically in recent years. She noted that it was used in 2020 to undermine the U.S. election
  system and that it has also made it difficult for Governments to address crisis events like the COVID-19
  pandemic. She said that the solution to addressing this is to teach people to care about whether what they're
  sharing is true or false. Mr. Chesney noted that it might be very difficult to get people to unlearn bad behavior
  like that as, after a while, it becomes an entrenched cognitive bias. He suggested that working with the various
  social media platforms to address the problem might be the best approach. Mr. Stamos and Ms. Allison noted
  that Government agencies are very bad at using their authority and platforms to push back against
  disinformation. Ms. Allison suggested that CISA create a playbook for agencies to use in responding to the
  spread of disinformation.

  Director Easterly then turned to the topic of Building Resilience & Reducing Systemic Risk to Critical
  Infrastructure. Mr. Fanning stated that one of the biggest impediments to industry and Government working
  together to address systemic risk is identifying the truly critical elements in critical infrastructure. He said CISA
  can help develop solutions, but that industry will need to take the lead in working with the Government to
  address the problem. Mr. Fanning noted that there are a number of models that CISA and industry could build
  on, such as the Analysis and Resilience Center for Systemic Risk developed by the Finance and Energy sectors.
  He closed by stating that, because industry controls the vast majority of critical infrastructure in the United
  States, the end goal should be for the Government to provide industry the tools to defend themselves.

  Director Easterly recommended the following subcommittee assignments:

      •    Transforming the Cyber Workforce
               o Mr. Green, Mastercard (Lead)
               o Ms. Lori Beer, JPMorgan Chase
               o Ms. Nicole Perlroth, Cybersecurity Journalist
               o Dr. Pat Gallagher, University of Pittsburgh
               o Ms. Nicole Wong, NWong Strategies
               o Ms. Kiersten Todt, CISA




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      •   Turning the Corner on Cyber Hygiene
              o Mr. George Stathakopoulos, Apple (Lead)
              o Mr. Steve Schmidt, AWS
              o Ms. Chris Young, Microsoft
              o Mr. Alex Stamos, Krebs Stamos Group
              o Mr. Ted Schlein, Kleiner Perkins
              o Ms. Nuala O’Connor, Walmart
              o Mr. Eric Goldstein, CISA

      •   Igniting the Hacker Community (Technical Advisory Council)
               o Mr. Jeff Moss, DEF Con Communications (Lead)
               o Mr. Kevin Mandia, Mandiant
               o Ms. Wong
               o Mr. Goldstein
               o Mr. Chris DeRusha, NCD/OMB

      •   Protecting Critical Infrastructure from Misinformation & Disinformation
              o Dr. Kate Starbird, University of Washington (Lead)
              o Ms. Suzanne Spaulding, Center for Strategic & International Studies
              o Mr. Matthew Prince, Cloudflare
              o Ms. Alicia Tate-Nadeau, State of Illinois
              o Ms. Vijaya Gadde, Twitter
              o Ms. Kim Wyman, CISA
              o Mr. Geoff Hale, CISA

      •   Building Resilience & Reducing Systemic Risk to Critical Infrastructure
              o Mr. Fanning (Lead)
              o Ms. Marene Allison, Johnson & Johnson
              o Mr. Bobby Chesney, University of Texas
              o Ms. Beer
              o Mr. Bob Kolasky, CISA

      •   Strategic Communications
              o Ms. Howe, Tenable (Chair)
              o Mayor Steve Adler, City of Austin
              o Mr. Schlein
              o Ms. Perlroth
              o Ms. Jen Easterly, CISA
              o Ms. Todt

  Public Comment Period
  Mr. Patrick Gaul, National Technology Security Coalition, provided the following comment for the record:

          Good afternoon. This is Patrick Gaul. And as the Executive Director of the National Technology Security
          Coalition or the NTSC, the organization that spearheaded the creation of the Advisory Committee, and
          very proud and excited to see it operational. I'm eager to see the Advisory Committee demonstrate its
          value to Director Easterly, CISA, and the nation. I'm also proud that NTSC board members Marene
          Allison and Ron Green, are members of the Advisory Committee. Marene and Ron are preeminent in the
          field and I know their contributions will be vital. I'd also like to congratulate JPMorgan Chase and
          Microsoft, for their membership on the Advisory Committee, as they both have a board presence with
          the NTSC as well. As the only national organization representing the Chief Information Security Officer or
          CISO, we are eager to make our voices heard. CISOs work hard every day on the front lines, to combat
          cyber threats and maintain our collective national security. I believe there's no one who understands


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          cybersecurity better than those that practice it every day and who are also in the front of implementing
          national policy and regulatory requirements. In most large companies today the CISO role has become a
          member of the C-suite and the member trusted to protect the interests of the company and the
          customers. We look forward to watching the committee engage the cyber challenges ahead of us. We
          also sincerely hope, as the committee expands, more CISOs will have an opportunity to serve. And of
          course, the NTSC stands ready to support the committee. Thank you for allowing me to speak.

  Closing Remarks and Adjournment
  Director Easterly thanked the Committee members and other meeting participants for their input during the
  meeting. She also thanked the CISA and MITRE teams for supporting the meeting. She then gave each member
  an opportunity to ask any final questions. The Committee’s Chair, Mr. Fanning, and Vice Chair, Mr. Green, both
  provided closing remarks noting that the Committee was off to a great start and that they looked forward to
  working on the issues discussed during the meeting. Director Inglis also thanked the Director and the
  participants, adding that he believed the Committee can make a serious dent in addressing the Nation’s
  cybersecurity threats. Director Easterly adjourned the meeting.




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  APPENDIX
  OPEN SESSION PARTICIPANT LIST
   CSAC Members                Organization
   Mr. Steve Adler             City of Austin, Texas
   Ms. Marene Allison          Johnson & Johnson
   Ms. Lori Beer               JPMorgan Chase
   Mr. Robert Chesney          University of Texas
   Mr. Thomas Fanning          Southern Company
   Mr. Ron Green               Mastercard
   Ms. Niloofar Razi Howe      Tenable
   Mr. Kevin Mandia            Mandiant
   Mr. Jeff Moss               DEF CON Communications
   Ms. Nuala O'Connor          Walmart
   Ms. Nicole Perlroth         Cybersecurity Journalist
   Mr. Ted Schlein             Kleiner Perkins Caufield & Byers
   Mr. Stephen Schmidt         Amazon Web Services
   Ms. Suzanne Spaulding       Center for Strategic and International Studies
   Mr. Alex Stamos             Krebs Stamos Group
   Dr. Kate Starbird           University of Washington
   Mr. George Stathakopoulos   Apple
   Ms. Alicia Tate-Nadeau      Illinois Emergency Management Agency
   Ms. Nicole Wong             NWong Strategies

   Government Participants     Organization
   The Hon. Jen Easterly       Cybersecurity and Infrastructure Security Agency (CISA)
   The Hon. Chris Inglis       Office of the National Cyber Director (ONCD)
   The Hon. John K. Tien       Department of Homeland Security (DHS)
   Ms. Alaina Clark            CISA
   Mr. Chris DeRusha           Office of Management and Budget
   Ms. Osasu Dorsey            ONCD
   Ms. Victoria Dillon         CISA
   Mr. Jonathan Dunn           CISA
   Mr. Eric Goldstein          CISA
   Mr. Robert Kolasky          CISA
   Mr. Brent Logan             CISA
   Mr. Jason Mayer             DHS
   Ms. Kaitlin Seale           CISA
   Mr. Mark Stidd              CISA
   Ms. Kiersten Todt           CISA
   Ms. Megan Tsuyi             CISA
   Ms. Kim Wyman               CISA




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   Other Attendees            Organization
   Mr. Steve King             MITRE

   Contractor Support         Organization
   Ms. Laura Karnas           Booz Allen Hamilton
   Mr. Barry Skidmore         Insight
   Ms. Quynh Tran             Insight
   Ms. Jennifer Peters        Nexight Group


   Dial-In Participants       Organization
   Mr. Payton Alexander       Wiley Rein LLP
   Mr. Lee Allen              TSA
   Ms. Denise Anderson        Health ISAC
   Ms. Elizabeth Andrion      Charter Communications
   Mr. Billy Anglin           Sylint
   Ms. Felicia Archer         TSA
   Ms. Mariam Baksh           Nextgov
   Ms. Christina Berger       CISA SED
   Mr. Musadiq Bidar          CBS News
   Mr. Christopher Bidwell    Airports Council International
   Mr. Calvin Biesecker       Defense Daily
   Ms. Ashley Billings        CNN
   Mr. Charles Blackmore      US Coast Guard
   Mr. Peter Bloniarz         Office of Governor New York
   Mr. Per Brekke             Embassy of Norway
   Ms. Cynthia Brumfield      CSO Online
   Mr. Brandon Buchanan       American Bus Association
   Ms. Mary Byrd              TSA
   Ms. Courtney Callejas      US House of Representatives
   Ms. Genevieve Carnes       Association of American Railroads
   Mr. Christopher Castelli   Booz Allen Hamilton
   Mr. Michael Chandarlis     TSA
   Ms. Alicia Chavy           Beacon Global Strategies
   Ms. Lodrina Cherne         Cybereason
   Ms. Ruth Clemens           CISA
   Mr. George Coleman         TSA
   Ms. Kathryn Condello       Lumen
   Ms. Audrey Connors         Charter Communications
   Mr. Justin Cooksey         Department of Energy
   Ms. Bria Cousins           CNBC
   Ms. Ann Cutler             CISA
   Ms. Jumoke Dada            R Street Institute
   Mr. Raymond Decerchio      FAA


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   Dial-In Participants       Organization
   Ms. Grace Dille            Meri Talk
   Mr. Cameron Dixon          CISA
   Mr. Justin Doubleday       Federal News Network
   Ms. Nzinga Dyson           Lewis Burke Associates LLC
   Mr. Obum Egolum            Capital One Financial
   Ms. Sharon Eshelman        Lewisburke Associates
   Ms. Katie Ewers            McKesson Corporation
   Mr. Derrick Fail           NOAA
   Ms. Michelle Feldstein     CISA OSPP
   Mr. Erik Fredrickson       Alaska Communications
   Ms. Sara Freidman          Inside Cybersecurity
   Ms. Vijaya Gadde           Twitter
   Mr. Rory Gallagher         N/A
   Mr. Michael Garcia         Senate Homeland Security and Governmental Affairs
   Mr. Patrick Gaul           National Technology Security Coalition
   Mr. Gregory Gavins         Senate Homeland Security and Governmental Affairs
   Ms. Olivia Gazis           CBS News
   Mr. Eric Geller            POLITICO
   Ms. Heather Gerard         OASA ALT Army
   Ms. Leah Glaccum           Defense Business Board
   Ms. Tara Hairston          Alliance for Automotive Innovation
   Ms. Judith Harroun Lord    TSA
   Mr. Juan Hayes             TSA
   Ms. Katie Hazlett          Commonwealth Strategic Partner
   Mr. Andrew Hildick Smith   Water ISAC
   Mr. Maurice Ed Hudson      CISA CSD
   Mr. Michael Jacobs         TSA
   Mr. Eamon Javers           CNBC
   Mr. Bob Joachim            House Committee on Appropriations
   Mr. Lamar Johnson          MeriTalk
   Mr. Derek Johnson          SC Media
   Ms. Anne Johnson           CISA CSD Contractor
   Ms. Jillian Joyce          Committee on Homeland Security
   Mr. Albert Kammler         Van Scoyoc Associates
   Ms. Michealann Krause      Check Point Software Technologies
   Ms. Norma Krayem           Van Scoyoc Associates
   Mr. Pradeep Kumar          Tata Consultancy Services
   Mr. Jason Lamote           DHS Office of Legislative
   Ms. Laura Laybourn         CISA NRMC
   Ms. Christina Lee          Beacon Global Strategies
   Mr. Mark Lemmond           US Department of Energy



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   Dial-In Participants      Organization
   Mr. Harry Lesser          OASA ALT Army
   Mr. Devin Lynch           SecurityScorecard
   Mr. Rafi Martina          Senate Select Committee on Intelligence
   Ms. Tina Martinez         CISA SED
   Mr. Scott McConnell       CISA
   Mr. George McElwee        Commonwealth Strategic Partner
   Mr. Tim McGiff            Venable LLP
   Mr. Michael McWilliams    Defense Innovation Board
   Ms. Ceydi Mendoza         DHS TSA
   Ms. Maggie Miller         The Hill
   Ms. Celinda Moening       N/A
   Ms. Valerie Mongello      CISA
   Mr. Drew Morin            Tmobile
   Ms. Stacy O'Mara          Mandiant
   Mr. James Orgill          Identification Technology Part
   Ms. Cheri Pascoe          NIST
   Ms. Andrea Peterson       The Record
   Ms. Nancy Pomerleau       CISA SED
   Mr. Matthew Prince        Cloudflare
   Mr. Donald Andy Purdy     Huawei Technologies USA
   Ms. Kayla Renner          Monument Advocacy
   Mr. Chris Riotta          FCW
   Mr. Michael Rosado        Syntelligen Analytic Solutions
   Mr. Chris Rose            CISA
   Mr. Edward Rothgery       NSA
   Mr. Michael Ryan          US Coast Guard
   Ms. Farida Salama         TSA
   Ms. Geneva Sands          CNN
   Mr. Fred Schwien          Boeing
   Mr. Tony Sibert           CosmGroup LLC
   Mr. Eric Snyderman        CISA CSD
   Ms. Janet St. John        Assoc of American Railroads
   Ms. Donna Steward         Hi Trust Alliance
   Mr. Peter Su              Senate Homeland Security and Governmental Affairs
   Mr. David Sucherman       CNBC
   Mr. James Tollerson       Norfolk Southern
   Mr. Costis Toregas        Montgomery County MD and GW U
   Mr. Wesley Trimble        Commonwealth Strategic Partner
   Ms. Kimberly Underwood    AFCEA International
   Mr. Christian Vasquez     E&E News
   Mr. Joe Viens             Charter Communications



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   Dial-In Participants                  Organization
   Ms. Andrea Vittorio                   Bloomberg News
   Ms. Bridgette Walsh                   Financial Services ISAC
   Mr. Jonathan Walton                   TSA
   Mr. Michael Widomski                  CISA
   Mr. David Wood                        CISA
   Ms. Orlie Natalie Yaniv               Gigamon
   Mr. Darnell Young                     TSA
   Ms. Bridget Zamperini                 Federal Transit Administration


  CERTIFICATION
  I hereby certify that, to the best of my knowledge, the foregoing minutes are accurate and complete.

  Tom Fanning (approved on 18 December 2021)

  Mr. Tom Fanning
  CISA Cybersecurity Advisory Committee Chair




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                Addressing false claims and misperceptions of the UW Center for an
                Informed Public’s research
                Mar 16, 2023




                The researchers at the University of Washington’s Center for an Informed Public
                (CIP) are recognized leaders in the study of rumors, conspiracy theories, and mis-
                and disinformation Over the past decade, our research has made significant strides
                towards understanding and addressing these problems. Unfortunately, some of the
                projects CIP researchers have contributed to have become the subject of false claims
                and criticism that mischaracterizes our work, a tactic that peer researchers in this
                space are also experiencing As mis and disinformation researchers, it’s distressing
                — though perhaps not surprising — to see some of the very dynamics and tactics we
                study being used to disrupt and undermine our own work and its impact. That
                includes our work with the nonpartisan Election Integrity Partnership research
                collaboration that we helped launch in 2020 with the Stanford Internet Observatory
                and other partners.

                We’re incredibly proud of our work. We appreciate the University of Washington’s
                support as our team faces these false claims and conspiracy theories

                The criticism of the CIP’s research and team members is part of a larger effort
                that seeks to undermine work to understand and address online

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                misinformation, disinformation and other forms of strategic manipulation.
                This effort aims to equate work to understand and address these challenges with
                “censorship” — functioning to cast doubt on research investigating mis- and
                disinformation and to undermine interventions that attempt to create more
                trustworthy information spaces. The rhetoric is similar to that employed in support
                of attempts to reframe the events of January 6, 2021, and to counter the findings of
                the U.S. House’s select committee that investigated what led to the violent attack
                that day on the U.S. Capitol.

                One of the challenges of addressing misinformation is that corrections can
                often do more harm than good by bringing additional attention to false claims,
                and exposing new audiences. Indeed, it is well established that just hearing a false
                claim repeated, even within a correction, can make it more familiar, more
                memorable, and ultimately more believable for some audiences. Our team is very
                aware of the risks of giving oxygen to false claims. At the same time, we recognize
                the need to provide factual information that refutes some of the worst falsehoods
                and contextual information about how our work has been profoundly
                mischaracterized.

                Our research team has been studying online rumors and conspiracy theories for a
                decade. One thing we have learned is that some of the most effective false
                narratives work not by spreading outright falsehoods, but by selectively seizing upon
                and mis-contextualizing bits of factual information, layering those with
                exaggerations and distortions to create a false impression. Unfortunately, these
                false impressions aren’t easily refuted through facts that counter individual claims.
                Often, those rebuttals just provide more ammunition for additional
                misrepresentations. So we thought we might take a slightly different tact and engage
                at the level of the false impression to explain how misperceptions of our work are
                being weaponized to fit into established political narratives.


                False Impressions of the Election Integrity
                Partnership
                Many of the misleading narratives and consequent misperceptions focus on our
                work with the Election Integrity Partnership (EIP). In the summer of 2020,
                researchers from the Stanford Internet Observatory (SIO), the University of
                Washington’s Center for an Informed Public (CIP), Graphika and the Digital Forensics
                Research Lab (DFRLab) embarked upon a collaborative “rapid-response” effort,

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                which would become known as the Election Integrity Partnership, to surface,
                analyze, and communicate about rumors and misleading claims about election
                processes and procedures.

                False impression: CIP researchers were acting outside of the mission of the university.
                In mid-July of 2020, researchers at Stanford pitched the EIP to our team at the
                University of Washington’s Center for an Informed Public as a collaboration between
                four research organizations who would share resources and expertise to help
                identify and address the spread of harmful false and misleading information that
                might threaten the integrity of the U.S. election. As university researchers, we are
                encouraged both to contribute to scientific knowledge and to have “broader impact”
                on society. For example, CIP co-founder Kate Starbird participated, both as a PhD
                student and UW faculty member, in real-time “crisis mapping” projects that used
                crowdsourcing techniques to support disaster response after the Haiti earthquake,
                during the Deepwater Horizon oil spill, and around dozens of other events. The UW
                CIP team has specialized skills in social media data analysis and in July 2020, we
                accepted the invitation to join the EIP, offering to provide data analysis and
                communication support to the project. Our participation in the EIP directly aligns
                with the CIP’s public service mission and the UW’s commitment to public
                scholarship.

                False impression: The EIP is a partisan political project. This incorrect impression
                stems from an attempt to frame the empirical findings of the EIP — i.e., that
                misleading claims about election processes and results spread more among
                Republicans than Democrats — as reflecting political motives of the partnership’s
                mission. When we agreed to join, we ensured the effort was explicitly non-partisan.
                Plans included collaboration with an office within the Trump Administration
                (the Department of Homeland Security’s Cybersecurity and Infrastructure Security
                Agency) and outreach to both major political parties, who were invited to contribute
                to a crowdsourced tip-line. The founding mission of the EIP focused on
                protecting the integrity of elections, not on supporting any specific political
                outcome. The EIP’s work sought to mitigate the impact of false claims that might
                interfere with election processes as well as false claims about election interference.
                After the events of the 2016 election, we believed this mission to be a nonpartisan
                one.




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                False impression: The EIP was a “secret” project. This false impression first emerged
                in summer 2022 after online activists purported to “discover” the EIP’s work — in a
                peer-reviewed paper. This delayed discovery was not due to any nefarious effort by
                the EIP to obscure our work. On the contrary, we made every effort to share the
                products of our work and to accurately describe the processes underneath. In the
                weeks leading up to and following the November 2020 election, we published a
                number of blog posts, graphics and data visualizations showing how certain
                misleading narratives spread online, hosted news briefings, and fielded numerous
                interview requests from news organizations. In March 2021, our team published
                “The Long Fuse: Misinformation and the 2020 Election,” a nearly 300-page report
                that, in addition to describing our methods, documented the narratives and
                information dynamics of the “Big Lie.” We are incredibly proud of this research,
                which is part of the historical record, cited in the U.S. House select committee’s final
                report into what led to the January 6, 2021, attack on the U.S. Capitol. Our efforts
                from 2020 led to follow-up peer-reviewed research published in journals and
                conferences, including Nature Human Behaviour. And the paper that was “discovered”
                in the summer of 2022 was published in an open journal and promoted through our
                CIP website and social media accounts. The EIP’s work was conducted openly and
                transparently.

                False impression: The EIP was a “censorship” operation. At the core of most of the
                false impressions of our work is a rhetorical argument that seeks to equate efforts to
                understand and counter false and misleading information with “censorship.” This
                argument has increasingly been employed against social media moderation efforts
                — as though these companies do not routinely act to limit spam, pornography,
                harassment, impersonation, and other harmful content on their networks. In 2020,
                some social media platforms put into place “civic integrity” policies to mitigate the
                spread of false claims about the 2020 election, including content that could
                disenfranchise voters by confusing them about when or where to vote and content
                that delegitimized election results. One dimension of the EIP’s work was to alert
                social media platforms to misleading claims about election processes, discovered in
                the course of our analysis efforts, that may have violated their policies. Our
                understanding is that the social media platforms the EIP worked with provide similar
                reporting mechanisms for other researchers and organizations, in part because they
                do not currently have the internal capacity or expertise to do that work alone.
                Platforms also provide reporting mechanisms for all users to utilize should they

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                encounter content that goes against community guidelines. The EIP’s reports to the
                platforms were voluntary contributions to these companies efforts to mitigate
                election misinformation, and the platforms were not bound to act on the
                recommendations of our researchers. We disagree with the framing of the EIP’s
                work as “censorship” — and are troubled by broader efforts to equate research
                about misinformation and disinformation with “censorship.”

                False impression: The EIP orchestrated a massive “censorship” effort. In a recent
                tweet thread, Matt Taibbi, one of the authors of the “Twitter Files” claimed:
                “According to the EIP’s own data, it succeeded in getting nearly 22 million tweets
                labeled in the runup to the 2020 vote.” That’s a lot of labeled tweets! It’s also not
                even remotely true. Taibbi seems to be conflating our team’s post-hoc research
                mapping tweets to misleading claims about election processes and procedures with
                the EIP’s real-time efforts to alert platforms to misleading posts that violated their
                policies. The EIP’s research team consisted mainly of non-expert students
                conducting manual work without the assistance of advanced AI technology. The
                actual scale of the EIP’s real-time efforts to alert platforms was about 0.01% of
                the alleged size.

                False impression: The EIP’s purpose was to route moderation requests from outside
                organizations to social media platforms. This misimpression relies on three
                distortions of our reported work. First, though the EIP reported content to platforms,
                alerting platforms to content that violated their policies was only a small part
                of the EIP’s mission — and not equally shared across the four collaborating teams.
                Other activities included publicly communicating in “real time” about misleading
                claims and narratives through tweets and blog posts, documenting the wide range of
                misleading claims and narratives about the election in our final report, and
                publishing a dataset mapping tweets to hundreds of distinct claims. Second, though
                the EIP included a “crowdsourced” tip-line where external partners could share
                pieces of content for us to consider for review, our researchers made independent
                decisions about what to pass on to platforms, just as the platforms made their own
                decisions about what to do with our tips. Third, the majority of our work focused on
                content surfaced by our own, internal research team. The EIP’s purpose was to
                support U.S. democracy through independently organized efforts to identify,
                analyze, document, communicate about, and correct false rumors and
                disinformation about election processes and procedures.


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                False impression: The EIP operated as a government cut-out, funneling censorship
                requests from federal agencies to platforms This impression is built around falsely
                framing the following facts: the founders of the EIP consulted with the Department
                of Homeland Security’s Cybersecurity and Infrastructure Security Agency (CISA) office
                prior to our launch, CISA was a “partner” of the EIP, and the EIP alerted social media
                platforms to content EIP researchers analyzed and found to be in violation of the
                platforms’ stated policies. These are all true claims — and in fact, we reported them
                ourselves in the EIP’s March 2021 final report. But the false impression relies on the
                omission of other key facts. CISA did not found, fund, or otherwise control the
                EIP. CISA did not send content to the EIP to analyze, and the EIP did not flag
                content to social media platforms on behalf of CISA.

                False impression: The EIP collaborated with and worked to support the Biden
                Administration This impression builds upon documentation of the EIP’s partnership
                with CISA (an office that sits within the Executive Branch of government) and is used
                to promote a “weaponization of government” narrative aimed at the Biden
                Administration. However, this is easily corrected by a glimpse at the timeline. The EIP
                was founded in 2020 and its collaboration with the CISA office took place between
                July 2020 and November 2020. During that time, CISA was run by an appointee of
                President Trump. CISA’s association with the EIP was reviewed and approved by
                Trump Administration attorneys as compatible with CISA’s congressionally approved
                authorities When the EIP collaborated with an organization within the
                Executive Branch of the U.S. government (CISA), it was during the Trump
                Administration.

                False impression: Researchers at the University of Washington were paid and directed
                by the U.S. government in their work with the EIP. This misimpression builds from
                factual, public information about UW researchers’ federal grant funding, but
                integrates a mischaracterization of this funding being designated for EIP operations
                and conflates those operations with “censorship ” It then expands to include a false
                allegation that the agencies within the U.S. government and specifically the National
                Science Foundation (NSF) intentionally funded the University of Washington to
                “censor” specific voices. In 2020, UW participation in the EIP was predominantly
                funded by foundational and philanthropic funding UW personnel funded by Kate
                Starbird’s NSF CAREER grant did participate in post-election period analysis of EIP
                data for the partnership’s final report and for subsequent peer-reviewed
                publications — and that grant is publicly acknowledged in that work. However,
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                research grants from the U.S. government did not significantly fund nor did
                U.S. government funding agencies direct or encourage participation by UW
                students, staff, or faculty in the platform-alerting functions of the EIP.

                False impression: The EIP purposefully targeted conservative political speech. This
                false impression is created by underemphasizing the narrow scope of our research
                and highlighting specific elements of our empirical research findings (that more
                misinformation spread on the political right) without context (that these findings are
                unsurprising and align with other research). The EIP’s work was narrowly focused on
                content that 1) interfered with voting by misleading about when or where to vote; 2)
                encouraged others to commit fraud; 3) used intimidation or threats of violence to
                deter voting; or 4) delegitimized election results through the spread of false,
                misleading, or unsubstantiated claims. In the lead up to the 2020 election, the EIP
                reported on misleading claims spreading through left leaning audiences as well as
                right-leaning ones (e.g., here and here). After the election, the vast majority of false
                claims about the election emerged and spread among supporters of President
                Trump (a fact underscored by the January 6 violence at the U.S. Capitol), which is
                reflected in our data and reporting The EIP exclusively tracked and reported on
                false, misleading, and unsubstantiated claims about election processes and
                procedures. In 2020, those claims were far more prominent among supporters
                of President Trump (and the president himself) than other political groups.

                False impression: The EIP orchestrated content moderation decisions by social media
                platforms around the story of Hunter Biden’s laptop. This false impression has few
                facts or even details behind it, but takes shape through repeated speculation and
                insinuation The story of Hunter Biden’s laptop was out of scope for the EIP’s
                work and the EIP did not play any role in: 1) decisions by Twitter (or any other
                platform) to limit spread of the laptop story; or 2) attributions of the laptop
                story to foreign influence operations.


                False Impressions of Dr. Kate Starbird’s work
                on CISA’s external advisory committee
                In December 2021, CIP co-founder and faculty director Kate Starbird, a UW Human
                Centered Design & Engineering associate professor, was asked by CISA Director Jen
                Easterly to serve on CISA’s external advisory committee (CSAC) — and to chair the
                MDM subcommittee. “MDM” is an acronym used by the U.S. government to refer to
                misinformation, disinformation, and malinformation. Starbird agreed to chair the

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                MDM committee, which released a first set of recommendations in June 2022, and a
                second set of recommendations in September 2022, concluding the committee’s
                work.

                False impression: Members of CISA’s MDM advisory subcommittee worked as part of a
                “censorship regime ” This false impression combines the argument that “moderation
                equals censorship” with false speculation about the nature of the MDM
                subcommittee’s work. The MDM subcommittee did not participate in or
                recommend for others to participate in any activities related to social media
                platform moderation or other activities that could be construed, even broadly,
                as “censorship.” The subcommittee was initially tasked with addressing — through
                written recommendations — challenging questions about how CISA should structure
                their work, engage with external stakeholders, and address privacy concerns related
                to addressing mis and disinformation The subcommittee limited the scope of their
                work to the context of elections. The subcommittee’s recommendations focused not
                on how government or platforms should limit communication, but on how the CISA
                office should use their own communication, for example through public awareness
                campaigns, debunking falsehoods, and helping to amplify factual information from
                local and state election officials. The subcommittee did not recommend or discuss
                what actions social media platforms should take pertaining to specific content or
                types of content. Subcommittee members Kate Starbird and Vijaya Gadde did not
                discuss activities that platforms have taken or should take regarding specific content
                or policies more generally — neither within their roles on the committee or outside
                them. The CSAC MDM subcommittee did not discuss whether or how social
                media platforms should moderate content, either in specific cases or more
                generally.

                False impression: CISA’s MDM subcommittee recommended that the federal
                government participate in monitoring of social media platforms and other information
                spaces This misimpression emerged following an unfortunate November 2, 2022,
                article in The Intercept that included a misleading edit and broader
                mischaracterization of the subcommittee and its work. The article stated that the
                subcommittee had recommended CISA to “closely monitor ‘social media platforms of
                all sizes, mainstream media, cable news, hyper partisan media, talk radio and other
                online resources.’” To be clear, the MDM subcommittee explicitly never
                advocated for CISA to monitor or “closely monitor” anything. During internal
                discussions, the members noted that questions about social media monitoring by
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                CISA and other government offices were beyond the capacity of the subcommittee
                and, though initially tasked with providing recommendations on that aspect of CISA’s
                work, the subcommittee intentionally did not provide recommendations about this.
                The Intercept added “closely monitor” to a section of the report that was instead
                encouraging CISA to consider the challenge of MDM as broader than just social
                media. This misleading misquote of the report has contributed to a lasting,
                widespread, and harmful misperception about the MDM subcommittee’s
                work.


                What comes next and what’s at stake?
                At the University of Washington’s Center for an Informed Public, our research
                team has developed unique expertise, including methods and infrastructure,
                for rapid analysis of social media information flows during fast-paced and
                high-visibility events. Our researchers have a long track record of studying rumors,
                conspiracy theories and mis- and disinformation that not only pre-dates the
                formation of the Election Integrity Partnership in 2020, but also our own research
                center, which was established at the University of Washington in 2019. This vital
                work will continue.

                As multiple public opinion polls show, Americans are very concerned about
                mis- and disinformation, which can be harmful in certain contexts and lead to
                poor decision making during crises and emergencies. Disinformation can
                manipulate individuals and societies in harmful ways. Pervasive disinformation can
                undermine our trust in information, in science, in our foundational institutions, and
                in each other. Online mis- and disinformation have real-life consequences, as we
                saw on January 6, 2021.

                Our work at the CIP, including our Election Integrity Partnership collaboration in
                2020, has been transparent, research-driven, and rooted in support for democracy
                and support for a more informed public. This is the CIP’s mission. This work will
                continue. We’re currently working on a final report around our research on the 2022
                U.S. midterm elections, expected for release in the coming months, but you can
                explore blog posts and other analysis we published and shared via Twitter last fall.

                As researchers who study the dynamics of rumors, conspiracy theories, and mis-
                and disinformation online, we’re well familiar with Brandolini’s Law, or the bullshit
                asymmetry principle where the “amount of energy needed to refute bullshit is an

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                order of magnitude bigger than to produce it.” As we’ve been responding to this
                slurry of false claims, distortions and misunderstandings, we’ve learned that all the
                attention on our research and researchers underscores their importance and
                impact. We will continue to stand behind and defend our work.

                Kate Starbird
                Associate Professor, University of Washington Human Centered Design &
                Engineering
                Co-Founder and Director, UW Center for an Informed Public

                Ryan Calo
                Professor, UW School of Law and UW Information School
                Co-Founder, UW Center for an Informed Public

                Chris Coward
                Senior Principal Research Scientist, UW Information School
                Co-Founder, UW Center for an Informed Public

                Emma S. Spiro
                Associate Professor, UW Information School
                Co-Founder, UW Center for an Informed Public

                Jevin D. West
                Associate Professor, UW Information School
                Co-Founder, UW Center for an Informed Public


                Other News




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                A chatbot exercise in ‘BSing the BS principle’
                Apr 4, 2023


                In a March 31 opinion in The Seattle Times about AI chatbots, University of
                Washington Center for an Informed Public co-founder Jevin West says that
                chatbots will be “vectors of propaganda,” make it harder to discern truth and
                further erode trust in institutions.

                Read More




                Responding to recent questions about Kate Starbird’s
                participation on a CISA external advisory committee
                Apr 4, 2023


                Over the past several months, our team at the University of Washington Center for
                an Informed Public has been responding to inquiries related to our research and
                UW associate professor Kate Starbird’s participation on an external advisory
                committee for the Cybersecurity and Infrastructure Security Agency (CISA)



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                Read More




                At MisinfoDay 2023 events across Washington, high
                school students and educators learn valuable skills
                Mar 28, 2023


                Approximately 700 Washington high school students, teachers, librarians and other
                educators participated in MisinfoDay 2023 programs in March across three in-
                person events at the University of Washington in Seattle and Washington State
                University in Pullman and Vancouver.

                Read More




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SUBCOMMITTEE FACTSHEET
Background
The CISA Cybersecurity Advisory Committee has established six subcommittees to study various aspects of CISA’s
cybersecurity efforts:
    •   Transforming the Cyber Workforce;
    •   Turning the Corner on Cyber Hygiene;
    •   Technical Advisory Council;
    •   Protecting Critical Infrastructure from Misinformation and Disinformation;
    •   Building Resilience and Reducing Systemic Risk to Critical Infrastructure; and
    •   Strategic Communications
Subcommittees
    •   Transforming the Cyber Workforce
            o Purpose: Will focus on building a comprehensive strategy recommendation to identify – and develop –
                the best pipelines for talent, expand all forms of diversity, and develop retention efforts to keep our best
                people. We will also aim to find creative ways to educate communities “K through Gray” to develop a
                better-informed digital workforce and to inspire the next generation of cyber talent.
            o Chair: Ron Green
            o CSAC Members: Nicole Perlroth, Nicole Wong, and Chris Young

    •   Turning the Corner on Cyber Hygiene
            o Purpose: Will help determine how Government and industry can collaborate to identify appropriate goals
                 and ensure strong cyber hygiene is easy to execute.
            o Chair: George Stathakopoulos
            o CSAC Members: Bobby Chesney, Nuala O’Connor, Matthew Prince, Steve Schmidt, and Alex Stamos

    •   Technical Advisory Council
            o Purpose: Will be comprised of hackers, vulnerability researchers, and threat intelligence experts to get
                direct feedback from front-line practitioners whose work is vital to the security of our nation
            o Chair: Jeff Moss
            o Subcommittee Members: Dino Dai Zovi, Luiz Eduardo, Isiah Jones, Kurt Opsahl, Runa Sandvik, Yan
                Shoshitaishvili, Rachel Tobac, David Weston, Bill Woodcock, and Yan Zhu

    •   Protecting Critical Infrastructure from Misinformation and Disinformation
            o Purpose: Will evaluate and provide recommendations on potentially effective critical infrastructure
                 related counter-MDM efforts that fit within CISA’s unique capabilities and mission.
            o Chair: Kate Starbird
            o CSAC Members: Vijaya Gadde, Suzanne Spaulding, and Alicia Tate-Nadeau

    •   Building Resilience and Reducing Systemic Risk to Critical Infrastructure
            o Purpose: Will help to determine how to best drive national risk management and determine the criteria
                 for scalable, analytic model to guide risk prioritization.
            o Chair: Tom Fanning
            o    CSAC Members: Marene Allison, Lori Beer, and Kevin Mandia

    •   Strategic Communications
            o Purpose: Will focus on evaluating and making recommendations on expanding CISA’s reach with critical
                 partners to help build a national culture of cyber resilience. The subcommittee will provide
                 recommendations to help promote CISA as a willing and collaborative partner, working arm-in-arm with
                 partners to understand, manage, and reduce risk to our cyber and physical infrastructure. SC will
                 highlight CISA’s partners and showcase the success that comes from collaboration.
            o Chair: Niloofar Razi Howe
            o CSAC Members: Steve Adler, Nicole Perlroth, and Ted Schlein
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                                      REPORT TO THE CISA DIRECTOR
               Protecting Critical Infrastructure from Misinformation and Disinformation

                   Information Sharing Around Foreign Adversary Threats to Elections

                                                 September 13, 2022

Introduction:
The Protecting Critical Infrastructure from Misinformation and Disinformation (MDM) Subcommittee submitted a first
set of recommendations in June 2022. The recommendations outlined below aim to emphasize and add further detail
to key points and provide additional items for consideration.

Findings:
In 2017-2018, in the wake of revelations of persistent social media manipulation by Russia-affiliated organizations such
as the Internet Research Agency, there was widespread concern about foreign disinformation operations targeting U.S.
audiences — especially in the context of elections. In more recent years, attention has shifted to domestic sources of
disinformation, but there are reasons to anticipate that the elections in 2022 and 2024 may again attract significant
foreign sources of potential interference. With the U.S. providing significant aid to Ukraine and imposing strong economic
sanctions against Russia, the Russian government has every incentive to disrupt the upcoming elections in ways that will
exacerbate existing mistrust of the process and potentially cause the kind of chaos that can lead to political violence.
China, too, may have an incentive to interfere in the U.S. elections as a response to what they see as provocations
regarding Taiwan or to further their narrative that U.S. democracy is chaotic and corrupt. The U.S. federal government,
state and local election officials, the courts, social media platforms, traditional media, and other relevant organizations
should all prepare for significant information operations, including those enabled by malicious cyber activity (whether
successful or merely noisy attempts), from Russia, China, and other adversaries.

If the objective of adversary operations targeting elections is to exacerbate a lack of trust in the process, foreign attacks
on U.S. election infrastructure are likely to involve two integrated attack vectors. Similar to a “hack-and-leak” operation,
we might term this type of attack a “hybrid cyber-misinformation and disinformation (MDM)” attack. The first vector
involves attempting to infiltrate (i.e., hack) that infrastructure to cause damage by changing voter rolls or votes (a
traditional cybersecurity threat to a critical function). The second involves information operations to draw attention to
infiltration (even if attempted hacks were unsuccessful) or broader information operations designed to undermine trust
in the process, thereby undermining the critical function of elections. It is therefore important to prepare for, detect, and
respond to these operations holistically — along both their cybersecurity and information dimensions.

Recommendations:
Stemming from these insights, we have the following recommendations outlined below:

    •   Share information with state and local election officials. CISA should work with the Intelligence Community
        (IC), including the Federal Bureau of Investigation, to ensure that the information needs of election officials
        around foreign disinformation threats are prioritized. To identify the intelligence requirements of local and
        state election officials, CISA should work with the Elections Infrastructure Government Coordinating Council
        (GCC). In particular, the CSAC believes that providing information and assistance to the many local elections
        officials across the country is critical, not just secretaries of state or election officials at the state level.
        Considering the fundamental importance of elections, CISA should ensure that intelligence information about
        adversary activity related to elections is promptly shared with state and local elections officials with as much

CISA CYBERSECURITY ADVISORY COMMITTEE                                                                                     1
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       detail as possible, including attribution, consistent with protection of sources and methods.
   •   Protect the courts. Given the essential role courts play in ensuring the resolution of disputes about the
       election process and ensuring the peaceful transfer of power, they, too, may be the target of an intensified
       campaign to undermine public trust in the legitimacy of their processes. CISA should consider the following
       two recommendations that:

           o   Relevant information around foreign hacking and disinformation attacks are shared with the courts;
               and
           o   The IC includes adversary activity targeting the courts in the collection and analysis priorities related
               to elections.




CISA CYBERSECURITY ADVISORY COMMITTEE                                                                                 2
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                                Supporting State and Local Elections Officials

                                               September 13, 2022

Introduction:
The MDM Subcommittee submitted a first set of recommendations in June 2022. The recommendations outlined
below aim to emphasize and add further detail to key points and provide additional items for consideration.

Findings:
CISA should continue to provide resources for state and local election officials to support their efforts to address
misinformation and disinformation (MDM) targeting their jurisdictions. State and local election officials are first-hand
sources for information about elections. CISA should support their efforts to effectively communicate accurate
information and actively counter inaccurate information about their election materials and processes.

Recommendations:
    1. At the highest level, CISA should share up to date “best practices” around how to proactively address and
       counter MDM based on the most recent research. To help election officials craft their messaging, CISA should
       provide templates and customizable content that local and state election officials can adapt to their specific
       needs. A particular need for many local and state election officials is around establishing a website. CISA
       should provide resources, including templates and grants for technical support — e.g., to create and maintain
       websites to host election-related resources for their constituents. CISA has a massive audience and
       communication resources and should leverage both to amplify content — including accurate information
       about election materials and procedures — from local and state election officials.

    2. CISA must ensure that there is a national effort to bring insights together on an ongoing basis, and to share
       tools, training, and templates. Elections are ultimately local and must be managed locally. That said, some of
       these disinformation campaigns are likely to use similar tactics, techniques, and messaging aimed at multiple
       jurisdictions.

    3. CISA's role in this whole-of-nation effort to counter adversary information operations around upcoming
       elections should be consistent with this Subcommittee's earlier recommendations, with a focus on furthering
       CISA's existing mission. Within the federal government, the intelligence community is likely to have the best
       insights on foreign adversary activity. CISA's role should be to ensure that those insights are promptly
       provided to state and local election officials. CISA should also consider unique aspects of foreign information
       operations when developing tools, templates, and training for those officials.




CISA CYBERSECURITY ADVISORY COMMITTEE                                                                                3
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                                    Home Blog Election 2020




   Oct 5, 2022



   A Statement from the
   Election Integrity
   Partnership
   There has been a lot of recent interest in the work of the Election Integrity Partnership, and we are thrilled that a
   much larger audience of citizens is interested in hearing about our efforts to detect and research election-related
   disinformation. Unfortunately, not everything written or said on TV about us has been correct, so we wanted to
   present some basic facts:

         • The Election Integrity Partnership is a non-partisan collaboration with a tightly defined mission to
            find and investigate false rumors and disinformation about election processes and procedures.
            Evaluating claims about candidates, their positions, and political parties – whether true or false – is not part
            of EIP’s mission. Our focus, as described in multiple posts and our final report, has been on identifying
            attempts to interfere in the running of an election, to encourage fraud, or to delegitimize the results using
            false or misleading claims. For example, the controversy over Hunter Biden’s laptop is an example of a topic
            that would not be in scope for EIP, and we had no part in the discussion around the appropriate treatment of
            that story. A table from our final report:




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             A grid showing the four categories of election disinformation in scope for the EIP, from The Long
             Fuse: Misinformation and the 2020 Election (stanford.edu)



         • The Election Integrity Partnership has always operated openly and transparently. We published
            multiple public blog posts in the run-up to the 2020 election, hosted daily webinars immediately before and
            after the election, and published our results in a 290-page final report and multiple peer-reviewed academic
            journals. Any insinuation that information about our operations or findings were secret up to this point is
            disproven by the two years of free, public content we have created.

         • The Cybersecurity and Infrastructure Security Agency (CISA) was created by the CISA Act, passed
            unanimously by both houses of Congress and signed by President Trump in November 2018. Its mission is
            to protect critical infrastructure (including that around elections) in the United States from cyber threats —
            including both hacking and what the federal government refers to as “MDM” (misinformation, disinformation,
            and malinformation). A core part of CISA’s work is forging collaborations between government and industry
            to help defend our critical infrastructure against cybersecurity threats. CISA’s website describes how the
            organization connects “stakeholders in industry and government to each other and to resources, analyses,
            and tools to help them build their own cyber, communications, and physical security and resilience, in turn
            helping to ensure a secure and resilient infrastructure for the American people.”

         • EIP’s partnership with CISA began under the Trump administration. The EIP partnered with CISA in
            2020, both to help them understand rumors and disinformation around the 2020 election and so CISA could
            provide corrective and/or clarifying information from election officials. At the time of that partnership, the
            agency was run by an appointee of President Trump, and CISA’s relationship with EIP was reviewed and
            approved by Trump Administration attorneys as compatible with CISA’s congressionally approved
            authorities.

         • CISA did not send any examples of potential misinformation to EIP. EIP was in contact with the nearly
            10,000 bipartisan local election officials around the country via the Elections Infrastructure Information
            Sharing and Analysis Center (EI-ISAC). Local officials of either or no party could send issues to EIP for us to
            investigate so they could respond to disinformation through the media or CISA via the “Rumor Control”
            website. To be clear, EIP did not send any reports of false rumors or disinformation to social media
            companies on behalf of the Department of Homeland Security or the Cybersecurity and Infrastructure
            Security Agency.

         • Most incidents EIP analyzed were discovered internally. Though EIP allowed several outside groups to
            send in reports of potential election disinformation, the vast majority (79%) of the incidents we investigated
            were first discovered by our own analysts. External reports generated tickets that were investigated by our
            analysts in the same manner as potential disinformation discovered internally. The judgment of whether
            something qualified as mis- or disinformation and was “in scope” for our project was made by EIP’s
            leadership, and information that was sent to us was not treated differently than any report generated
            internally by our analysts.

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         • Social-media platforms, not EIP, decided which action to take. The EIP collected examples of
            falsehoods about the election into consolidated reports and, when we believed that these falsehoods
            violated the policies of social media platforms, we sent along our reports. Each company made their own
            determinations on how to treat our reports. Here is an example of one of those reports, drawn from our
            public report of March 2021:




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   A screenshot of a ticket reporting the Sharpiegate misinformation to several platforms, from The Long Fuse:
   Misinformation and the 2020 Election (stanford.edu)



            The EIP was able to communicate with a bipartisan group of local election officials on this issue via the EI-
            ISAC. After our referral, many examples of the false “Sharpiegate” rumors continued to exist on social media
            (and still do) but were possibly labeled or demonetized.

         • Both the Republican National Committee and Democratic National Committee were invited to submit
            tickets. We offered a wide set of organizations the ability to send in potentially false claims for us to
            investigate, including both the Republican and Democratic National Committees. The Republican National
            Committee was contacted on July 28, 2020. They did not respond to our inquiry and did not submit any
            referrals.

         • The Democratic National Committee ended up sending four reports to the EIP:

                 ○ One report involved a claim about voting-by-mail that received little traction and was closed without
                     action.

                 ○ One report was for a political ad on Facebook that made false claims about vote-by-mail fraud in an
                     attempt to raise money. This ad was identical to an ad that had already been disabled by Facebook
                     and was referred to Facebook as such.

                 ○ One report listed several spammy content farms with extreme political content. The majority of the
                     content was not within the tight scope of the EIP and discarded, and a handful of posts were
                     monitored but did not have significant traction. No referrals were made to social media platforms.

                 ○ One report led our team to discovering two linked Facebook pages attempting to mislead American
                     voters using Facebook Ads. One of these ads incorrectly claimed that completed ballots had been
                     thrown out. We alerted Facebook to this ad, and they suspended it. We observed that even after
                     being suspended, shares of the ad remained visible and unlabeled on the platform. This investigation
                     was immediately written up in this blog post.

         • One ticket was sent to the DNC to enlist their help in stopping election misinformation being spread
            by Democrats. The EIP received reports from the Maryland State Board of Elections and the National
            Association of State Election Directors that a graphic containing incorrect vote-by-mail request deadlines
            had been shared by Democratic party affiliates; the DNC was tagged to alert them to the mistakes in the
            content as EIP analysts looked into the material. A follow-up indicated that Facebook had been
            independently notified and took action on the posts with incorrect dates.

         • An NAACP referral exposed a false claim against the Proud Boys. We also reached out to multiple civil
            society groups concerned with election rumors in their communities, including the NAACP. There was only
            one referral from the NAACP, expressing concern about their membership receiving threatening emails that
            claimed to be sent by the Proud Boys on behalf of President Trump. We immediately investigated both the
            emails and a related video, which claimed to show Proud Boys hackers creating fake mail-in ballots to rig the
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            election for President Trump. During our analysis, we discovered discrepancies in the video that proved that
            the targets for this attack were not actually U.S. election systems but a virtual machine hosted in Moldova.
            We immediately sent our analysis to the team at CISA, who forwarded it to the FBI and other government
            agencies. Soon afterward, a united team of leadership from across the Trump Administration announced that
            this campaign had originated in Iran, and two Iranian individuals have since been indicted for attempting to
            interfere in the U.S. election. We are pleased to have played a small role in helping prevent Iranian agents
            from creating a false belief that President Trump was stealing the 2020 election in concert with the Proud
            Boys. We promptly shared our research in a blog post here.

         • Claims that our work was designed to target conservative voices are false. Contrary to assertions that
            we ignored false rumors and disinformation on the political left, we worked hard to be balanced in our work.
            We reported on election rumors and disinformation targeting and spreading within Democrat-voting
            audiences — for example, in a blog post that covered rumors emerging from criticism of the U.S. Postal
            Service. However, the vast majority of false rumors and disinformation about the 2020 election spread
            primarily through far-right influencers catering to Trump-voting audiences, reflecting the asymmetrical nature
            of the phenomenon. Our research — which has been peer-reviewed in academic journals and aligns with
            other research and reporting by journalists and news organizations — reflects that trend.

         • The EIP does not “target” individual influencers, but we do factually report on their impact. Through
            careful analysis of hundreds of “incidents” of false/misleading claims, our research team identified high-
            profile accounts of media and political figures who were repeatedly influential in the spread of false and
            misleading claims questioning the integrity of the 2020 U.S. election. We identified a similar list of media
            domains that were similarly influential in the spread of false and misleading election claims. These lists were
            not provided directly to any partner organization. We published them through our website, public
            presentations, our “Long Fuse” report, and most recently in a peer-reviewed paper — as well as a statement
            to the U.S. House Select Committee on the January 6 Attack on the United States Capitol.

         • Claims that the Biden Administration funded the EIP and that the research funding we have received
            was motivated by the federal government seeking to censor specific voices are patently false.

                 ○ The operations of the EIP are primarily funded through philanthropic grants to partner organizations.
                     However, the work of the EIP generated a rich dataset for research into the spread of rumors and
                     disinformation, and some of the post hoc work analyzing the data generated by the EIP has been
                     funded by the National Science Foundation, initially through a grant to study online disinformation that
                     preceded the formation of the EIP and now through a grant that specifically supports this research.

                 ○ In August 2021, the National Science Foundation, through its Secure and Trustworthy Cyberspace
                     (SaTC) program, awarded a $3 million collaborative grant to a team led by the University of
                     Washington and Stanford University for research that is developing and evaluating "rapid response”
                     methods for studying and communicating about disinformation at a sophistication and pace on par
                     with the dynamic and interdisciplinary nature of the challenge, like that currently being done through
                     our research partnership. This grant supports translating the EIP’s work into research contributions,

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                     including frameworks for other groups to use to identify, analyze, and communicate about
                     disinformation.

                 ○ Our researchers have a long track record of receiving research funding from the National Science
                     Foundation to study online rumoring and disinformation. Our application to the NSF was reviewed by
                     a panel of outside experts and awarded based on the strength of the research. Any claim that the
                     funding of this work emerged as a “reward” for “censoring” specific voices or a commitment to do the
                     same in the future, is false.

   As researchers who spend our days dealing with false claims, propaganda, and disinformation, we are not
   surprised when our work is targeted, including by some of the same people and organizations who are weakening
   American democracy by spreading or supporting baseless claims of non-existent election fraud. Dealing with such
   false claims is a part of doing this research. But in the wake of these false reports, members of our team, which
   includes students, have received threatening emails and social media messages for participating in an academic
   research project. That isn’t right.

   There has also been some interest expressed in our work by members of Congress. Several of our leaders have
   testified repeatedly on these topics, and we would be happy to return to Congress to discuss our work and how
   domestic disinformation actors are damaging the long-term health of American democracy.

   The EIP is continuing its nonpartisan and collaborative work in the 2022 election cycle. Our aim is not to fact-
   check, nor to decide what is or isn’t “misinformation.” We aim to understand how bad-faith actors manipulate the
   information environment, how corrections flow through the network, and how genuine confusions might be
   reduced. Our mission is to pass our insights on to the public and our partners to strengthen our shared
   democracy.

   Thank you for your interest in the work of the Election Integrity Partnership.




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             Voting Rights Legislation                                                10 Factors That Shape a
             Framed to Support Election
                                                                                   Rumor’s Capacity for Online
             Conspiracy Theories About
                                                                                                       Virality
             Non-citizens Voting




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                                                 Department of Justice (D.O.J.)

                                               National Security Division (NSD)

                                                      (NEWS RELEASE)

              DEPUTY ASSISTANT ATTORNEY GENERAL ADAM S. HICKEY TESTIFIES BEFORE
            SENATE JUDICIARY COMMITTEE AT HEARING TITLED “ELECTION INTERFERENCE:
          ENSURING LAW ENFORCEMENT IS EQUIPPED TO TARGET THOSE SEEKING TO DO HARM”

                                                         June 12, 2018
Good morning, Chairman Grassley, Ranking Member Feinstein, and distinguished Members of the Committee. Thank you for
the opportunity to testify on behalf of the Department of Justice concerning our efforts to combat election interference.

The Attorney General identified this issue as a priority when he created a Cyber-Digital Task Force earlier this year and directed
it to address “efforts to interfere with our elections,” among other threats. That Task Force is expected to submit a report to
the Attorney General by the end of this month and will issue a public report in mid-July. The Department appreciates the
Committee's interest in making sure that law enforcement has the tools we need to target those who may seek to do us harm
by interfering in our elections.

As I describe below, the Department's principal role in combatting election interference is the investigation and prosecution
of Federal crimes, but our investigations can yield more than criminal charges to protect national security. Foreign influence
efforts extend beyond efforts to interfere with elections, and they require more than law enforcement responses alone. I will
cover three areas in my testimony today. First, I will describe what we mean by the term “foreign influence operations” and
provide examples of operations we have observed in the past. Second, I will discuss how the Department has categorized recent
foreign influence operations targeting our elections. Third, and finally, I will explain how the Department is responding to those
operations and how our efforts fit within the “whole of society” approach that is necessary to defeat foreign influence operations.
   1. Background on Foreign Influence Operations

Foreign influence operations include covert actions by foreign governments intended to affect U.S. political sentiment and
public discourse, sow divisions in our society, or undermine confidence in our democratic institutions to achieve strategic
geopolitical objectives.

Foreign influence operations aimed at the United States are not a new problem. These efforts have taken many forms across the
decades, from funding newspapers and forging internal government communications, to more recently creating and operating
false U.S. personas on Internet sites designed to attract U.S. audiences and spread divisive messages. The nature of the problem,
however - and how the U.S. government must combat it - are changing as advances in technology allow foreign actors to reach
unprecedented numbers of Americans covertly and without setting foot on U.S. soil. Fabricated news stories and sensational
headlines like those sometimes found on social media platforms are just the latest iteration of a practice foreign adversaries
have long employed in an effort to discredit and undermine individuals or organizations in the United States.

Although the tactics have evolved, the goals of these activities remain the same: to spread disinformation and to sow discord
on a mass scale in order to weaken the U.S. democratic process, and ultimately to undermine the appeal of democracy itself.

As one deliberate component of this strategy, foreign influence operations have targeted U.S. elections. Indeed, elections are
a particularly attractive target for foreign influence campaigns because they provide an opportunity to undermine confidence
in a core element of our democracy: the process by which we select our leaders. As explained in the January 2017 report



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by the Office of the Director of National Intelligence (ODNI) addressing Russian interference in the 2016 U.S. presidential
election, Russia has had a “longstanding desire to undermine the U.S.-led liberal democratic order,” and that nation's recent
election-focused “activities demonstrated a significant escalation in directness, level of activity and scope of effort compared
to previous operations.” Russia's foreign influence campaign, according to ODNI, “followed a Russian messaging strategy that
blends covert intelligence operations - such as cyber activity - with overt efforts by Russian Government agencies, state-funded
media, third-party intermediaries, and paid social media users or ‘trolls.”’

Although foreign influence operations did not begin and will not end with the 2016 election, the operations we saw in 2016
represent a significant escalation in the directness, level of activity and scope of efforts aimed at the United States and our
democracy, based in large part on the utility of the Internet for conducting these operations. They require a strong response.
  2. Types of Foreign Influence Operations

In advance of the 2018 mid-term elections, the Department is mindful of ODNI's assessment that Russia, and possibly other
adversaries, likely will seek to interfere in the 2018 midterm elections through influence operations. Such operations could
include a broad spectrum of activity, which we categorize as follows. Importantly, these categories are just a way to conceptualize
the types of foreign influence activity our adversaries might engage in; they are not an indication that foreign governments
actually have engaged in each described category of activity.

1. Cyber operations targeting election infrastructure. Such operations could seek to undermine the integrity or availability of
election-related data. For example, adversaries could employ cyber-enabled or other means to target election infrastructure, such
as voter registration databases and voting machines. Operations aimed at removing otherwise eligible voters from the rolls or
attempting to manipulate the results of an election (or even just disinformation suggesting that such manipulation has occurred),
could undermine the integrity and legitimacy of elections, as well as public confidence in election results. To our knowledge, no
foreign government has succeeded in perpetrating ballot fraud, but raising even the doubt that it has occurred could be damaging.

2. Cyber operations targeting political organizations, campaigns, and public officials. These operations could seek to
compromise the confidentiality of private information of the targeted groups or individuals, as well as its integrity. For
example, adversaries could conduct cyber or other operations against U.S. political organizations and campaigns to steal
confidential information and use that information, or alterations thereof, to discredit or embarrass candidates, undermine
political organizations, or impugn the integrity of public officials.

3. Covert influence operations to assist or harm political organizations, campaigns and public officials. For example,
adversaries could conduct covert influence operations to provide assistance that is prohibited from foreign sources to political
organizations, campaigns and government officials. These intelligence operations might involve covert offers of financial,
logistical, or other campaign support to, or covert attempts to influence the policies or positions of, unwitting politicians, party
leaders, campaign officials, or even the public.

4. Covert influence operations, including disinformation operations, to influence public opinion and sow division. Using false
U.S. personas, adversaries could covertly create and operate social media pages and other forums designed to attract U.S.
audiences and spread disinformation, or divisive messages. These messages need not relate directly to campaigns. They may
seek to depress voter turnout among particular groups, encourage third-party voting, or convince the public of widespread voter
fraud in order to undermine confidence in election results.

5. Overt influence efforts, such as the use of foreign media outlets or other organizations to influence policymakers and the
public. For example, adversaries could use state-owned or state-influenced media outlets to reach U.S. policymakers or the
public. Governments can disguise these outlets as independent, while using them to promote divisive narratives and political
objectives.
   3. The Department of Justice's Role in Addressing Foreign Influence Operations




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The Department of Justice has a significant role in investigating and disrupting foreign government activity inside the United
States that threatens U.S. national security. With both law enforcement and intelligence authorities, the FBI is the lead federal
agency responsible for investigating foreign influence operations, and the Department's prosecutors are responsible for charging
and prosecuting any federal crimes committed during a foreign influence operation. The FBI has established the Foreign
Influence Task Force (FITF) to identify and combat foreign influence operations targeting U.S. democratic institutions, with
focus on the U.S. electoral process and the 2018 and 2020 elections. Through our own authorities and in close coordination
with our partner Departments and agencies, the Department can act against threats posed by foreign influence operations in
several ways.

First, as an intelligence-driven organization and member of the Intelligence Community (IC), the FBI can pursue tips and leads,
including from classified information, to investigate illegal foreign influence activities and, in coordination with the IC and the
Department of Homeland Security, share information from those investigations with State and local election officials, political
organizations, and others to help them detect, prevent, and respond to computer hacking, espionage, and other criminal activities.

Second, through the FITF, the Department maintains strategic relationships with social media providers, who bear the primary
responsibility for securing their own products, platforms and services from this threat. By sharing information with them, the
FBI can help providers with their own initiatives to track foreign influence activity and to enforce terms of service that prohibit
the use of their platforms for such activities. This approach is similar to the Department's approach in working with social media
providers to address terrorists' use of social media.

Third, the Department's investigations may expose conduct that warrants criminal charges. Criminal charges are a basic tool
the Department uses to pursue justice and deter similar conduct in the future. We work with other nations to obtain custody
of foreign defendants whenever possible, and those who seek to avoid justice in U.S. courts will find their freedom of travel
significantly restricted. Criminal charges also provide the public with information about the activities of foreign actors we seek
to hold accountable and raise awareness of the threats we face.

Fourth, the Department's investigations can support the actions of other U.S. government agencies using diplomatic, intelligence,
military, and economic tools. For example, in several recent cases, the Secretary of the Treasury has imposed financial sanctions
on defendants abroad under executive orders that authorize the imposition of sanctions for malicious cyber-enabled activity.
(See E.O. 13694 (Apr. 1, 2015), as amended by E.O. 13757 (Dec. 29, 2016).) Treasury's action blocked all property and interests
in property of the designated persons subject to U.S. jurisdiction and prohibited U.S. persons from engaging in transactions
with the sanctioned individuals.

Finally, in appropriate cases, information gathered during our investigations can be used - either by the Department or in
coordination with our U.S. government partners - to alert victims, other affected individuals, and the public to foreign influence
activities. Exposure of foreign influence operations ultimately may be one of the best ways to counter them. Victim notifications,
defensive counterintelligence briefings and public safety announcements are traditional Department activities, but they must be
conducted with particular sensitivity in the context of elections, to avoid even the appearance of partiality.

In taking these actions, we are alert to ways in which current law may benefit from reform. By providing ready access to the
American public and policymakers from abroad, the Internet makes it easier for foreign governments to evade restrictions on
undeclared domestic activities and mask their identities while reaching an intended audience. We welcome the opportunity to
work with Congress to combat foreign influence operations, including those aimed at our elections, by clarifying or expanding
our laws to provide new tools or sharpen existing ones, if appropriate.
   4. Conclusion

The nature of foreign influence operations will continue to change as technology and our foreign adversaries' tactics continue
to change. Our adversaries will persist in seeking to exploit the diversity and richness of today's information space, and the
tactics and technology they employ will continue to evolve.



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The Department plays an important role in combating foreign efforts to interfere in our elections. At the same time, it cannot and
should not attempt to address the problem alone. There are limits to the Department's role - and the role of the U.S. government
more broadly - in addressing foreign influence operations aimed at sowing discord and undermining our institutions. Combating
foreign influence operations requires a “whole of society” approach that relies on coordinated actions by Federal, State, and
local government agencies; support from the private sector; and the active engagement of an informed public.

I want to thank the Committee again for providing me this opportunity to discuss these important issues on behalf of the
Department. We look forward to continuing to work with Congress to improve our ability to respond to this threat. I am happy
to answer any questions you may have.

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                                                 Department of Justice (D.O.J.)

                                                National Security Division (NSD)

                                                      (NEWS RELEASE)

                      DEPUTY ASSISTANT ATTORNEY GENERAL ADAM S. HICKEY FOR THE
                      NATIONAL SECURITY DIVISION DELIVERS REMARKS AT MISINFO CON

                                                         August 6, 2018

                                                Remarks as prepared for delivery

Thank you for the invitation to speak today, and for the important work you are doing: in organizing this conference devoted to
the challenges of misinformation, and, by attending, bringing your experience and expertise to bear on the problem.

It's a privilege to help kick off this first day of MisinfoCon, focused on state-sponsored misinformation. To do that, I am going
to give you an overview of how the Department of Justice views the problem, where it fits in the context of related national
security threats, and how we are addressing it.

As you probably know, the Justice Department recently obtained an indictment of 13 Russian individuals and three entities,
including the Internet Research Agency (or IRA), for federal crimes in connection with an effort to interfere in the 2016
Presidential election. The defendants allegedly conducted what they called “information warfare against the United States,”
with the stated goal of “spread[ing] distrust towards the candidates and the political system in general.”

According to the indictment, the IRA was a structured organization headed by a management group and arranged in departments.
It had a “translator project,” designed to focus on the U.S. population, with more than 80 employees assigned by July 2016. They
posed as politically and socially active Americans, advocating for and against particular political candidates. They established
social media pages and groups to communicate with unwitting Americans. They also purchased political advertisements on
social media.

One of the so-called trolls who worked for the IRA recently spoke to the Washington Post about his work in a different
department, attempting to influence a domestic, Russian audience. He described it as “a place where you have to write that
white is black and black is white.” Hundreds of people “were all writing absolute untruths.”

But as the indictment alleges it, what made the defendants' conduct illegal in the United States was not the substance of their
message, the “accuracy” of their opinions: it was their conspiracy to defraud by, among other ways, lying about who the
messenger was. They were not Americans expressing their own viewpoints; they were Russians on the payroll of a foreign
company.

Now, the problem of covert foreign influence is not new. In 1938, a congressional committee found that the Nazi government
had established an extensive, underground propaganda apparatus inside the United States using American firms and citizens.
The response was to recommend a law that would (in the committee's words) throw these activities under the “spotlight of
pitiless publicity.” The result is the Foreign Agents Registration Act (FARA), a disclosure statute that, notably, does not prohibit
speech. Rather, FARA requires agents of foreign principals who engage in political activities within the United States to file
periodic public disclosures with the Department.




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The Act's purpose is to ensure that the American public and our lawmakers know the source of information provided at the
behest of a foreign principal, enhancing the public's and the government's ability to evaluate such information.

Transparency, not prohibition, has been the government's response to misinformation. In the 1980s, the government established
an interagency committee, the “Active Measures Working Group,” to counter Soviet disinformation. It did so by exposing
forgeries and other propaganda, such as fake stories that the Pentagon developed the AIDS virus as part of a biological weapons
research program.

Today, we confront misinformation as only one component of a broader, malign foreign influence effort. As this framework
from the Department's recent Cyber-Digital Task Force report shows, those efforts can also include cyber operations that target
election infrastructure or political parties' networks; covert efforts to assist (or harm) candidates; and overt efforts to influence
the American public (for example, through state-run media organizations).

Our responses to those efforts must likewise be multifaceted, from providing indicators and warnings that can help network
owners protect themselves from hackers, to criminal investigations and prosecutions, and other measures, like sanctions and
expulsions that raise the costs on the states that sponsor such malign activities.

This graphic, also from the Task Force report, depicts the Department's strategy to counter each phase of a covert influence
campaign cycle, from the identification of targets to the production and amplification of content. The middle rows (in red)
depict our adversaries' activities in stages, while the bottom rows (in blue) suggest the means by which private actors and the
government can disrupt and deter the activity.

One aspect of this strategy worth highlighting is that the content of a foreign influence campaign may be true or false. Whether
the message is accurate or not may not be the point: doxing a candidate or a corporation for political reasons might not
involve misinformation, but it may nonetheless violate our laws, threaten our values and way of life, compromise privacy and,
sometimes, retaliate against and chill free speech.

Covert foreign influence efforts can take many forms, but recently we have seen increased efforts to influence Americans
through social media. To counter these efforts, a key component of our approach is sharing information with social media and
other Internet service providers, which we do through the FBI's Foreign Influence Task Force. It is those providers who bear the
primary responsibility for securing their own products and platforms. By sharing information with them, especially about who
certain users and account holders actually are, we can assist their own, voluntary initiatives to track foreign influence activity
and to enforce their own terms of service.

As the Task Force report also recognizes, there may be circumstances when it is appropriate for the government itself to
expose and attribute foreign influence operations as a means of rendering them less effective. But there are often compelling,
countervailing considerations, however.

As a general rule, the Department does not confirm, deny, or comment on pending investigations, both to protect the investigation
itself as well as the rights of any accused.

We are also constrained to protect the classified sources and methods that may inform our judgment of what foreign governments
are doing.

And, most important of all, we must never act to confer any advantage or disadvantage on any political or social group,
individual, or organization, and we must strive to avoid even the appearance of partiality. That could constrain the timing and
nature of any disclosure we might make.




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All of this is to say, and as the Department's Policy on the Disclosure of Foreign Influence Operations recognizes, we might
not be the best messenger to counter a particular piece of misinformation.

That's why this conference is so important: what we call the private sector (but which includes a lot of people in public spaces,
just like you) has a critical role - larger than the federal government's - in countering covert foreign influence efforts, particularly
misinformation, and ensuring that our democracy rests on the active engagement of an informed public.

The former Russian troll I mentioned at the beginning of my remarks, who worked for the IRA, said his work was “pointless”
for Russian audiences, that it would not impact them. But in America, that kind of trickery might have an impact, he said,
because we “live in a society in which it's accepted to answer for your words.” My challenge to us during this conference, if I
may make one, is that we find ways to ensure we all continue to answer for our words, so that the trust we enjoy as an aspect
of our free, democratic society can thrive.

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